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                                  EXHIBIT A
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                                  EXHIBIT A
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                                  EXHIBIT A
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 Count        Charge        Charge Range   Defendant        Allegation      Alleg. Effect
                                                                            Limitation
                                           Svetlana         PC1203.045(a)   Probation
                                           Sapronova                        Limitation
                                           Felix Lantsman   PC1203.045(a)   Probation
                                                                            Limitation
                                           Christian Hainka PC1203.045(a)   Probation
                                                                            Limitation
                                           Marina           PC1203.045(a)   Probation
                                           Alekseyeva                       Limitation
                                           Renee            PC1203.045(a)   Probation
                                           Rosenbergelperin                 Limitation
                                           Ilya Zikner      PC1203.045(a)   Probation
                                                                            Limitation
                                           Mila Sutton      PC1203.045(a)   Probation
                                                                            Limitation
                                           Boris Tripoloski PC1203.045(a)   Probation
                                                                            Limitation
                                           Francesca Sutton PC1203.045(a)   Probation
                                                                            Limitation
                                           Jamie Wolf       PC1203.045(a)   Probation
                                                                            Limitation
                                           David Bishoff    PC1203.045(a)   Probation
                                                                            Limitation
                                           Dane Robert      PC1203.045(a)   Probation
                                           Christiansen                     Limitation
                                           Joseph Daniel    PC1203.045(a)   Probation
                                           Blythe                           Limitation
                                           Allen Baylan     PC1203.045(a)   Probation
                                                                            Limitation

 2            PC550(a)(1)   2-3-5          David Sutton     PC1203.045(a)   Probation
                                                                            Limitation
                                           Brian Sutton     PC1203.045(a)   Probation
                                                                            Limitation
                                           Vladimir        PC1203.045(a)    Probation
                                           Tsikman                          Limitation
                                           Hershel Tsikman PC1203.045(a)    Probation
                                                                            Limitation
                                           Roman            PC1203.045(a)   Probation
                                           Kardonskiy                       Limitation
                                           Jaid Gorban      PC1203.045(a)   Probation
                                                                            Limitation
                                           Eugeny Kirzhner PC1203.045(a)    Probation
                                                                            Limitation
                                           Oleg Piller      PC1203.045(a)   Probation
                                                                            Limitation
                                           Vadim Belitsky   PC1203.045(a)   Probation
                                                                            Limitation
                                           Alex Goldmen     PC1203.045(a)   Probation
                                    EXHIBIT A
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 Count        Charge       Charge Range   Defendant        Allegation      Alleg. Effect
                                                                           Limitation
                                          Igor Krashenny   PC1203.045(a)   Probation
                                                                           Limitation
                                          Ali Enayati      PC1203.045(a)   Probation
                                                                           Limitation
                                          Maryam Rahimi PC1203.045(a)      Probation
                                                                           Limitation
                                          Edward Opoku     PC1203.045(a)   Probation
                                                                           Limitation
                                          Lars Lundstrom PC1203.045(a)     Probation
                                                                           Limitation
                                          Emily Anderson PC1203.045(a)     Probation
                                                                           Limitation
                                          Robert Breedlove PC1203.045(a)   Probation
                                                                           Limitation
                                          Ramon            PC1203.045(a)   Probation
                                          Paolosantos                      Limitation
                                          David
                                          John Knight      PC1203.045(a)   Probation
                                                                           Limitation
                                          Virginia Lin     PC1203.045(a)   Probation
                                                                           Limitation
                                          Svetlana         PC1203.045(a)   Probation
                                          Sapronova                        Limitation
                                          Felix Lantsman   PC1203.045(a)   Probation
                                                                           Limitation
                                          Christian Hainka PC1203.045(a)   Probation
                                                                           Limitation
                                          Marina           PC1203.045(a)   Probation
                                          Alekseyeva                       Limitation
                                          Renee            PC1203.045(a)   Probation
                                          Rosenbergelperin                 Limitation
                                          Ilya Zikner      PC1203.045(a)   Probation
                                                                           Limitation
                                          Mila Sutton      PC1203.045(a)   Probation
                                                                           Limitation
                                          Boris Tripoloski PC1203.045(a)   Probation
                                                                           Limitation
                                          Francesca Sutton PC1203.045(a)   Probation
                                                                           Limitation
                                          Jamie Wolf       PC1203.045(a)   Probation
                                                                           Limitation
                                          David Bishoff    PC1203.045(a)   Probation
                                                                           Limitation
                                          Dane Robert      PC1203.045(a)   Probation
                                          Christiansen                     Limitation
                                          Joseph Daniel    PC1203.045(a)   Probation
                                          Blythe                           Limitation
                                          Allen Baylan     PC1203.045(a)   Probation
                                  EXHIBIT A
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 Count        Charge        Charge Range   Defendant        Allegation      Alleg. Effect
                                                                            Limitation

 3            PC550(a)(1)   2-3-5          David Sutton     PC1203.045(a)   Probation
                                                                            Limitation
                                           Brian Sutton     PC1203.045(a)   Probation
                                                                            Limitation
                                           Vladimir        PC1203.045(a)    Probation
                                           Tsikman                          Limitation
                                           Hershel Tsikman PC1203.045(a)    Probation
                                                                            Limitation
                                           Roman            PC1203.045(a)   Probation
                                           Kardonskiy                       Limitation
                                           Jaid Gorban      PC1203.045(a)   Probation
                                                                            Limitation
                                           Eugeny Kirzhner PC1203.045(a)    Probation
                                                                            Limitation
                                           Oleg Piller      PC1203.045(a)   Probation
                                                                            Limitation
                                           Vadim Belitsky   PC1203.045(a)   Probation
                                                                            Limitation
                                           Alex Goldmen     PC1203.045(a)   Probation
                                                                            Limitation
                                           Igor Krashenny   PC1203.045(a)   Probation
                                                                            Limitation
                                           Ali Enayati      PC1203.045(a)   Probation
                                                                            Limitation
                                           Maryam Rahimi PC1203.045(a)      Probation
                                                                            Limitation
                                           Edward Opoku     PC1203.045(a)   Probation
                                                                            Limitation
                                           Lars Lundstrom PC1203.045(a)     Probation
                                                                            Limitation
                                           Emily Anderson PC1203.045(a)     Probation
                                                                            Limitation
                                           Robert Breedlove PC1203.045(a)   Probation
                                                                            Limitation
                                           Ramon            PC1203.045(a)   Probation
                                           Paolosantos                      Limitation
                                           David
                                           John Knight      PC1203.045(a)   Probation
                                                                            Limitation
                                           Virginia Lin     PC1203.045(a)   Probation
                                                                            Limitation
                                           Svetlana         PC1203.045(a)   Probation
                                           Sapronova                        Limitation
                                           Felix Lantsman   PC1203.045(a)   Probation
                                                                            Limitation
                                           Christian Hainka PC1203.045(a)   Probation
                                                                            Limitation
                                    EXHIBIT A
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 Count        Charge        Charge Range   Defendant        Allegation      Alleg. Effect
                                           Marina           PC1203.045(a)   Probation
                                           Alekseyeva                       Limitation
                                           Renee            PC1203.045(a)   Probation
                                           Rosenbergelperin                 Limitation
                                           Ilya Zikner      PC1203.045(a)   Probation
                                                                            Limitation
                                           Mila Sutton      PC1203.045(a)   Probation
                                                                            Limitation
                                           Boris Tripoloski PC1203.045(a)   Probation
                                                                            Limitation
                                           Francesca Sutton PC1203.045(a)   Probation
                                                                            Limitation
                                           Jamie Wolf       PC1203.045(a)   Probation
                                                                            Limitation
                                           David Bishoff    PC1203.045(a)   Probation
                                                                            Limitation
                                           Dane Robert      PC1203.045(a)   Probation
                                           Christiansen                     Limitation
                                           Joseph Daniel    PC1203.045(a)   Probation
                                           Blythe                           Limitation
                                           Allen Baylan     PC1203.045(a)   Probation
                                                                            Limitation

 4            PC550(a)(1)   2-3-5          David Sutton     PC1203.045(a)   Probation
                                                                            Limitation
                                           Brian Sutton     PC1203.045(a)   Probation
                                                                            Limitation
                                           Vladimir        PC1203.045(a)    Probation
                                           Tsikman                          Limitation
                                           Hershel Tsikman PC1203.045(a)    Probation
                                                                            Limitation
                                           Roman            PC1203.045(a)   Probation
                                           Kardonskiy                       Limitation
                                           Jaid Gorban      PC1203.045(a)   Probation
                                                                            Limitation
                                           Eugeny Kirzhner PC1203.045(a)    Probation
                                                                            Limitation
                                           Oleg Piller      PC1203.045(a)   Probation
                                                                            Limitation
                                           Vadim Belitsky   PC1203.045(a)   Probation
                                                                            Limitation
                                           Alex Goldmen     PC1203.045(a)   Probation
                                                                            Limitation
                                           Igor Krashenny   PC1203.045(a)   Probation
                                                                            Limitation
                                           Ali Enayati      PC1203.045(a)   Probation
                                                                            Limitation
                                           Maryam Rahimi PC1203.045(a)      Probation
                                                                            Limitation
                                    EXHIBIT A
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 Count        Charge        Charge Range   Defendant        Allegation      Alleg. Effect
                                           Edward Opoku     PC1203.045(a)   Probation
                                                                            Limitation
                                           Lars Lundstrom PC1203.045(a)     Probation
                                                                            Limitation
                                           Emily Anderson PC1203.045(a)     Probation
                                                                            Limitation
                                           Robert Breedlove PC1203.045(a)   Probation
                                                                            Limitation
                                           Ramon            PC1203.045(a)   Probation
                                           Paolosantos                      Limitation
                                           David
                                           John Knight      PC1203.045(a)   Probation
                                                                            Limitation
                                           Virginia Lin     PC1203.045(a)   Probation
                                                                            Limitation
                                           Svetlana         PC1203.045(a)   Probation
                                           Sapronova                        Limitation
                                           Felix Lantsman   PC1203.045(a)   Probation
                                                                            Limitation
                                           Christian Hainka PC1203.045(a)   Probation
                                                                            Limitation
                                           Marina           PC1203.045(a)   Probation
                                           Alekseyeva                       Limitation
                                           Renee            PC1203.045(a)   Probation
                                           Rosenbergelperin                 Limitation
                                           Ilya Zikner      PC1203.045(a)   Probation
                                                                            Limitation
                                           Mila Sutton      PC1203.045(a)   Probation
                                                                            Limitation
                                           Boris Tripoloski PC1203.045(a)   Probation
                                                                            Limitation
                                           Francesca Sutton PC1203.045(a)   Probation
                                                                            Limitation
                                           Jamie Wolf       PC1203.045(a)   Probation
                                                                            Limitation
                                           David Bishoff    PC1203.045(a)   Probation
                                                                            Limitation
                                           Dane Robert      PC1203.045(a)   Probation
                                           Christiansen                     Limitation
                                           Joseph Daniel    PC1203.045(a)   Probation
                                           Blythe                           Limitation
                                           Allen Baylan     PC1203.045(a)   Probation
                                                                            Limitation

 5            PC550(a)(1)   2-3-5          David Sutton     PC1203.045(a)   Probation
                                                                            Limitation
                                           Brian Sutton     PC1203.045(a)   Probation
                                                                            Limitation
                                           Vladimir         PC1203.045(a)   Probation
                                    EXHIBIT A
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 Count        Charge       Charge Range   Defendant       Allegation       Alleg. Effect
                                          Tsikman                          Limitation
                                          Hershel Tsikman PC1203.045(a)    Probation
                                                                           Limitation
                                          Roman            PC1203.045(a)   Probation
                                          Kardonskiy                       Limitation
                                          Jaid Gorban      PC1203.045(a)   Probation
                                                                           Limitation
                                          Eugeny Kirzhner PC1203.045(a)    Probation
                                                                           Limitation
                                          Oleg Piller      PC1203.045(a)   Probation
                                                                           Limitation
                                          Vadim Belitsky   PC1203.045(a)   Probation
                                                                           Limitation
                                          Alex Goldmen     PC1203.045(a)   Probation
                                                                           Limitation
                                          Igor Krashenny   PC1203.045(a)   Probation
                                                                           Limitation
                                          Ali Enayati      PC1203.045(a)   Probation
                                                                           Limitation
                                          Maryam Rahimi PC1203.045(a)      Probation
                                                                           Limitation
                                          Edward Opoku     PC1203.045(a)   Probation
                                                                           Limitation
                                          Lars Lundstrom PC1203.045(a)     Probation
                                                                           Limitation
                                          Emily Anderson PC1203.045(a)     Probation
                                                                           Limitation
                                          Robert Breedlove PC1203.045(a)   Probation
                                                                           Limitation
                                          Ramon            PC1203.045(a)   Probation
                                          Paolosantos                      Limitation
                                          David
                                          John Knight      PC1203.045(a)   Probation
                                                                           Limitation
                                          Virginia Lin     PC1203.045(a)   Probation
                                                                           Limitation
                                          Svetlana         PC1203.045(a)   Probation
                                          Sapronova                        Limitation
                                          Felix Lantsman   PC1203.045(a)   Probation
                                                                           Limitation
                                          Christian Hainka PC1203.045(a)   Probation
                                                                           Limitation
                                          Marina           PC1203.045(a)   Probation
                                          Alekseyeva                       Limitation
                                          Renee            PC1203.045(a)   Probation
                                          Rosenbergelperin                 Limitation
                                          Ilya Zikner      PC1203.045(a)   Probation
                                                                           Limitation
                                          Mila Sutton      PC1203.045(a)   Probation
                                  EXHIBIT A
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                                   #:99
Count       Charge        Charge Range   Defendant        Allegation      Alleg. Effect
                                                                          Limitation
                                         Boris Tripoloski PC1203.045(a)   Probation
                                                                          Limitation
                                         Francesca Sutton PC1203.045(a)   Probation
                                                                          Limitation
                                         Jamie Wolf       PC1203.045(a)   Probation
                                                                          Limitation
                                         David Bishoff    PC1203.045(a)   Probation
                                                                          Limitation
                                         Dane Robert      PC1203.045(a)   Probation
                                         Christiansen                     Limitation
                                         Joseph Daniel    PC1203.045(a)   Probation
                                         Blythe                           Limitation
                                         Allen Baylan     PC1203.045(a)   Probation
                                                                          Limitation

6           PC550(a)(1)   2-3-5          David Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Brian Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Vladimir        PC1203.045(a)    Probation
                                         Tsikman                          Limitation
                                         Hershel Tsikman PC1203.045(a)    Probation
                                                                          Limitation
                                         Roman            PC1203.045(a)   Probation
                                         Kardonskiy                       Limitation
                                         Jaid Gorban      PC1203.045(a)   Probation
                                                                          Limitation
                                         Eugeny Kirzhner PC1203.045(a)    Probation
                                                                          Limitation
                                         Oleg Piller      PC1203.045(a)   Probation
                                                                          Limitation
                                         Vadim Belitsky   PC1203.045(a)   Probation
                                                                          Limitation
                                         Alex Goldmen     PC1203.045(a)   Probation
                                                                          Limitation
                                         Igor Krashenny   PC1203.045(a)   Probation
                                                                          Limitation
                                         Ali Enayati      PC1203.045(a)   Probation
                                                                          Limitation
                                         Maryam Rahimi PC1203.045(a)      Probation
                                                                          Limitation
                                         Edward Opoku     PC1203.045(a)   Probation
                                                                          Limitation
                                         Lars Lundstrom PC1203.045(a)     Probation
                                                                          Limitation
                                         Emily Anderson PC1203.045(a)     Probation
                                                                          Limitation
                                         Robert Breedlove PC1203.045(a)   Probation
                                  EXHIBIT A
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                                  #:100
Count       Charge        Charge Range   Defendant        Allegation      Alleg. Effect
                                                                          Limitation
                                         Ramon            PC1203.045(a)   Probation
                                         Paolosantos                      Limitation
                                         David
                                         John Knight      PC1203.045(a)   Probation
                                                                          Limitation
                                         Virginia Lin     PC1203.045(a)   Probation
                                                                          Limitation
                                         Svetlana         PC1203.045(a)   Probation
                                         Sapronova                        Limitation
                                         Felix Lantsman   PC1203.045(a)   Probation
                                                                          Limitation
                                         Christian Hainka PC1203.045(a)   Probation
                                                                          Limitation
                                         Marina           PC1203.045(a)   Probation
                                         Alekseyeva                       Limitation
                                         Renee            PC1203.045(a)   Probation
                                         Rosenbergelperin                 Limitation
                                         Ilya Zikner      PC1203.045(a)   Probation
                                                                          Limitation
                                         Mila Sutton      PC1203.045(a)   Probation
                                                                          Limitation
                                         Boris Tripoloski PC1203.045(a)   Probation
                                                                          Limitation
                                         Francesca Sutton PC1203.045(a)   Probation
                                                                          Limitation
                                         Jamie Wolf       PC1203.045(a)   Probation
                                                                          Limitation
                                         David Bishoff    PC1203.045(a)   Probation
                                                                          Limitation
                                         Dane Robert      PC1203.045(a)   Probation
                                         Christiansen                     Limitation
                                         Joseph Daniel    PC1203.045(a)   Probation
                                         Blythe                           Limitation
                                         Allen Baylan     PC1203.045(a)   Probation
                                                                          Limitation

7           PC550(a)(1)   2-3-5          David Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Brian Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Vladimir        PC1203.045(a)    Probation
                                         Tsikman                          Limitation
                                         Hershel Tsikman PC1203.045(a)    Probation
                                                                          Limitation
                                         Roman            PC1203.045(a)   Probation
                                         Kardonskiy                       Limitation
                                         Jaid Gorban      PC1203.045(a)   Probation
                                                                          Limitation
                                  EXHIBIT A
                                     15
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                                  #:101
Count       Charge       Charge Range   Defendant       Allegation       Alleg. Effect
                                        Eugeny Kirzhner PC1203.045(a)    Probation
                                                                         Limitation
                                        Oleg Piller      PC1203.045(a)   Probation
                                                                         Limitation
                                        Vadim Belitsky   PC1203.045(a)   Probation
                                                                         Limitation
                                        Alex Goldmen     PC1203.045(a)   Probation
                                                                         Limitation
                                        Igor Krashenny   PC1203.045(a)   Probation
                                                                         Limitation
                                        Ali Enayati      PC1203.045(a)   Probation
                                                                         Limitation
                                        Maryam Rahimi PC1203.045(a)      Probation
                                                                         Limitation
                                        Edward Opoku     PC1203.045(a)   Probation
                                                                         Limitation
                                        Lars Lundstrom PC1203.045(a)     Probation
                                                                         Limitation
                                        Emily Anderson PC1203.045(a)     Probation
                                                                         Limitation
                                        Robert Breedlove PC1203.045(a)   Probation
                                                                         Limitation
                                        Ramon            PC1203.045(a)   Probation
                                        Paolosantos                      Limitation
                                        David
                                        John Knight      PC1203.045(a)   Probation
                                                                         Limitation
                                        Virginia Lin     PC1203.045(a)   Probation
                                                                         Limitation
                                        Svetlana         PC1203.045(a)   Probation
                                        Sapronova                        Limitation
                                        Felix Lantsman   PC1203.045(a)   Probation
                                                                         Limitation
                                        Christian Hainka PC1203.045(a)   Probation
                                                                         Limitation
                                        Marina           PC1203.045(a)   Probation
                                        Alekseyeva                       Limitation
                                        Renee            PC1203.045(a)   Probation
                                        Rosenbergelperin                 Limitation
                                        Ilya Zikner      PC1203.045(a)   Probation
                                                                         Limitation
                                        Mila Sutton      PC1203.045(a)   Probation
                                                                         Limitation
                                        Boris Tripoloski PC1203.045(a)   Probation
                                                                         Limitation
                                        Francesca Sutton PC1203.045(a)   Probation
                                                                         Limitation
                                        Jamie Wolf       PC1203.045(a)   Probation
                                                                         Limitation
                                EXHIBIT A
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                                  #:102
Count       Charge        Charge Range   Defendant        Allegation      Alleg. Effect
                                         David Bishoff    PC1203.045(a)   Probation
                                                                          Limitation
                                         Dane Robert      PC1203.045(a)   Probation
                                         Christiansen                     Limitation
                                         Joseph Daniel    PC1203.045(a)   Probation
                                         Blythe                           Limitation
                                         Allen Baylan     PC1203.045(a)   Probation
                                                                          Limitation

8           PC550(a)(1)   2-3-5          David Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Brian Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Vladimir        PC1203.045(a)    Probation
                                         Tsikman                          Limitation
                                         Hershel Tsikman PC1203.045(a)    Probation
                                                                          Limitation
                                         Roman            PC1203.045(a)   Probation
                                         Kardonskiy                       Limitation
                                         Jaid Gorban      PC1203.045(a)   Probation
                                                                          Limitation
                                         Eugeny Kirzhner PC1203.045(a)    Probation
                                                                          Limitation
                                         Oleg Piller      PC1203.045(a)   Probation
                                                                          Limitation
                                         Vadim Belitsky   PC1203.045(a)   Probation
                                                                          Limitation
                                         Alex Goldmen     PC1203.045(a)   Probation
                                                                          Limitation
                                         Igor Krashenny   PC1203.045(a)   Probation
                                                                          Limitation
                                         Ali Enayati      PC1203.045(a)   Probation
                                                                          Limitation
                                         Maryam Rahimi PC1203.045(a)      Probation
                                                                          Limitation
                                         Edward Opoku     PC1203.045(a)   Probation
                                                                          Limitation
                                         Lars Lundstrom PC1203.045(a)     Probation
                                                                          Limitation
                                         Emily Anderson PC1203.045(a)     Probation
                                                                          Limitation
                                         Robert Breedlove PC1203.045(a)   Probation
                                                                          Limitation
                                         Ramon            PC1203.045(a)   Probation
                                         Paolosantos                      Limitation
                                         David
                                         John Knight      PC1203.045(a)   Probation
                                                                          Limitation
                                         Virginia Lin     PC1203.045(a)   Probation
                                  EXHIBIT A
                                     17
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                                  #:103
Count       Charge        Charge Range   Defendant        Allegation      Alleg. Effect
                                                                          Limitation
                                         Svetlana         PC1203.045(a)   Probation
                                         Sapronova                        Limitation
                                         Felix Lantsman   PC1203.045(a)   Probation
                                                                          Limitation
                                         Christian Hainka PC1203.045(a)   Probation
                                                                          Limitation
                                         Marina           PC1203.045(a)   Probation
                                         Alekseyeva                       Limitation
                                         Renee            PC1203.045(a)   Probation
                                         Rosenbergelperin                 Limitation
                                         Ilya Zikner      PC1203.045(a)   Probation
                                                                          Limitation
                                         Mila Sutton      PC1203.045(a)   Probation
                                                                          Limitation
                                         Boris Tripoloski PC1203.045(a)   Probation
                                                                          Limitation
                                         Francesca Sutton PC1203.045(a)   Probation
                                                                          Limitation
                                         Jamie Wolf       PC1203.045(a)   Probation
                                                                          Limitation
                                         David Bishoff    PC1203.045(a)   Probation
                                                                          Limitation
                                         Dane Robert      PC1203.045(a)   Probation
                                         Christiansen                     Limitation
                                         Joseph Daniel    PC1203.045(a)   Probation
                                         Blythe                           Limitation
                                         Allen Baylan     PC1203.045(a)   Probation
                                                                          Limitation

9           PC550(a)(6)   2-3-5          David Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Brian Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Vladimir        PC1203.045(a)    Probation
                                         Tsikman                          Limitation
                                         Hershel Tsikman PC1203.045(a)    Probation
                                                                          Limitation
                                         Roman            PC1203.045(a)   Probation
                                         Kardonskiy                       Limitation
                                         Jaid Gorban      PC1203.045(a)   Probation
                                                                          Limitation
                                         Eugeny Kirzhner PC1203.045(a)    Probation
                                                                          Limitation
                                         Oleg Piller      PC1203.045(a)   Probation
                                                                          Limitation
                                         Vadim Belitsky   PC1203.045(a)   Probation
                                                                          Limitation
                                         Alex Goldmen     PC1203.045(a)   Probation
                                  EXHIBIT A
                                     18
Case 2:21-cv-07191-RGK-MAR Document 24-1 Filed 11/22/21 Page 15 of 153 Page ID
                                  #:104
Count       Charge       Charge Range   Defendant        Allegation      Alleg. Effect
                                                                         Limitation
                                        Igor Krashenny   PC1203.045(a)   Probation
                                                                         Limitation
                                        Ali Enayati      PC1203.045(a)   Probation
                                                                         Limitation
                                        Maryam Rahimi PC1203.045(a)      Probation
                                                                         Limitation
                                        Edward Opoku     PC1203.045(a)   Probation
                                                                         Limitation
                                        Lars Lundstrom PC1203.045(a)     Probation
                                                                         Limitation
                                        Emily Anderson PC1203.045(a)     Probation
                                                                         Limitation
                                        Robert Breedlove PC1203.045(a)   Probation
                                                                         Limitation
                                        Ramon            PC1203.045(a)   Probation
                                        Paolosantos                      Limitation
                                        David
                                        John Knight      PC1203.045(a)   Probation
                                                                         Limitation
                                        Virginia Lin     PC1203.045(a)   Probation
                                                                         Limitation
                                        Svetlana         PC1203.045(a)   Probation
                                        Sapronova                        Limitation
                                        Felix Lantsman   PC1203.045(a)   Probation
                                                                         Limitation
                                        Christian Hainka PC1203.045(a)   Probation
                                                                         Limitation
                                        Marina           PC1203.045(a)   Probation
                                        Alekseyeva                       Limitation
                                        Renee            PC1203.045(a)   Probation
                                        Rosenbergelperin                 Limitation
                                        Ilya Zikner      PC1203.045(a)   Probation
                                                                         Limitation
                                        Mila Sutton      PC1203.045(a)   Probation
                                                                         Limitation
                                        Boris Tripoloski PC1203.045(a)   Probation
                                                                         Limitation
                                        Francesca Sutton PC1203.045(a)   Probation
                                                                         Limitation
                                        Jamie Wolf       PC1203.045(a)   Probation
                                                                         Limitation
                                        David Bishoff    PC1203.045(a)   Probation
                                                                         Limitation
                                        Dane Robert      PC1203.045(a)   Probation
                                        Christiansen                     Limitation
                                        Joseph Daniel    PC1203.045(a)   Probation
                                        Blythe                           Limitation
                                        Allen Baylan     PC1203.045(a)   Probation
                                EXHIBIT A
                                   19
Case 2:21-cv-07191-RGK-MAR Document 24-1 Filed 11/22/21 Page 16 of 153 Page ID
                                  #:105
Count       Charge        Charge Range   Defendant        Allegation      Alleg. Effect
                                                                          Limitation

10          PC550(a)(6)   2-3-5          David Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Brian Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Vladimir        PC1203.045(a)    Probation
                                         Tsikman                          Limitation
                                         Hershel Tsikman PC1203.045(a)    Probation
                                                                          Limitation
                                         Roman            PC1203.045(a)   Probation
                                         Kardonskiy                       Limitation
                                         Jaid Gorban      PC1203.045(a)   Probation
                                                                          Limitation
                                         Eugeny Kirzhner PC1203.045(a)    Probation
                                                                          Limitation
                                         Oleg Piller      PC1203.045(a)   Probation
                                                                          Limitation
                                         Vadim Belitsky   PC1203.045(a)   Probation
                                                                          Limitation
                                         Alex Goldmen     PC1203.045(a)   Probation
                                                                          Limitation
                                         Igor Krashenny   PC1203.045(a)   Probation
                                                                          Limitation
                                         Ali Enayati      PC1203.045(a)   Probation
                                                                          Limitation
                                         Maryam Rahimi PC1203.045(a)      Probation
                                                                          Limitation
                                         Edward Opoku     PC1203.045(a)   Probation
                                                                          Limitation
                                         Lars Lundstrom PC1203.045(a)     Probation
                                                                          Limitation
                                         Emily Anderson PC1203.045(a)     Probation
                                                                          Limitation
                                         Robert Breedlove PC1203.045(a)   Probation
                                                                          Limitation
                                         Ramon            PC1203.045(a)   Probation
                                         Paolosantos                      Limitation
                                         David
                                         John Knight      PC1203.045(a)   Probation
                                                                          Limitation
                                         Virginia Lin     PC1203.045(a)   Probation
                                                                          Limitation
                                         Svetlana         PC1203.045(a)   Probation
                                         Sapronova                        Limitation
                                         Felix Lantsman   PC1203.045(a)   Probation
                                                                          Limitation
                                         Christian Hainka PC1203.045(a)   Probation
                                                                          Limitation
                                  EXHIBIT A
                                     20
Case 2:21-cv-07191-RGK-MAR Document 24-1 Filed 11/22/21 Page 17 of 153 Page ID
                                  #:106
Count       Charge        Charge Range   Defendant        Allegation      Alleg. Effect
                                         Marina           PC1203.045(a)   Probation
                                         Alekseyeva                       Limitation
                                         Renee            PC1203.045(a)   Probation
                                         Rosenbergelperin                 Limitation
                                         Ilya Zikner      PC1203.045(a)   Probation
                                                                          Limitation
                                         Mila Sutton      PC1203.045(a)   Probation
                                                                          Limitation
                                         Boris Tripoloski PC1203.045(a)   Probation
                                                                          Limitation
                                         Francesca Sutton PC1203.045(a)   Probation
                                                                          Limitation
                                         Jamie Wolf       PC1203.045(a)   Probation
                                                                          Limitation
                                         David Bishoff    PC1203.045(a)   Probation
                                                                          Limitation
                                         Dane Robert      PC1203.045(a)   Probation
                                         Christiansen                     Limitation
                                         Joseph Daniel    PC1203.045(a)   Probation
                                         Blythe                           Limitation
                                         Allen Baylan     PC1203.045(a)   Probation
                                                                          Limitation

11          PC550(a)(6)   2-3-5          David Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Brian Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Vladimir        PC1203.045(a)    Probation
                                         Tsikman                          Limitation
                                         Hershel Tsikman PC1203.045(a)    Probation
                                                                          Limitation
                                         Roman            PC1203.045(a)   Probation
                                         Kardonskiy                       Limitation
                                         Jaid Gorban      PC1203.045(a)   Probation
                                                                          Limitation
                                         Eugeny Kirzhner PC1203.045(a)    Probation
                                                                          Limitation
                                         Oleg Piller      PC1203.045(a)   Probation
                                                                          Limitation
                                         Vadim Belitsky   PC1203.045(a)   Probation
                                                                          Limitation
                                         Alex Goldmen     PC1203.045(a)   Probation
                                                                          Limitation
                                         Igor Krashenny   PC1203.045(a)   Probation
                                                                          Limitation
                                         Ali Enayati      PC1203.045(a)   Probation
                                                                          Limitation
                                         Maryam Rahimi PC1203.045(a)      Probation
                                                                          Limitation
                                  EXHIBIT A
                                     21
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                                  #:107
Count       Charge        Charge Range   Defendant        Allegation      Alleg. Effect
                                         Edward Opoku     PC1203.045(a)   Probation
                                                                          Limitation
                                         Lars Lundstrom PC1203.045(a)     Probation
                                                                          Limitation
                                         Emily Anderson PC1203.045(a)     Probation
                                                                          Limitation
                                         Robert Breedlove PC1203.045(a)   Probation
                                                                          Limitation
                                         Ramon            PC1203.045(a)   Probation
                                         Paolosantos                      Limitation
                                         David
                                         John Knight      PC1203.045(a)   Probation
                                                                          Limitation
                                         Virginia Lin     PC1203.045(a)   Probation
                                                                          Limitation
                                         Svetlana         PC1203.045(a)   Probation
                                         Sapronova                        Limitation
                                         Felix Lantsman   PC1203.045(a)   Probation
                                                                          Limitation
                                         Christian Hainka PC1203.045(a)   Probation
                                                                          Limitation
                                         Marina           PC1203.045(a)   Probation
                                         Alekseyeva                       Limitation
                                         Renee            PC1203.045(a)   Probation
                                         Rosenbergelperin                 Limitation
                                         Ilya Zikner      PC1203.045(a)   Probation
                                                                          Limitation
                                         Mila Sutton      PC1203.045(a)   Probation
                                                                          Limitation
                                         Boris Tripoloski PC1203.045(a)   Probation
                                                                          Limitation
                                         Francesca Sutton PC1203.045(a)   Probation
                                                                          Limitation
                                         Jamie Wolf       PC1203.045(a)   Probation
                                                                          Limitation
                                         David Bishoff    PC1203.045(a)   Probation
                                                                          Limitation
                                         Dane Robert      PC1203.045(a)   Probation
                                         Christiansen                     Limitation
                                         Joseph Daniel    PC1203.045(a)   Probation
                                         Blythe                           Limitation
                                         Allen Baylan     PC1203.045(a)   Probation
                                                                          Limitation

12          PC550(a)(6)   2-3-5          David Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Brian Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Vladimir         PC1203.045(a)   Probation
                                  EXHIBIT A
                                     22
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                                  #:108
Count       Charge       Charge Range   Defendant       Allegation       Alleg. Effect
                                        Tsikman                          Limitation
                                        Hershel Tsikman PC1203.045(a)    Probation
                                                                         Limitation
                                        Roman            PC1203.045(a)   Probation
                                        Kardonskiy                       Limitation
                                        Jaid Gorban      PC1203.045(a)   Probation
                                                                         Limitation
                                        Eugeny Kirzhner PC1203.045(a)    Probation
                                                                         Limitation
                                        Oleg Piller      PC1203.045(a)   Probation
                                                                         Limitation
                                        Vadim Belitsky   PC1203.045(a)   Probation
                                                                         Limitation
                                        Alex Goldmen     PC1203.045(a)   Probation
                                                                         Limitation
                                        Igor Krashenny   PC1203.045(a)   Probation
                                                                         Limitation
                                        Ali Enayati      PC1203.045(a)   Probation
                                                                         Limitation
                                        Maryam Rahimi PC1203.045(a)      Probation
                                                                         Limitation
                                        Edward Opoku     PC1203.045(a)   Probation
                                                                         Limitation
                                        Lars Lundstrom PC1203.045(a)     Probation
                                                                         Limitation
                                        Emily Anderson PC1203.045(a)     Probation
                                                                         Limitation
                                        Robert Breedlove PC1203.045(a)   Probation
                                                                         Limitation
                                        Ramon            PC1203.045(a)   Probation
                                        Paolosantos                      Limitation
                                        David
                                        John Knight      PC1203.045(a)   Probation
                                                                         Limitation
                                        Virginia Lin     PC1203.045(a)   Probation
                                                                         Limitation
                                        Svetlana         PC1203.045(a)   Probation
                                        Sapronova                        Limitation
                                        Felix Lantsman   PC1203.045(a)   Probation
                                                                         Limitation
                                        Christian Hainka PC1203.045(a)   Probation
                                                                         Limitation
                                        Marina           PC1203.045(a)   Probation
                                        Alekseyeva                       Limitation
                                        Renee            PC1203.045(a)   Probation
                                        Rosenbergelperin                 Limitation
                                        Ilya Zikner      PC1203.045(a)   Probation
                                                                         Limitation
                                        Mila Sutton      PC1203.045(a)   Probation
                                EXHIBIT A
                                   23
Case 2:21-cv-07191-RGK-MAR Document 24-1 Filed 11/22/21 Page 20 of 153 Page ID
                                  #:109
Count       Charge        Charge Range   Defendant        Allegation      Alleg. Effect
                                                                          Limitation
                                         Boris Tripoloski PC1203.045(a)   Probation
                                                                          Limitation
                                         Francesca Sutton PC1203.045(a)   Probation
                                                                          Limitation
                                         Jamie Wolf       PC1203.045(a)   Probation
                                                                          Limitation
                                         David Bishoff    PC1203.045(a)   Probation
                                                                          Limitation
                                         Dane Robert      PC1203.045(a)   Probation
                                         Christiansen                     Limitation
                                         Joseph Daniel    PC1203.045(a)   Probation
                                         Blythe                           Limitation
                                         Allen Baylan     PC1203.045(a)   Probation
                                                                          Limitation

13          PC550(a)(6)   2-3-5          David Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Brian Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Vladimir        PC1203.045(a)    Probation
                                         Tsikman                          Limitation
                                         Hershel Tsikman PC1203.045(a)    Probation
                                                                          Limitation
                                         Roman            PC1203.045(a)   Probation
                                         Kardonskiy                       Limitation
                                         Jaid Gorban      PC1203.045(a)   Probation
                                                                          Limitation
                                         Eugeny Kirzhner PC1203.045(a)    Probation
                                                                          Limitation
                                         Oleg Piller      PC1203.045(a)   Probation
                                                                          Limitation
                                         Vadim Belitsky   PC1203.045(a)   Probation
                                                                          Limitation
                                         Alex Goldmen     PC1203.045(a)   Probation
                                                                          Limitation
                                         Igor Krashenny   PC1203.045(a)   Probation
                                                                          Limitation
                                         Ali Enayati      PC1203.045(a)   Probation
                                                                          Limitation
                                         Maryam Rahimi PC1203.045(a)      Probation
                                                                          Limitation
                                         Edward Opoku     PC1203.045(a)   Probation
                                                                          Limitation
                                         Lars Lundstrom PC1203.045(a)     Probation
                                                                          Limitation
                                         Emily Anderson PC1203.045(a)     Probation
                                                                          Limitation
                                         Robert Breedlove PC1203.045(a)   Probation
                                  EXHIBIT A
                                     24
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                                  #:110
Count       Charge        Charge Range   Defendant        Allegation      Alleg. Effect
                                                                          Limitation
                                         Ramon            PC1203.045(a)   Probation
                                         Paolosantos                      Limitation
                                         David
                                         John Knight      PC1203.045(a)   Probation
                                                                          Limitation
                                         Virginia Lin     PC1203.045(a)   Probation
                                                                          Limitation
                                         Svetlana         PC1203.045(a)   Probation
                                         Sapronova                        Limitation
                                         Felix Lantsman   PC1203.045(a)   Probation
                                                                          Limitation
                                         Christian Hainka PC1203.045(a)   Probation
                                                                          Limitation
                                         Marina           PC1203.045(a)   Probation
                                         Alekseyeva                       Limitation
                                         Renee            PC1203.045(a)   Probation
                                         Rosenbergelperin                 Limitation
                                         Ilya Zikner      PC1203.045(a)   Probation
                                                                          Limitation
                                         Mila Sutton      PC1203.045(a)   Probation
                                                                          Limitation
                                         Boris Tripoloski PC1203.045(a)   Probation
                                                                          Limitation
                                         Francesca Sutton PC1203.045(a)   Probation
                                                                          Limitation
                                         Jamie Wolf       PC1203.045(a)   Probation
                                                                          Limitation
                                         David Bishoff    PC1203.045(a)   Probation
                                                                          Limitation
                                         Dane Robert      PC1203.045(a)   Probation
                                         Christiansen                     Limitation
                                         Joseph Daniel    PC1203.045(a)   Probation
                                         Blythe                           Limitation
                                         Allen Baylan     PC1203.045(a)   Probation
                                                                          Limitation

14          PC550(a)(6)   2-3-5          David Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Brian Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Vladimir        PC1203.045(a)    Probation
                                         Tsikman                          Limitation
                                         Hershel Tsikman PC1203.045(a)    Probation
                                                                          Limitation
                                         Roman            PC1203.045(a)   Probation
                                         Kardonskiy                       Limitation
                                         Jaid Gorban      PC1203.045(a)   Probation
                                                                          Limitation
                                  EXHIBIT A
                                     25
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                                  #:111
Count       Charge       Charge Range   Defendant       Allegation       Alleg. Effect
                                        Eugeny Kirzhner PC1203.045(a)    Probation
                                                                         Limitation
                                        Oleg Piller      PC1203.045(a)   Probation
                                                                         Limitation
                                        Vadim Belitsky   PC1203.045(a)   Probation
                                                                         Limitation
                                        Alex Goldmen     PC1203.045(a)   Probation
                                                                         Limitation
                                        Igor Krashenny   PC1203.045(a)   Probation
                                                                         Limitation
                                        Ali Enayati      PC1203.045(a)   Probation
                                                                         Limitation
                                        Maryam Rahimi PC1203.045(a)      Probation
                                                                         Limitation
                                        Edward Opoku     PC1203.045(a)   Probation
                                                                         Limitation
                                        Lars Lundstrom PC1203.045(a)     Probation
                                                                         Limitation
                                        Emily Anderson PC1203.045(a)     Probation
                                                                         Limitation
                                        Robert Breedlove PC1203.045(a)   Probation
                                                                         Limitation
                                        Ramon            PC1203.045(a)   Probation
                                        Paolosantos                      Limitation
                                        David
                                        John Knight      PC1203.045(a)   Probation
                                                                         Limitation
                                        Virginia Lin     PC1203.045(a)   Probation
                                                                         Limitation
                                        Svetlana         PC1203.045(a)   Probation
                                        Sapronova                        Limitation
                                        Felix Lantsman   PC1203.045(a)   Probation
                                                                         Limitation
                                        Christian Hainka PC1203.045(a)   Probation
                                                                         Limitation
                                        Marina           PC1203.045(a)   Probation
                                        Alekseyeva                       Limitation
                                        Renee            PC1203.045(a)   Probation
                                        Rosenbergelperin                 Limitation
                                        Ilya Zikner      PC1203.045(a)   Probation
                                                                         Limitation
                                        Mila Sutton      PC1203.045(a)   Probation
                                                                         Limitation
                                        Boris Tripoloski PC1203.045(a)   Probation
                                                                         Limitation
                                        Francesca Sutton PC1203.045(a)   Probation
                                                                         Limitation
                                        Jamie Wolf       PC1203.045(a)   Probation
                                                                         Limitation
                                EXHIBIT A
                                   26
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                                  #:112
Count       Charge        Charge Range   Defendant        Allegation      Alleg. Effect
                                         David Bishoff    PC1203.045(a)   Probation
                                                                          Limitation
                                         Dane Robert      PC1203.045(a)   Probation
                                         Christiansen                     Limitation
                                         Joseph Daniel    PC1203.045(a)   Probation
                                         Blythe                           Limitation
                                         Allen Baylan     PC1203.045(a)   Probation
                                                                          Limitation

15          PC550(a)(6)   2-3-5          David Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Brian Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Vladimir        PC1203.045(a)    Probation
                                         Tsikman                          Limitation
                                         Hershel Tsikman PC1203.045(a)    Probation
                                                                          Limitation
                                         Roman            PC1203.045(a)   Probation
                                         Kardonskiy                       Limitation
                                         Jaid Gorban      PC1203.045(a)   Probation
                                                                          Limitation
                                         Eugeny Kirzhner PC1203.045(a)    Probation
                                                                          Limitation
                                         Oleg Piller      PC1203.045(a)   Probation
                                                                          Limitation
                                         Vadim Belitsky   PC1203.045(a)   Probation
                                                                          Limitation
                                         Alex Goldmen     PC1203.045(a)   Probation
                                                                          Limitation
                                         Igor Krashenny   PC1203.045(a)   Probation
                                                                          Limitation
                                         Ali Enayati      PC1203.045(a)   Probation
                                                                          Limitation
                                         Maryam Rahimi PC1203.045(a)      Probation
                                                                          Limitation
                                         Edward Opoku     PC1203.045(a)   Probation
                                                                          Limitation
                                         Lars Lundstrom PC1203.045(a)     Probation
                                                                          Limitation
                                         Emily Anderson PC1203.045(a)     Probation
                                                                          Limitation
                                         Robert Breedlove PC1203.045(a)   Probation
                                                                          Limitation
                                         Ramon            PC1203.045(a)   Probation
                                         Paolosantos                      Limitation
                                         David
                                         John Knight      PC1203.045(a)   Probation
                                                                          Limitation
                                         Virginia Lin     PC1203.045(a)   Probation
                                  EXHIBIT A
                                     27
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                                  #:113
Count       Charge       Charge Range   Defendant        Allegation      Alleg. Effect
                                                                         Limitation
                                        Svetlana         PC1203.045(a)   Probation
                                        Sapronova                        Limitation
                                        Felix Lantsman   PC1203.045(a)   Probation
                                                                         Limitation
                                        Christian Hainka PC1203.045(a)   Probation
                                                                         Limitation
                                        Marina           PC1203.045(a)   Probation
                                        Alekseyeva                       Limitation
                                        Renee            PC1203.045(a)   Probation
                                        Rosenbergelperin                 Limitation
                                        Ilya Zikner      PC1203.045(a)   Probation
                                                                         Limitation
                                        Mila Sutton      PC1203.045(a)   Probation
                                                                         Limitation
                                        Boris Tripoloski PC1203.045(a)   Probation
                                                                         Limitation
                                        Francesca Sutton PC1203.045(a)   Probation
                                                                         Limitation
                                        Jamie Wolf       PC1203.045(a)   Probation
                                                                         Limitation
                                        David Bishoff    PC1203.045(a)   Probation
                                                                         Limitation
                                        Dane Robert      PC1203.045(a)   Probation
                                        Christiansen                     Limitation
                                        Joseph Daniel    PC1203.045(a)   Probation
                                        Blythe                           Limitation
                                        Allen Baylan     PC1203.045(a)   Probation
                                                                         Limitation

16          PC487(a)     16-2-3         David Sutton     PC1203.045(a)   Probation
                                                                         Limitation
                                        Brian Sutton     PC1203.045(a)   Probation
                                                                         Limitation
                                        Vladimir        PC1203.045(a)    Probation
                                        Tsikman                          Limitation
                                        Hershel Tsikman PC1203.045(a)    Probation
                                                                         Limitation
                                        Roman            PC1203.045(a)   Probation
                                        Kardonskiy                       Limitation
                                        Jaid Gorban      PC1203.045(a)   Probation
                                                                         Limitation
                                        Eugeny Kirzhner PC1203.045(a)    Probation
                                                                         Limitation
                                        Oleg Piller      PC1203.045(a)   Probation
                                                                         Limitation
                                        Vadim Belitsky   PC1203.045(a)   Probation
                                                                         Limitation
                                        Alex Goldmen     PC1203.045(a)   Probation
                                  EXHIBIT A
                                     28
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                                  #:114
Count       Charge       Charge Range   Defendant        Allegation      Alleg. Effect
                                                                         Limitation
                                        Igor Krashenny   PC1203.045(a)   Probation
                                                                         Limitation
                                        Ali Enayati      PC1203.045(a)   Probation
                                                                         Limitation
                                        Maryam Rahimi PC1203.045(a)      Probation
                                                                         Limitation
                                        Edward Opoku     PC1203.045(a)   Probation
                                                                         Limitation
                                        Lars Lundstrom PC1203.045(a)     Probation
                                                                         Limitation
                                        Emily Anderson PC1203.045(a)     Probation
                                                                         Limitation
                                        Robert Breedlove PC1203.045(a)   Probation
                                                                         Limitation
                                        Ramon            PC1203.045(a)   Probation
                                        Paolosantos                      Limitation
                                        David
                                        John Knight      PC1203.045(a)   Probation
                                                                         Limitation
                                        Virginia Lin     PC1203.045(a)   Probation
                                                                         Limitation
                                        Svetlana         PC1203.045(a)   Probation
                                        Sapronova                        Limitation
                                        Felix Lantsman   PC1203.045(a)   Probation
                                                                         Limitation
                                        Christian Hainka PC1203.045(a)   Probation
                                                                         Limitation
                                        Marina           PC1203.045(a)   Probation
                                        Alekseyeva                       Limitation
                                        Renee            PC1203.045(a)   Probation
                                        Rosenbergelperin                 Limitation
                                        Ilya Zikner      PC1203.045(a)   Probation
                                                                         Limitation
                                        Mila Sutton      PC1203.045(a)   Probation
                                                                         Limitation
                                        Boris Tripoloski PC1203.045(a)   Probation
                                                                         Limitation
                                        Francesca Sutton PC1203.045(a)   Probation
                                                                         Limitation
                                        Jamie Wolf       PC1203.045(a)   Probation
                                                                         Limitation
                                        David Bishoff    PC1203.045(a)   Probation
                                                                         Limitation
                                        Dane Robert      PC1203.045(a)   Probation
                                        Christiansen                     Limitation
                                        Joseph Daniel    PC1203.045(a)   Probation
                                        Blythe                           Limitation
                                        Allen Baylan     PC1203.045(a)   Probation
                                EXHIBIT A
                                   29
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                                  #:115
Count       Charge       Charge Range   Defendant        Allegation      Alleg. Effect
                                                                         Limitation

17          PC487(a)     16-2-3         David Sutton     PC1203.045(a)   Probation
                                                                         Limitation
                                        Brian Sutton     PC1203.045(a)   Probation
                                                                         Limitation
                                        Vladimir        PC1203.045(a)    Probation
                                        Tsikman                          Limitation
                                        Hershel Tsikman PC1203.045(a)    Probation
                                                                         Limitation
                                        Roman            PC1203.045(a)   Probation
                                        Kardonskiy                       Limitation
                                        Jaid Gorban      PC1203.045(a)   Probation
                                                                         Limitation
                                        Eugeny Kirzhner PC1203.045(a)    Probation
                                                                         Limitation
                                        Oleg Piller      PC1203.045(a)   Probation
                                                                         Limitation
                                        Vadim Belitsky   PC1203.045(a)   Probation
                                                                         Limitation
                                        Alex Goldmen     PC1203.045(a)   Probation
                                                                         Limitation
                                        Igor Krashenny   PC1203.045(a)   Probation
                                                                         Limitation
                                        Ali Enayati      PC1203.045(a)   Probation
                                                                         Limitation
                                        Maryam Rahimi PC1203.045(a)      Probation
                                                                         Limitation
                                        Edward Opoku     PC1203.045(a)   Probation
                                                                         Limitation
                                        Lars Lundstrom PC1203.045(a)     Probation
                                                                         Limitation
                                        Emily Anderson PC1203.045(a)     Probation
                                                                         Limitation
                                        Robert Breedlove PC1203.045(a)   Probation
                                                                         Limitation
                                        Ramon            PC1203.045(a)   Probation
                                        Paolosantos                      Limitation
                                        David
                                        John Knight      PC1203.045(a)   Probation
                                                                         Limitation
                                        Virginia Lin     PC1203.045(a)   Probation
                                                                         Limitation
                                        Svetlana         PC1203.045(a)   Probation
                                        Sapronova                        Limitation
                                        Felix Lantsman   PC1203.045(a)   Probation
                                                                         Limitation
                                        Christian Hainka PC1203.045(a)   Probation
                                                                         Limitation
                                  EXHIBIT A
                                     30
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                                  #:116
Count       Charge        Charge Range   Defendant        Allegation      Alleg. Effect
                                         Marina           PC1203.045(a)   Probation
                                         Alekseyeva                       Limitation
                                         Renee            PC1203.045(a)   Probation
                                         Rosenbergelperin                 Limitation
                                         Ilya Zikner      PC1203.045(a)   Probation
                                                                          Limitation
                                         Mila Sutton      PC1203.045(a)   Probation
                                                                          Limitation
                                         Boris Tripoloski PC1203.045(a)   Probation
                                                                          Limitation
                                         Francesca Sutton PC1203.045(a)   Probation
                                                                          Limitation
                                         Jamie Wolf       PC1203.045(a)   Probation
                                                                          Limitation
                                         David Bishoff    PC1203.045(a)   Probation
                                                                          Limitation
                                         Dane Robert      PC1203.045(a)   Probation
                                         Christiansen                     Limitation
                                         Joseph Daniel    PC1203.045(a)   Probation
                                         Blythe                           Limitation
                                         Allen Baylan     PC1203.045(a)   Probation
                                                                          Limitation

18          PC550(b)(3)   2-3-5          David Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Brian Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Vladimir        PC1203.045(a)    Probation
                                         Tsikman                          Limitation
                                         Hershel Tsikman PC1203.045(a)    Probation
                                                                          Limitation
                                         Roman            PC1203.045(a)   Probation
                                         Kardonskiy                       Limitation
                                         Jaid Gorban      PC1203.045(a)   Probation
                                                                          Limitation
                                         Eugeny Kirzhner PC1203.045(a)    Probation
                                                                          Limitation
                                         Oleg Piller      PC1203.045(a)   Probation
                                                                          Limitation
                                         Vadim Belitsky   PC1203.045(a)   Probation
                                                                          Limitation
                                         Alex Goldmen     PC1203.045(a)   Probation
                                                                          Limitation
                                         Igor Krashenny   PC1203.045(a)   Probation
                                                                          Limitation
                                         Ali Enayati      PC1203.045(a)   Probation
                                                                          Limitation
                                         Maryam Rahimi PC1203.045(a)      Probation
                                                                          Limitation
                                  EXHIBIT A
                                     31
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                                  #:117
Count       Charge        Charge Range   Defendant        Allegation      Alleg. Effect
                                         Edward Opoku     PC1203.045(a)   Probation
                                                                          Limitation
                                         Lars Lundstrom PC1203.045(a)     Probation
                                                                          Limitation
                                         Emily Anderson PC1203.045(a)     Probation
                                                                          Limitation
                                         Robert Breedlove PC1203.045(a)   Probation
                                                                          Limitation
                                         Ramon            PC1203.045(a)   Probation
                                         Paolosantos                      Limitation
                                         David
                                         John Knight      PC1203.045(a)   Probation
                                                                          Limitation
                                         Virginia Lin     PC1203.045(a)   Probation
                                                                          Limitation
                                         Svetlana         PC1203.045(a)   Probation
                                         Sapronova                        Limitation
                                         Felix Lantsman   PC1203.045(a)   Probation
                                                                          Limitation
                                         Christian Hainka PC1203.045(a)   Probation
                                                                          Limitation
                                         Marina           PC1203.045(a)   Probation
                                         Alekseyeva                       Limitation
                                         Renee            PC1203.045(a)   Probation
                                         Rosenbergelperin                 Limitation
                                         Ilya Zikner      PC1203.045(a)   Probation
                                                                          Limitation
                                         Mila Sutton      PC1203.045(a)   Probation
                                                                          Limitation
                                         Boris Tripoloski PC1203.045(a)   Probation
                                                                          Limitation
                                         Francesca Sutton PC1203.045(a)   Probation
                                                                          Limitation
                                         Jamie Wolf       PC1203.045(a)   Probation
                                                                          Limitation
                                         David Bishoff    PC1203.045(a)   Probation
                                                                          Limitation
                                         Dane Robert      PC1203.045(a)   Probation
                                         Christiansen                     Limitation
                                         Joseph Daniel    PC1203.045(a)   Probation
                                         Blythe                           Limitation
                                         Allen Baylan     PC1203.045(a)   Probation
                                                                          Limitation

19          PC550(b)(3)   2-3-5          David Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Brian Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Vladimir         PC1203.045(a)   Probation
                                  EXHIBIT A
                                     32
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                                  #:118
Count       Charge       Charge Range   Defendant       Allegation       Alleg. Effect
                                        Tsikman                          Limitation
                                        Hershel Tsikman PC1203.045(a)    Probation
                                                                         Limitation
                                        Roman            PC1203.045(a)   Probation
                                        Kardonskiy                       Limitation
                                        Jaid Gorban      PC1203.045(a)   Probation
                                                                         Limitation
                                        Eugeny Kirzhner PC1203.045(a)    Probation
                                                                         Limitation
                                        Oleg Piller      PC1203.045(a)   Probation
                                                                         Limitation
                                        Vadim Belitsky   PC1203.045(a)   Probation
                                                                         Limitation
                                        Alex Goldmen     PC1203.045(a)   Probation
                                                                         Limitation
                                        Igor Krashenny   PC1203.045(a)   Probation
                                                                         Limitation
                                        Ali Enayati      PC1203.045(a)   Probation
                                                                         Limitation
                                        Maryam Rahimi PC1203.045(a)      Probation
                                                                         Limitation
                                        Edward Opoku     PC1203.045(a)   Probation
                                                                         Limitation
                                        Lars Lundstrom PC1203.045(a)     Probation
                                                                         Limitation
                                        Emily Anderson PC1203.045(a)     Probation
                                                                         Limitation
                                        Robert Breedlove PC1203.045(a)   Probation
                                                                         Limitation
                                        Ramon            PC1203.045(a)   Probation
                                        Paolosantos                      Limitation
                                        David
                                        John Knight      PC1203.045(a)   Probation
                                                                         Limitation
                                        Virginia Lin     PC1203.045(a)   Probation
                                                                         Limitation
                                        Svetlana         PC1203.045(a)   Probation
                                        Sapronova                        Limitation
                                        Felix Lantsman   PC1203.045(a)   Probation
                                                                         Limitation
                                        Christian Hainka PC1203.045(a)   Probation
                                                                         Limitation
                                        Marina           PC1203.045(a)   Probation
                                        Alekseyeva                       Limitation
                                        Renee            PC1203.045(a)   Probation
                                        Rosenbergelperin                 Limitation
                                        Ilya Zikner      PC1203.045(a)   Probation
                                                                         Limitation
                                        Mila Sutton      PC1203.045(a)   Probation
                                EXHIBIT A
                                   33
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                                  #:119
Count       Charge        Charge Range   Defendant        Allegation      Alleg. Effect
                                                                          Limitation
                                         Boris Tripoloski PC1203.045(a)   Probation
                                                                          Limitation
                                         Francesca Sutton PC1203.045(a)   Probation
                                                                          Limitation
                                         Jamie Wolf       PC1203.045(a)   Probation
                                                                          Limitation
                                         David Bishoff    PC1203.045(a)   Probation
                                                                          Limitation
                                         Dane Robert      PC1203.045(a)   Probation
                                         Christiansen                     Limitation
                                         Joseph Daniel    PC1203.045(a)   Probation
                                         Blythe                           Limitation
                                         Allen Baylan     PC1203.045(a)   Probation
                                                                          Limitation

20          PC550(b)(3)   2-3-5          David Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Brian Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Vladimir        PC1203.045(a)    Probation
                                         Tsikman                          Limitation
                                         Hershel Tsikman PC1203.045(a)    Probation
                                                                          Limitation
                                         Roman            PC1203.045(a)   Probation
                                         Kardonskiy                       Limitation
                                         Jaid Gorban      PC1203.045(a)   Probation
                                                                          Limitation
                                         Eugeny Kirzhner PC1203.045(a)    Probation
                                                                          Limitation
                                         Oleg Piller      PC1203.045(a)   Probation
                                                                          Limitation
                                         Vadim Belitsky   PC1203.045(a)   Probation
                                                                          Limitation
                                         Alex Goldmen     PC1203.045(a)   Probation
                                                                          Limitation
                                         Igor Krashenny   PC1203.045(a)   Probation
                                                                          Limitation
                                         Ali Enayati      PC1203.045(a)   Probation
                                                                          Limitation
                                         Maryam Rahimi PC1203.045(a)      Probation
                                                                          Limitation
                                         Edward Opoku     PC1203.045(a)   Probation
                                                                          Limitation
                                         Lars Lundstrom PC1203.045(a)     Probation
                                                                          Limitation
                                         Emily Anderson PC1203.045(a)     Probation
                                                                          Limitation
                                         Robert Breedlove PC1203.045(a)   Probation
                                  EXHIBIT A
                                     34
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                                  #:120
Count       Charge        Charge Range   Defendant        Allegation      Alleg. Effect
                                                                          Limitation
                                         Ramon            PC1203.045(a)   Probation
                                         Paolosantos                      Limitation
                                         David
                                         John Knight      PC1203.045(a)   Probation
                                                                          Limitation
                                         Virginia Lin     PC1203.045(a)   Probation
                                                                          Limitation
                                         Svetlana         PC1203.045(a)   Probation
                                         Sapronova                        Limitation
                                         Felix Lantsman   PC1203.045(a)   Probation
                                                                          Limitation
                                         Christian Hainka PC1203.045(a)   Probation
                                                                          Limitation
                                         Marina           PC1203.045(a)   Probation
                                         Alekseyeva                       Limitation
                                         Renee            PC1203.045(a)   Probation
                                         Rosenbergelperin                 Limitation
                                         Ilya Zikner      PC1203.045(a)   Probation
                                                                          Limitation
                                         Mila Sutton      PC1203.045(a)   Probation
                                                                          Limitation
                                         Boris Tripoloski PC1203.045(a)   Probation
                                                                          Limitation
                                         Francesca Sutton PC1203.045(a)   Probation
                                                                          Limitation
                                         Jamie Wolf       PC1203.045(a)   Probation
                                                                          Limitation
                                         David Bishoff    PC1203.045(a)   Probation
                                                                          Limitation
                                         Dane Robert      PC1203.045(a)   Probation
                                         Christiansen                     Limitation
                                         Joseph Daniel    PC1203.045(a)   Probation
                                         Blythe                           Limitation
                                         Allen Baylan     PC1203.045(a)   Probation
                                                                          Limitation

21          PC550(b)(3)   2-3-5          David Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Brian Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Vladimir        PC1203.045(a)    Probation
                                         Tsikman                          Limitation
                                         Hershel Tsikman PC1203.045(a)    Probation
                                                                          Limitation
                                         Roman            PC1203.045(a)   Probation
                                         Kardonskiy                       Limitation
                                         Jaid Gorban      PC1203.045(a)   Probation
                                                                          Limitation
                                  EXHIBIT A
                                     35
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                                  #:121
Count       Charge       Charge Range   Defendant       Allegation       Alleg. Effect
                                        Eugeny Kirzhner PC1203.045(a)    Probation
                                                                         Limitation
                                        Oleg Piller      PC1203.045(a)   Probation
                                                                         Limitation
                                        Vadim Belitsky   PC1203.045(a)   Probation
                                                                         Limitation
                                        Alex Goldmen     PC1203.045(a)   Probation
                                                                         Limitation
                                        Igor Krashenny   PC1203.045(a)   Probation
                                                                         Limitation
                                        Ali Enayati      PC1203.045(a)   Probation
                                                                         Limitation
                                        Maryam Rahimi PC1203.045(a)      Probation
                                                                         Limitation
                                        Edward Opoku     PC1203.045(a)   Probation
                                                                         Limitation
                                        Lars Lundstrom PC1203.045(a)     Probation
                                                                         Limitation
                                        Emily Anderson PC1203.045(a)     Probation
                                                                         Limitation
                                        Robert Breedlove PC1203.045(a)   Probation
                                                                         Limitation
                                        Ramon            PC1203.045(a)   Probation
                                        Paolosantos                      Limitation
                                        David
                                        John Knight      PC1203.045(a)   Probation
                                                                         Limitation
                                        Virginia Lin     PC1203.045(a)   Probation
                                                                         Limitation
                                        Svetlana         PC1203.045(a)   Probation
                                        Sapronova                        Limitation
                                        Felix Lantsman   PC1203.045(a)   Probation
                                                                         Limitation
                                        Christian Hainka PC1203.045(a)   Probation
                                                                         Limitation
                                        Marina           PC1203.045(a)   Probation
                                        Alekseyeva                       Limitation
                                        Renee            PC1203.045(a)   Probation
                                        Rosenbergelperin                 Limitation
                                        Ilya Zikner      PC1203.045(a)   Probation
                                                                         Limitation
                                        Mila Sutton      PC1203.045(a)   Probation
                                                                         Limitation
                                        Boris Tripoloski PC1203.045(a)   Probation
                                                                         Limitation
                                        Francesca Sutton PC1203.045(a)   Probation
                                                                         Limitation
                                        Jamie Wolf       PC1203.045(a)   Probation
                                                                         Limitation
                                EXHIBIT A
                                   36
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                                  #:122
Count       Charge        Charge Range   Defendant        Allegation      Alleg. Effect
                                         David Bishoff    PC1203.045(a)   Probation
                                                                          Limitation
                                         Dane Robert      PC1203.045(a)   Probation
                                         Christiansen                     Limitation
                                         Joseph Daniel    PC1203.045(a)   Probation
                                         Blythe                           Limitation
                                         Allen Baylan     PC1203.045(a)   Probation
                                                                          Limitation

22          PC550(b)(3)   2-3-5          David Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Brian Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Vladimir        PC1203.045(a)    Probation
                                         Tsikman                          Limitation
                                         Hershel Tsikman PC1203.045(a)    Probation
                                                                          Limitation
                                         Roman            PC1203.045(a)   Probation
                                         Kardonskiy                       Limitation
                                         Jaid Gorban      PC1203.045(a)   Probation
                                                                          Limitation
                                         Eugeny Kirzhner PC1203.045(a)    Probation
                                                                          Limitation
                                         Oleg Piller      PC1203.045(a)   Probation
                                                                          Limitation
                                         Vadim Belitsky   PC1203.045(a)   Probation
                                                                          Limitation
                                         Alex Goldmen     PC1203.045(a)   Probation
                                                                          Limitation
                                         Igor Krashenny   PC1203.045(a)   Probation
                                                                          Limitation
                                         Ali Enayati      PC1203.045(a)   Probation
                                                                          Limitation
                                         Maryam Rahimi PC1203.045(a)      Probation
                                                                          Limitation
                                         Edward Opoku     PC1203.045(a)   Probation
                                                                          Limitation
                                         Lars Lundstrom PC1203.045(a)     Probation
                                                                          Limitation
                                         Emily Anderson PC1203.045(a)     Probation
                                                                          Limitation
                                         Robert Breedlove PC1203.045(a)   Probation
                                                                          Limitation
                                         Ramon            PC1203.045(a)   Probation
                                         Paolosantos                      Limitation
                                         David
                                         John Knight      PC1203.045(a)   Probation
                                                                          Limitation
                                         Virginia Lin     PC1203.045(a)   Probation
                                  EXHIBIT A
                                     37
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                                  #:123
Count       Charge        Charge Range   Defendant        Allegation      Alleg. Effect
                                                                          Limitation
                                         Svetlana         PC1203.045(a)   Probation
                                         Sapronova                        Limitation
                                         Felix Lantsman   PC1203.045(a)   Probation
                                                                          Limitation
                                         Christian Hainka PC1203.045(a)   Probation
                                                                          Limitation
                                         Marina           PC1203.045(a)   Probation
                                         Alekseyeva                       Limitation
                                         Renee            PC1203.045(a)   Probation
                                         Rosenbergelperin                 Limitation
                                         Ilya Zikner      PC1203.045(a)   Probation
                                                                          Limitation
                                         Mila Sutton      PC1203.045(a)   Probation
                                                                          Limitation
                                         Boris Tripoloski PC1203.045(a)   Probation
                                                                          Limitation
                                         Francesca Sutton PC1203.045(a)   Probation
                                                                          Limitation
                                         Jamie Wolf       PC1203.045(a)   Probation
                                                                          Limitation
                                         David Bishoff    PC1203.045(a)   Probation
                                                                          Limitation
                                         Dane Robert      PC1203.045(a)   Probation
                                         Christiansen                     Limitation
                                         Joseph Daniel    PC1203.045(a)   Probation
                                         Blythe                           Limitation
                                         Allen Baylan     PC1203.045(a)   Probation
                                                                          Limitation

23          PC550(b)(3)   2-3-5          David Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Brian Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Vladimir        PC1203.045(a)    Probation
                                         Tsikman                          Limitation
                                         Hershel Tsikman PC1203.045(a)    Probation
                                                                          Limitation
                                         Roman            PC1203.045(a)   Probation
                                         Kardonskiy                       Limitation
                                         Jaid Gorban      PC1203.045(a)   Probation
                                                                          Limitation
                                         Eugeny Kirzhner PC1203.045(a)    Probation
                                                                          Limitation
                                         Oleg Piller      PC1203.045(a)   Probation
                                                                          Limitation
                                         Vadim Belitsky   PC1203.045(a)   Probation
                                                                          Limitation
                                         Alex Goldmen     PC1203.045(a)   Probation
                                  EXHIBIT A
                                     38
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                                  #:124
Count       Charge       Charge Range   Defendant        Allegation      Alleg. Effect
                                                                         Limitation
                                        Igor Krashenny   PC1203.045(a)   Probation
                                                                         Limitation
                                        Ali Enayati      PC1203.045(a)   Probation
                                                                         Limitation
                                        Maryam Rahimi PC1203.045(a)      Probation
                                                                         Limitation
                                        Edward Opoku     PC1203.045(a)   Probation
                                                                         Limitation
                                        Lars Lundstrom PC1203.045(a)     Probation
                                                                         Limitation
                                        Emily Anderson PC1203.045(a)     Probation
                                                                         Limitation
                                        Robert Breedlove PC1203.045(a)   Probation
                                                                         Limitation
                                        Ramon            PC1203.045(a)   Probation
                                        Paolosantos                      Limitation
                                        David
                                        John Knight      PC1203.045(a)   Probation
                                                                         Limitation
                                        Virginia Lin     PC1203.045(a)   Probation
                                                                         Limitation
                                        Svetlana         PC1203.045(a)   Probation
                                        Sapronova                        Limitation
                                        Felix Lantsman   PC1203.045(a)   Probation
                                                                         Limitation
                                        Christian Hainka PC1203.045(a)   Probation
                                                                         Limitation
                                        Marina           PC1203.045(a)   Probation
                                        Alekseyeva                       Limitation
                                        Renee            PC1203.045(a)   Probation
                                        Rosenbergelperin                 Limitation
                                        Ilya Zikner      PC1203.045(a)   Probation
                                                                         Limitation
                                        Mila Sutton      PC1203.045(a)   Probation
                                                                         Limitation
                                        Boris Tripoloski PC1203.045(a)   Probation
                                                                         Limitation
                                        Francesca Sutton PC1203.045(a)   Probation
                                                                         Limitation
                                        Jamie Wolf       PC1203.045(a)   Probation
                                                                         Limitation
                                        David Bishoff    PC1203.045(a)   Probation
                                                                         Limitation
                                        Dane Robert      PC1203.045(a)   Probation
                                        Christiansen                     Limitation
                                        Joseph Daniel    PC1203.045(a)   Probation
                                        Blythe                           Limitation
                                        Allen Baylan     PC1203.045(a)   Probation
                                EXHIBIT A
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                                  #:125
Count       Charge        Charge Range   Defendant        Allegation      Alleg. Effect
                                                                          Limitation

24          PC550(b)(3)   2-3-5          David Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Brian Sutton     PC1203.045(a)   Probation
                                                                          Limitation
                                         Vladimir        PC1203.045(a)    Probation
                                         Tsikman                          Limitation
                                         Hershel Tsikman PC1203.045(a)    Probation
                                                                          Limitation
                                         Roman            PC1203.045(a)   Probation
                                         Kardonskiy                       Limitation
                                         Jaid Gorban      PC1203.045(a)   Probation
                                                                          Limitation
                                         Eugeny Kirzhner PC1203.045(a)    Probation
                                                                          Limitation
                                         Oleg Piller      PC1203.045(a)   Probation
                                                                          Limitation
                                         Vadim Belitsky   PC1203.045(a)   Probation
                                                                          Limitation
                                         Alex Goldmen     PC1203.045(a)   Probation
                                                                          Limitation
                                         Igor Krashenny   PC1203.045(a)   Probation
                                                                          Limitation
                                         Ali Enayati      PC1203.045(a)   Probation
                                                                          Limitation
                                         Maryam Rahimi PC1203.045(a)      Probation
                                                                          Limitation
                                         Edward Opoku     PC1203.045(a)   Probation
                                                                          Limitation
                                         Lars Lundstrom PC1203.045(a)     Probation
                                                                          Limitation
                                         Emily Anderson PC1203.045(a)     Probation
                                                                          Limitation
                                         Robert Breedlove PC1203.045(a)   Probation
                                                                          Limitation
                                         Ramon            PC1203.045(a)   Probation
                                         Paolosantos                      Limitation
                                         David
                                         John Knight      PC1203.045(a)   Probation
                                                                          Limitation
                                         Virginia Lin     PC1203.045(a)   Probation
                                                                          Limitation
                                         Svetlana         PC1203.045(a)   Probation
                                         Sapronova                        Limitation
                                         Felix Lantsman   PC1203.045(a)   Probation
                                                                          Limitation
                                         Christian Hainka PC1203.045(a)   Probation
                                                                          Limitation
                                  EXHIBIT A
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                                  #:126
Count       Charge       Charge Range   Defendant        Allegation      Alleg. Effect
                                        Marina           PC1203.045(a)   Probation
                                        Alekseyeva                       Limitation
                                        Renee            PC1203.045(a)   Probation
                                        Rosenbergelperin                 Limitation
                                        Ilya Zikner      PC1203.045(a)   Probation
                                                                         Limitation
                                        Mila Sutton      PC1203.045(a)   Probation
                                                                         Limitation
                                        Boris Tripoloski PC1203.045(a)   Probation
                                                                         Limitation
                                        Francesca Sutton PC1203.045(a)   Probation
                                                                         Limitation
                                        Jamie Wolf       PC1203.045(a)   Probation
                                                                         Limitation
                                        David Bishoff    PC1203.045(a)   Probation
                                                                         Limitation
                                        Dane Robert      PC1203.045(a)   Probation
                                        Christiansen                     Limitation
                                        Joseph Daniel    PC1203.045(a)   Probation
                                        Blythe                           Limitation
                                        Allen Baylan     PC1203.045(a)   Probation
                                                                         Limitation

25          BP650        16-2-3         David Sutton     PC1203.045(a)   Probation
                                                                         Limitation
                                        Brian Sutton     PC1203.045(a)   Probation
                                                                         Limitation
                                        Vladimir        PC1203.045(a)    Probation
                                        Tsikman                          Limitation
                                        Hershel Tsikman PC1203.045(a)    Probation
                                                                         Limitation
                                        Roman            PC1203.045(a)   Probation
                                        Kardonskiy                       Limitation
                                        Jaid Gorban      PC1203.045(a)   Probation
                                                                         Limitation
                                        Eugeny Kirzhner PC1203.045(a)    Probation
                                                                         Limitation
                                        Oleg Piller      PC1203.045(a)   Probation
                                                                         Limitation
                                        Vadim Belitsky   PC1203.045(a)   Probation
                                                                         Limitation
                                        Alex Goldmen     PC1203.045(a)   Probation
                                                                         Limitation
                                        Igor Krashenny   PC1203.045(a)   Probation
                                                                         Limitation
                                        Ali Enayati      PC1203.045(a)   Probation
                                                                         Limitation
                                        Maryam Rahimi PC1203.045(a)      Probation
                                                                         Limitation
                                  EXHIBIT A
                                     41
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                                  #:127
Count       Charge       Charge Range   Defendant        Allegation      Alleg. Effect
                                        Edward Opoku     PC1203.045(a)   Probation
                                                                         Limitation
                                        Lars Lundstrom PC1203.045(a)     Probation
                                                                         Limitation
                                        Emily Anderson PC1203.045(a)     Probation
                                                                         Limitation
                                        Robert Breedlove PC1203.045(a)   Probation
                                                                         Limitation
                                        Ramon            PC1203.045(a)   Probation
                                        Paolosantos                      Limitation
                                        David
                                        John Knight      PC1203.045(a)   Probation
                                                                         Limitation
                                        Virginia Lin     PC1203.045(a)   Probation
                                                                         Limitation
                                        Svetlana         PC1203.045(a)   Probation
                                        Sapronova                        Limitation
                                        Felix Lantsman   PC1203.045(a)   Probation
                                                                         Limitation
                                        Christian Hainka PC1203.045(a)   Probation
                                                                         Limitation
                                        Marina           PC1203.045(a)   Probation
                                        Alekseyeva                       Limitation
                                        Renee            PC1203.045(a)   Probation
                                        Rosenbergelperin                 Limitation
                                        Ilya Zikner      PC1203.045(a)   Probation
                                                                         Limitation
                                        Mila Sutton      PC1203.045(a)   Probation
                                                                         Limitation
                                        Boris Tripoloski PC1203.045(a)   Probation
                                                                         Limitation
                                        Francesca Sutton PC1203.045(a)   Probation
                                                                         Limitation
                                        Jamie Wolf       PC1203.045(a)   Probation
                                                                         Limitation
                                        David Bishoff    PC1203.045(a)   Probation
                                                                         Limitation
                                        Dane Robert      PC1203.045(a)   Probation
                                        Christiansen                     Limitation
                                        Joseph Daniel    PC1203.045(a)   Probation
                                        Blythe                           Limitation
                                        Allen Baylan     PC1203.045(a)   Probation
                                                                         Limitation

26          BP4324(a)    16-2-3         Hershel Tsikman PC1203.045(a)    Probation
                                                                         Limitation
                                        Emily Anderson PC1203.045(a)     Probation
                                                                         Limitation

                                  EXHIBIT A
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                                  #:128
Count       Charge        Charge Range   Defendant       Allegation        Alleg. Effect
27          BP4324(a)     16-2-3         Hershel Tsikman PC1203.045(a)     Probation
                                                                           Limitation
                                         Emily Anderson PC1203.045(a)      Probation
                                                                           Limitation

28          BP4324(a)     16-2-3         Hershel Tsikman PC1203.045(a)     Probation
                                                                           Limitation
                                         Emily Anderson PC1203.045(a)      Probation
                                                                           Limitation

29          PC530.5(a)    16-2-3         Hershel Tsikman PC1203.045(a)     Probation
                                                                           Limitation
                                         Emily Anderson PC1203.045(a)      Probation
                                                                           Limitation

30          PC530.5(a)    16-2-3         Hershel Tsikman PC1203.045(a)     Probation
                                                                           Limitation
                                         Emily Anderson PC1203.045(a)      Probation
                                                                           Limitation

31          PC530.5(a)    16-2-3         Hershel Tsikman PC1203.045(a)     Probation
                                                                           Limitation
                                         Emily Anderson PC1203.045(a)      Probation
                                                                           Limitation

32          PC186.10(a)   16-2-3         David Sutton    PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Hershel Tsikman PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Jaid Gorban     PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation

33          PC186.10(a)   16-2-3         David Sutton    PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                   EXHIBIT A
                                      43
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                                  #:129
Count       Charge        Charge Range   Defendant       Allegation        Alleg. Effect
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Hershel Tsikman PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Jaid Gorban     PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation

34          PC186.10(a)   16-2-3         David Sutton    PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Hershel Tsikman PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Jaid Gorban     PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation

35          PC186.10(a)   16-2-3         David Sutton    PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Hershel Tsikman PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                   EXHIBIT A
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                                  #:130
Count       Charge        Charge Range   Defendant       Allegation        Alleg. Effect
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Jaid Gorban     PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation

36          PC186.10(a)   16-2-3         David Sutton    PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Hershel Tsikman PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Jaid Gorban     PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation

37          PC186.10(a)   16-2-3         David Sutton    PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Hershel Tsikman PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                   EXHIBIT A
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                                  #:131
Count       Charge        Charge Range   Defendant       Allegation        Alleg. Effect
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Jaid Gorban     PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation

38          PC186.10(a)   16-2-3         David Sutton    PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Hershel Tsikman PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Jaid Gorban     PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation

39          PC186.10(a)   16-2-3         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Ilya Zikner     PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation

40          PC186.10(a)   16-2-3         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                   EXHIBIT A
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                                  #:132
Count       Charge        Charge Range   Defendant     Allegation        Alleg. Effect
                                                                         Limitation
                                         Ilya Zikner   PC186.10(c)(1)(A) 1 YEAR
                                                       PC186.10(c)(1)(B) 2 YEARS
                                                       PC186.10(c)(1)(D) 4 YEARS
                                                       PC1203.045(a)     Probation
                                                                         Limitation

41          PC186.10(a)   16-2-3         Roman         PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                       PC186.10(c)(1)(B) 2 YEARS
                                                       PC186.10(c)(1)(D) 4 YEARS
                                                       PC1203.045(a)     Probation
                                                                         Limitation
                                         Ilya Zikner   PC186.10(c)(1)(A) 1 YEAR
                                                       PC186.10(c)(1)(B) 2 YEARS
                                                       PC186.10(c)(1)(D) 4 YEARS
                                                       PC1203.045(a)     Probation
                                                                         Limitation

42          PC186.10(a)   16-2-3         Roman         PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                       PC186.10(c)(1)(B) 2 YEARS
                                                       PC186.10(c)(1)(D) 4 YEARS
                                                       PC1203.045(a)     Probation
                                                                         Limitation
                                         Ilya Zikner   PC186.10(c)(1)(A) 1 YEAR
                                                       PC186.10(c)(1)(B) 2 YEARS
                                                       PC186.10(c)(1)(D) 4 YEARS
                                                       PC1203.045(a)     Probation
                                                                         Limitation

43          PC186.10(a)   16-2-3         Roman         PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                       PC186.10(c)(1)(B) 2 YEARS
                                                       PC186.10(c)(1)(D) 4 YEARS
                                                       PC1203.045(a)     Probation
                                                                         Limitation
                                         Ilya Zikner   PC186.10(c)(1)(A) 1 YEAR
                                                       PC186.10(c)(1)(B) 2 YEARS
                                                       PC186.10(c)(1)(D) 4 YEARS
                                                       PC1203.045(a)     Probation
                                                                         Limitation

44          PC186.10(a)   16-2-3         Roman         PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                       PC186.10(c)(1)(B) 2 YEARS
                                                       PC186.10(c)(1)(D) 4 YEARS
                                                       PC1203.045(a)     Probation
                                                                         Limitation
                                   EXHIBIT A
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                                  #:133
Count       Charge        Charge Range   Defendant          Allegation        Alleg. Effect
                                         Ilya Zikner        PC186.10(c)(1)(A) 1 YEAR
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation

45          PC186.10(a)   16-2-3         Roman              PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation
                                         Renee              PC186.10(c)(1)(A) 1 YEAR
                                         Rosenbergelperin
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation

46          PC186.10(a)   16-2-3         Roman              PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation
                                         Renee              PC186.10(c)(1)(A) 1 YEAR
                                         Rosenbergelperin
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation

47          PC186.10(a)   16-2-3         Roman              PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation
                                         Renee              PC186.10(c)(1)(A) 1 YEAR
                                         Rosenbergelperin
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation

48          PC186.10(a)   16-2-3         Roman              PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                   EXHIBIT A
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                                  #:134
Count       Charge        Charge Range   Defendant          Allegation        Alleg. Effect
                                                            PC1203.045(a)     Probation
                                                                              Limitation
                                         Renee              PC186.10(c)(1)(A) 1 YEAR
                                         Rosenbergelperin
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation

49          PC186.10(a)   16-2-3         Roman              PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation
                                         Renee              PC186.10(c)(1)(A) 1 YEAR
                                         Rosenbergelperin
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation

50          PC186.10(a)   16-2-3         Roman              PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation
                                         Marina             PC186.10(c)(1)(A) 1 YEAR
                                         Alekseyeva
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation

51          PC186.10(a)   16-2-3         Roman              PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation
                                         Marina             PC186.10(c)(1)(A) 1 YEAR
                                         Alekseyeva
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation


                                   EXHIBIT A
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                                  #:135
Count       Charge        Charge Range   Defendant       Allegation        Alleg. Effect
52          PC186.10(a)   16-2-3         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Marina          PC186.10(c)(1)(A) 1 YEAR
                                         Alekseyeva
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation

53          PC186.10(a)   16-2-3         Hershel Tsikman PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation

54          PC186.10(a)   16-2-3         Hershel Tsikman PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation

55          PC186.10(a)   16-2-3         Hershel Tsikman PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation

                                   EXHIBIT A
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                                  #:136
Count       Charge        Charge Range   Defendant       Allegation        Alleg. Effect
56          PC186.10(a)   16-2-3         Hershel Tsikman PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation

57          PC186.10(a)   16-2-3         Hershel Tsikman PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation

58          PC186.10(a)   16-2-3         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation
                                         Christian Hainka PC186.10(c)(1)(A) 1 YEAR
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation

59          PC186.10(a)   16-2-3         Vladimir        PC186.10(c)(1)(A) 1 YEAR
                                         Tsikman
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Hershel Tsikman PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                   EXHIBIT A
                                      51
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                                  #:137
Count       Charge        Charge Range   Defendant        Allegation        Alleg. Effect
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation

60          PC186.10(a)   16-2-3         Hershel Tsikman PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation

61          PC186.10(a)   16-2-3         Roman            PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation
                                         Felix Lantsman   PC186.10(c)(1)(A) 1 YEAR
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation

62          PC186.10(a)   16-2-3         Roman            PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(C) 3 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation
                                         Felix Lantsman   PC186.10(c)(1)(A) 1 YEAR
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(C) 3 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation

63          PC186.10(a)   16-2-3         Roman            PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation
                                   EXHIBIT A
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                                  #:138
Count       Charge        Charge Range   Defendant        Allegation        Alleg. Effect
                                         Felix Lantsman   PC186.10(c)(1)(A) 1 YEAR
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation

64          PC186.10(a)   16-2-3         David Sutton    PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Hershel Tsikman PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Jaid Gorban     PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation

65          PC186.10(a)   16-2-3         David Sutton    PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Hershel Tsikman PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Jaid Gorban     PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                   EXHIBIT A
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                                  #:139
Count       Charge        Charge Range   Defendant       Allegation        Alleg. Effect

66          PC186.10(a)   16-2-3         David Sutton    PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Hershel Tsikman PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Jaid Gorban     PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation

67          PC186.10(a)   16-2-3         David Sutton    PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Hershel Tsikman PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Jaid Gorban     PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation

68          PC186.10(a)   16-2-3         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                   EXHIBIT A
                                      54
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                                  #:140
Count       Charge        Charge Range   Defendant          Allegation        Alleg. Effect
                                                            PC1203.045(a)     Probation
                                                                              Limitation
                                         Renee              PC186.10(c)(1)(A) 1 YEAR
                                         Rosenbergelperin
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation

69          PC186.10(a)   16-2-3         Roman              PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation
                                         Renee              PC186.10(c)(1)(A) 1 YEAR
                                         Rosenbergelperin
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation

70          PC186.10(a)   16-2-3         Roman              PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation
                                         Renee              PC186.10(c)(1)(A) 1 YEAR
                                         Rosenbergelperin
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation

71          PC186.10(a)   16-2-3         Roman              PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation
                                         Renee              PC186.10(c)(1)(A) 1 YEAR
                                         Rosenbergelperin
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation

72          PC186.10(a)   16-2-3         Roman              PC186.10(c)(1)(A) 1 YEAR
                                   EXHIBIT A
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                                  #:141
Count       Charge        Charge Range   Defendant          Allegation        Alleg. Effect
                                         Kardonskiy
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation
                                         Renee              PC186.10(c)(1)(A) 1 YEAR
                                         Rosenbergelperin
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation

73          PC186.10(a)   16-2-3         Roman              PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation
                                         Ilya Zikner        PC186.10(c)(1)(A) 1 YEAR
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation

74          PC186.10(a)   16-2-3         Roman              PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation
                                         Ilya Zikner        PC186.10(c)(1)(A) 1 YEAR
                                                            PC186.10(c)(1)(B) 2 YEARS
                                                            PC186.10(c)(1)(D) 4 YEARS
                                                            PC1203.045(a)     Probation
                                                                              Limitation

75          PC186.10(a)   16-2-3         Hershel Tsikman PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation

76          PC186.10(a)   16-2-3         Hershel Tsikman PC186.10(c)(1)(A) 1 YEAR
                                   EXHIBIT A
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                                  #:142
Count       Charge        Charge Range   Defendant        Allegation        Alleg. Effect
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation
                                         Roman            PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation

77          PC186.10(a)   16-2-3         Hershel Tsikman PC186.10(c)(1)(A) 1 YEAR
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation

78          PC186.10(a)   16-2-3         Brian Sutton     PC186.10(c)(1)(A) 1 YEAR
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation
                                         Roman            PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation

79          PC186.10(a)   16-2-3         Brian Sutton     PC186.10(c)(1)(A) 1 YEAR
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation
                                         Roman            PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation
                                         Igor Krashenny   PC186.10(c)(1)(A) 1 YEAR
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                   EXHIBIT A
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                                  #:143
Count       Charge        Charge Range   Defendant       Allegation         Alleg. Effect
                                                         PC1203.045(a)      Probation
                                                                            Limitation

80          PC186.10(a)   16-2-3         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation
                                         Christian Hainka PC186.10(c)(1)(A) 1 YEAR
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation

81          PC186.10(a)   16-2-3         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation
                                         Christian Hainka PC186.10(c)(1)(A) 1 YEAR
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation

82          PC186.10(a)   16-2-3         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation
                                         Christian Hainka PC186.10(c)(1)(A) 1 YEAR
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation

83          PC186.10(a)   16-2-3         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation
                                         Christian Hainka PC186.10(c)(1)(A) 1 YEAR
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                   EXHIBIT A
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                                  #:144
Count       Charge        Charge Range   Defendant       Allegation         Alleg. Effect
                                                                            Limitation

84          PC186.10(a)   16-2-3         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation
                                         Christian Hainka PC186.10(c)(1)(A) 1 YEAR
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation

85          PC186.10(a)   16-2-3         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Marina          PC186.10(c)(1)(A) 1 YEAR
                                         Alekseyeva
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation

86          PC186.10(a)   16-2-3         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Marina          PC186.10(c)(1)(A) 1 YEAR
                                         Alekseyeva
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation

87          PC186.10(a)   16-2-3         Roman           PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                         PC186.10(c)(1)(B) 2 YEARS
                                                         PC186.10(c)(1)(D) 4 YEARS
                                                         PC1203.045(a)     Probation
                                                                           Limitation
                                         Marina          PC186.10(c)(1)(A) 1 YEAR
                                         Alekseyeva
                                                         PC186.10(c)(1)(B) 2 YEARS
                                   EXHIBIT A
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Count       Charge        Charge Range   Defendant        Allegation        Alleg. Effect
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation

88          PC186.10(a)   16-2-3         Roman            PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation
                                         Marina           PC186.10(c)(1)(A) 1 YEAR
                                         Alekseyeva
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation

89          PC186.10(a)   16-2-3         Roman            PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation
                                         Ilya Zikner      PC186.10(c)(1)(A) 1 YEAR
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation

90          PC186.10(a)   16-2-3         Roman            PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation

91          PC186.10(a)   16-2-3         Brian Sutton     PC186.10(c)(1)(A) 1 YEAR
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation
                                         Roman            PC186.10(c)(1)(A) 1 YEAR
                                         Kardonskiy
                                                          PC186.10(c)(1)(B) 2 YEARS
                                                          PC186.10(c)(1)(D) 4 YEARS
                                                          PC1203.045(a)     Probation
                                                                            Limitation
                                         Igor Krashenny   PC186.10(c)(1)(A) 1 YEAR
                                                          PC186.10(c)(1)(B) 2 YEARS
                                   EXHIBIT A
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                                  #:146
Count       Charge          Charge Range   Defendant       Allegation        Alleg. Effect
                                                           PC186.10(c)(1)(D) 4 YEARS
                                                           PC1203.045(a)     Probation
                                                                             Limitation

92          PC186.10(a)     16-2-3         Hershel Tsikman PC186.10(c)(1)(A) 1 YEAR
                                                           PC186.10(c)(1)(B) 2 YEARS
                                                           PC186.10(c)(1)(D) 4 YEARS
                                                           PC1203.045(a)     Probation
                                                                             Limitation
                                           Roman           PC186.10(c)(1)(A) 1 YEAR
                                           Kardonskiy
                                                           PC186.10(c)(1)(B) 2 YEARS
                                                           PC186.10(c)(1)(D) 4 YEARS
                                                           PC1203.045(a)     Probation
                                                                             Limitation

93          PC186.10(a)     16-2-3         Roman           PC186.10(c)(1)(A) 1 YEAR
                                           Kardonskiy
                                                           PC186.10(c)(1)(B) 2 YEARS
                                                           PC186.10(c)(1)(D) 4 YEARS
                                                           PC1203.045(a)     Probation
                                                                             Limitation

94          PC186.10(a)     16-2-3         Roman           PC186.10(c)(1)(A) 1 YEAR
                                           Kardonskiy
                                                           PC186.10(c)(1)(B) 2 YEARS
                                                           PC186.10(c)(1)(D) 4 YEARS
                                                           PC1203.045(a)     Probation
                                                                             Limitation

                          SUPERIOR COURT OF CALIFORNIA




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                          COUNTY OF SANTA CLARA
                             HALL OF JUSTICE
                               COMPLAINT FOR ARREST WARRANT(S)
                                     HERSHEL TSIKMAN EFY049
                                      DAVID SUTTON EFY046
                                      BRIAN SUTTON EFY047
                                      VLADIMIR TSIKMAN EFY048
                                      ROMAN KARDONSKIY EFY050
                                      JAID GORBAN EFY051
                                      EUGENY KIRZHNER EFY054
                                      OLEG PILLER EFY055
                                      VADIM BELITSKY EFY056
                                      ALEX GOLDMEN EFY057
                                      IGOR KRASHENNY EFY058
                                      ALI ENAYATI EFY059
                                      MARYAM RAHIMI EFY060
                                      EDWARD OPOKU EFY061
                                      LARS LUNDSTROM EFY062
                                      EMILY ANDERSON EFY063
                                      ROBERT BREEDLOVE EFY064
                                      RAMON PAOLOSANTOS DAVID EFY065
                                      JOHN KNIGHT EFY066
                                      VIRGINIA LIN EFY067
                                      SVETLANA SAPRONOVA EFY068
                                      FELIX LANTSMAN EFY069
                                      CHRISTIAN HAINKA EFY070
                                      MARINA ALEKSEYEVA EFY071
                                      RENEE ROSENBERGELPERIN EFY072
                                      ILYA ZIKNER EFY073
                                      MILA SUTTON EFY075
                                      BORIS TRIPOLOSKI EFY076
                                      FRANCESCA SUTTON EFY078
                                      JAMIE WOLF EFY079
                                      DAVID BISHOFF EFY080
                                      DANE ROBERT CHRISTIANSEN EFY081
                                      JOSEPH DANIEL BLYTHE EFY082
                                      ALLEN BAYLAN EFY083




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The undersigned is informed and believes that:

                                           COUNT 1
On or about and between October 15, 2015 and May 27, 2020, in the County of Santa Clara, State of
California, the crime of CONSPIRACY TO DEFRAUD PERSON OF PROPERTY OR OBTAIN
MONEY AND PROPERTY BY FALSE PRETENSES, in violation of PENAL CODE SECTION
182(a)(4), a Felony, was committed by DAVID SUTTON, BRIAN SUTTON, VLADIMIR
TSIKMAN, HERSHEL TSIKMAN, ROMAN KARDONSKIY, JAID GORBAN, EUGENY
KIRZHNER, OLEG PILLER, VADIM BELITSKY, ALEX GOLDMEN, IGOR KRASHENNY, ALI
ENAYATI, MARYAM RAHIMI, EDWARD OPOKU, LARS LUNDSTROM, EMILY ANDERSON,
ROBERT BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN KNIGHT, VIRGINIA LIN,
SVETLANA SAPRONOVA, FELIX LANTSMAN, CHRISTIAN HAINKA, MARINA
ALEKSEYEVA, RENEE ROSENBERGELPERIN, ILYA ZIKNER, MILA SUTTON, BORIS
TRIPOLOSKI, FRANCESCA SUTTON, JAMIE WOLF, DAVID BISHOFF, DANE ROBERT
CHRISTIANSEN, JOSEPH DANIEL BLYTHE AND ALLEN BAYLAN who did conspire together
and with other to cheat or defraud insurance companies ANTHEM, AETNA, OPTUM, BLUE CROSS
BLUE SHIELD OF CALIFORNIA, CIGNA, XPRESS SCRIPTS, CVS CAREMARK (hereinafter
“VICTIM COMPANIES”), of property, and to obtain money and property by false pretences or false
promises with the fraudulent intent to not perform those promises in violation of Penal Code sections
487(a), 550(a)(1), 550(a)(6), 550(b)(3), or Business and Professions Code section 650.
It is further alleged that pursuant to and for the purpose of carrying out the objects and purposes of the
conspiracy, one and more of the conspirators committed the following overt acts:

      I.   GLOBAL MARKETING RESEARCH GROUP IS A COMPANY AT THE HEART
           OF A MASSIVE TELEMARKETING AND INSURANCE FRAUD SCHEME THAT
           CALLED THOUSANDS OF CALIFORNIA CITIZENS AND TRICKED THOSE
           CITIZENS INTO BELIEVING THEY WERE SPEAKING TO THEIR INSURANCE
           COMPANY.

                                             OVERT ACT 1
       On May 15, 2015, ALEX GOLDMEN incorporated Global Marketing Research Group
(hereinafter “Global Marketing”) and listed himself as the Corporate Agent. On June 1, 2015,
corporate attorney, FRANCESCA SUTTON, filed a Statement of Information listing ROMAN
KARDONSKIY as the sole owner and officer. At the time, Global Marketing was located at 20350
Ventura Blvd. Ste 120/140, Woodland Hills CA.

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       Global Marketing is a call center at the heart of a large-scale state-wide multi-million-dollar
criminal conspiracy to commit insurance fraud and money laundering.

       Current estimates are that insurance carriers were defrauded of $50,236,245.31 in the State of
California. The total attempted fraudulent billing is $75,347,943.02.

                                            OVERT ACT 2
       In mid-2016, under the direction of one or more C.R.E.A.M. SCHEME MEMBERS, including
BRIAN SUTTON and HERSHEL TSIKMAN, non-medical telemarketers working at Global
Marketing (hereinafter “GLOBAL MARKETING TELEMARKETERS”) began unsolicited calls to
individual members of the general public residing across California, including but not limited to Santa
Clara County, asking if they would like prescription topical pain creams or medical braces at no
personal cost.

                                            OVERT ACT 3

       C.R.E.A.M. SCHEME MEMBERS, including but not limited to ROMAN KARDONSKIEY,
ALEX GOLDMEN, BRIAN SUTTON, DAVID SUTTON, HERSHEL TSIKMAN, JAID GORBAN,
EUGENY KIRZHNER, VADIM BELITSKY, VLADAMIR TSIKMAN, DR. EDWARD OPOKU,
EMILY ANDERSON, ROBERT BREEDLOVE, PAOLO DAVID, SVETLANA SAPRONOVA,
FRANCESCA SUTTON, DAVID BISHOFF, JAMIE WOLFE, ALLEN BAYLAN, DANE
CHRISTIANSEN, JOSEPH BLYTHE, OR VIRGINIA LIN (hereinafter collectively known as
“GLOBAL MARKETING’S MANAGEMENT TEAM”) formed, owned, managed, operated,
promoted the operation of Global Marketing to promote and further the conspiracy.

                                            OVERT ACT 4

       GLOBAL MARKETING’S MANAGEMENT TEAM hired GLOBAL MARKETING
TELEMARKETERS to inundate the general public (hereinafter “TARGET VICTIMS”) with telephone
calls seeking insurance billing information. GLOBAL MARKETING TELEMARKETERS used a
Consultation Notes script drafted by one or more members of GLOBAL MARKETING’S
MANAGEMENT TEAM, which was subsequently located at numerous pharmacies operated by
C.R.E.A.M. SCHEME MEMBERS.




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                                           OVERT ACT 5

       GLOBAL MARKETING’S MANAGEMENT TEAM instructed GLOBAL MARKETING
TELEMARKETERS to make unsolicited telephone calls to these unwitting TARGET VICTIMS
(sometimes 30 to 60 times per TARGET VICTIM) located throughout California, including, but
limited to Santa Clara County, Orange County, Alameda County, San Luis Obispo County, Riverside
County, Ventura County, Kern County, Sonoma County, Stanislaus County, Contra Costa County, San
Joaquin County, Fresno County, Butte County, San Bernardino County, Santa Cruz County, Shasta
County, Yolo County, San Diego County, Tulare County, Solano County, Imperial County, Sutter
County, Glenn County, Marin County, Madera County, Inyo County, Sacramento County, Kings
County, Tuolumne County, Merced County, Santa Barbara County, Colusa County, Mendocino
County, San Benito County, Nevada County, Calaveras County, Placer County, Humboldt County,
Sierra County, Plumas County, Tehama County, Lake County, Yuba County, or Maricopa County to
get TARGET VICTIMS to agree to order durable medical equipment (DME) or various medicated
creams from California Gen Medical (“Cal Gen DME”), First Choice Pharmacy, Family Choice
Pharmacy, True Choice Pharmacy, Van Nuys RX, or VM RX (Valley Market Pharmacy).

                                           OVERT ACT 6

       GLOBAL MARKETING’S MANAGEMENT TEAM instructed GLOBAL MARKETING
TELEMARKETERS to use specific personal information to gain the TARGET VICTIMS’ trust or
confuse the TARGET VICTIMS into believing the calls originated from the TARGET VICTIMS’
insurance company or doctor’s office. During the calls, the TARGET VICTIMS’ were caused by the
TELEMARKETERS to divulge their personal information included names, dates of birth, cellular
telephone numbers, insurance policy information, social security numbers, and recent surgeries.

                                           OVERT ACT 7

       ROMAN KARDONSKIY and ALEX GOLDMEN used Global Marketing Bank Accounts (JP
Morgan Chase 5191, 2552 and Wells Fargo 0937, 9934) to purchase the TARGET VICTIMS’ personal
information from the companies and date range listed below:




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      Once EDWARD OPOKU was hired, Global Marketing nurses and physician assistants
       contacted and prepared prescriptions for TARGET VICTIMS without adequate oversight by
       that doctor as required by their state licenses.
      Global Marketing never obtained, whether by medical personal or by GLOBAL MARKETING
       TELEMARKETERS, a full medical history of the TARGET VICTIMS.
      Global Marketing never obtained, whether by medical personal or by GLOBAL MARKETING
       TELEMARKETERS, other medications of the TARGET VICTIMS for potential conflicts.
      Global Marketing, whether by medical personal or by GLOBAL MARKETING
       TELEMARKETERS, never maintained a record of the TARGET VICTIMS’ prescriptions.
      GLOBAL MARKETING TELEMARKETERS used “Consultation notes” form that was
       insufficient for a treating physician to determine if a patient needed these prescription products.
      Some TARGET VICTIMS received pain creams or DME BRACES they did not want or ask
       for.
      TARGET VICTIMS did not recognize the doctors or pharmacies from which the pain creams or
       DME BRACES came.
      TARGET VICTIMS did not give permission to the specific doctors to prescribe the pain creams
       or DME BRACES as listed in the prescriptions given to the pharmacies.
      Some TARGET VICTIMS never received the product but they or their insurance company
       were still billed.
      Some TARGET VICTIMS reported they would receive these products repeatedly even though
       those TARGET VICTIMS did not request a refill.


                                             OVERT ACT 9
       Between May 2015 to 2016, no medical professionals worked at Global Marketing. As a result,
GLOBAL MARKETING’S MANAGEMENT TEAM, including but not limited to ROBERT
BREEDLOVE, BRIAN SUTTON or HERSHEL TSIKMAN, made separate agreements with
individual doctors and doctor groups to sign FRAUDULENT PRESCRIPTIONS. Some of these
agreements were with Global Marketing, Cal Gen DME or other third-party shell corporations.




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                                         OVERT ACT 10
       DRS. ALI ENAYATI, MARYAM RAHIMI, EDWARD OPOKU, LARS LUNDSTROM,
AND JOHN KNIGHT approved FRAUDULENT PRESCRIPTIONS at the direction of other
GLOBAL MARKETING’S MANAGEMENT TEAM, including but not limited to ROBERT
BREEDLOVE, BRIAN SUTTON or HERSHEL TSIKMAN.


                                         OVERT ACT 11
       To facilitate this process, GLOBAL MARKETING’S MANAGEMENT TEAM, including but
not limited to EMILY ANDERSON, BRIAN SUTTON, HERSHEL TSIKMAN or IGOR
KRASHENNY would prepare, aid and abet, or direct the preparation of FRAUDULENT
PRESCRIPTIONS for doctors to approve.

                                         OVERT ACT 12

       GLOBAL MARKETING’S MANAGEMENT TEAM, including but not limited to EMILY
ANDERSON, BRIAN SUTTON AND HERSHEL TSIKMAN or IGOR KRASHENNY would
prepare, aid and abet, or direct the preparation of FRAUDULENT PRESCRIPTIONS without any
doctor’s approval.

                                         OVERT ACT 13
       To more easily facilitate their fraud, GLOBAL MARKETING’S MANAGEMENT TEAM
prepared standardized prescription pads for pain creams (hereinafter “C.R.E.A.M. RX SHEET”) that
could be submitted to pharmacies, including, but not limited to, Cal Gen DME, First Choice Pharmacy,
Family Choice Pharmacy, True Choice Pharmacy, Van Nuys RX, or VM RX (Valley Market
Pharmacy). HERSHEL TSIKMAN or SVETLANA SAPRONOVA drafted versions of the




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C.R.E.A.M. RX SHEET. As listed




below:



                                       OVERT ACT 14

         C.R.E.A.M. SCHEME MEMBERS, including but limited to EMILY ANDERSON or
HERSHEL TSIKMAN, also prepared easy to complete prescription pads for durable medical
equipment (hereinafter “DME RX SHEET”) that could be submitted to Cal Gen DME. As listed
below:
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     III. C.R.E.A.M. SCHEME MEMBERS WOULD PRE-PREPARE FRAUDULENT
          PRESCRIPTIONS THAT WERE LATER SIGNED BY DOCTORS WHO NEVER
          COMMUNICATED WITH THE PATIENT AND FAILED TO FOLLOW
          TELEMEDICAL RULES.

                                         OVERT ACT 15
       In May 2016, ROBERT BREEDLOVE contacted LARS LUNDSTROM offering an
opportunity to make more money with his chiropractic practice.


                                         OVERT ACT 16
       LARS LUNDSTROM was offered $1,000 a month to review TARGET VICTIM files to
determine if they needed DME BRACES.


                                         OVERT ACT 17
       LARS LUNDSTROM signed a contract with United Marketing Group, owned by JAID
GORBAN.




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                                           OVERT ACT 18
       The documents were sent to LARS LUNDSTROM weekly through a document service called
“DocuSign.” The documents came to him completely filled out, it was his responsibility to sign the
ones he thought needed DME BRACES and send it back to HERSHEL TSIKMAN.


                                           OVERT ACT 19
       LARS LUNDSTROM was not sure of the legality of this scheme, so ROBERT BREEDLOVE
introduced him to HERSHEL TSIKMAN who came to his office to appease the concerns Lundstrom
had about the legality of what was planned. From that point forward, when TARGET VICTIMS
complained, including but not limited to receiving DME BRACES they did not want, LARS
LUNDSTROM would call HERSHEL TSIKMAN.


                                           OVERT ACT 20
       LARS LUNDSTROM did not contact or speak with any of the TARGET VICTIMS that were
referred to him, but only completed a paper review over the internet in violation of medical and
telemedical rules.
                                           OVERT ACT 21
       HERSHEL TSIKMAN emailed SVETLANA SAPRONOVA prepared, directed, or submitted
FRAUDULENT PRESCRIPTIONS of employees working at Global Marketing. They sent an email in
further of this scheme noting which employees to prepare, submit and bill VICTIM COMPANIES for,
noting which are minors and thus should not be used in their scheme.


                                           OVERT ACT 22
       On July 5, 2016, EMILY ANDERSON emailed from her Global Marketing address to
HERSHEL TSIKMAN “Attached is the first batch for Enayati. We are going to send you 300 for
Enayati then 300 for Rahimi.”

                                           OVERT ACT 23
       On Aug. 9, 2016, ALLEN BALYAN an employee at Cal Gen DME (sent an email to
HERSHEL TSIKMAN with the subject line reading “Claims from Call center.” ALLEN BALYAN
reported that “On yesterday’s email from Emily @4:24 the first file of Deermer (Ankle & Wrist) file
was empty as in no file.” This further confirmed that the prescriptions originated from the call center -
and that EMILY ANDERSON, under the direction of C.R.E.A.M. SCHEME MEMBERS, moved the
prescriptions to the pharmacies and Cal Gen DME.
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                                           OVERT ACT 24
       On November 28, 2016, EMILY ANDERSON emailed from her Global Marketing email
address to BRIAN SUTTON, IGOR KRASHENNY, and HERSHEL TSIKMAN breaking down sales
from November 23, 2016. In this email, she explained how she fraudulently re-scripted prescriptions
writing “94 Blank Doctor Rescripts under Opoku.”

                                           OVERT ACT 25
       On January 2, 2017, EMILY ANDERSON emailed from her Global Marketing email address to
BRIAN SUTTON, IGOR KRASHENNY, HERSHEL TSIKMAN and others breaking down the sales
of hundreds of DME BRACES and creams from December 26 to December 30th, 2016. In this email
she admitted to preparing FRAUDULENT PRESCRIPTIONS. She wrote, “529 Verified under
Lundstrom” under the heading: “Braces to be Sent – will be sent tomorrow (It took me all day to make
compound scripts).” In other words, EMILY ANDERSON spent “all day” preparing FRAUDULENT
PRESCRIPTIONS in LARS LUNDSTROM’S name for patients he had never seen.

                                           OVERT ACT 26
       Further, EMILY ANDERSON prepared blank prescriptions for already concluded sales
awaiting the insertion of a doctor’s name who had never communicated with the patient.

                                           OVERT ACT 27
       Finally, in early 2017, GLOBAL MARKETING’S MANAGEMENT, including but not limited
to BRIAN SUTTON, DAVID BISHOFF, AND HERSHEL TSIKMAN hired EDWARD OPOKU to
work a Global Marketing. At that time, this included the hiring EDWARD OPOKU under the guise of
acting as a medical director to oversee other newly hired Nurse Practitioners and Physician Assistants.


                                           OVERT ACT 28
       Before and while working at Global Marketing, EDWARD OPOKU approved FRAUDULENT
PRESCRIPTIONS for patients through GLOBAL MARKETING TELEMARKETERS without
speaking to the patients. The top medications prescribed by Dr. Opoku were limited only to those
listed on the C.R.E.A.M. RX SHEET, which was a very different list of the top 10 medications
prescribed by his peers to the same insurance company Anthem:




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                                          OVERT ACT 29
       C.R.E.A.M. SCHEME MEMBERS, including but not limited to BRIAN SUTTON, HERSHEL
TSIKMAN and EDWARD OPOKU, instructed the Nurse Practitioners to speak with patients, but the
Nurse Practitioners and Physician Assistants did not have written contracts with Global Marketing and
communicated infrequently – sometimes not at all – with EDWARD OPOKU. They never met with
him in person. He did not supervise them as required under California Business and Profession Code
section 3502.

                                          OVERT ACT 30
       Even after hiring EDWARD OPOKU to work at Global Marketing as a medical director,
C.R.E.A.M. SCHEME MEMBERS including but not limited to EMILY ANDERSON, BRIAN
SUTTON, HERSHEL TSIKMAN, IGOR KRASHENNY, DRS. ALI ENAYATI, MARYAM
RAHIMI, EDWARD OPOKU, LARS LUNDSTROM, or JOHN KNIGHT continued to prepare
FRAUDULENT PRESCRIPTIONS.

                                          OVERT ACT 31

       In April to May 2017, C.R.E.A.M. SCHEME MEMBERS instructed employees that Global
Marketing was changing its name to The Care Group. Other than the name, the business operated in
the exact same manner as before – continuing the massive fraud and money laundering operation of the
C.R.E.A.M. SCHEME MEMBERS.

     IV. C.R.E.A.M. SCHEME MEMBERS WOULD PREPARE AND SUBMIT
         FRAUDULENT PRESCRIPTIONS THAT WERE FORGED USING NAMES OF
         DOCTORS WHO NEVER APPROVED THE PRESCRIPTIONS AND HAD NOT
         COMMUNICATED WITH THE TARGET VICTIMS.




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                                           OVERT ACT 32
       Sometime in 2016, ROBERT BREEDLOVE located Stine Chiropractic. At Stine Chiropractic,
Dr. Michael Cruz and Dr. Raychelle Dermer-Kemple were employed as chiropractors. Dr. Stine’s
group was asked by ROBERT BREEDLOVE to review patient files to determine if the patients needed
DME BRACES.

                                           OVERT ACT 33
       Pursuant to ROBERT BREEDLOVE instructions, the group participated in this program for
approximately one month and reviewed around 50 patient records. Dr. Cruz personally reviewed
approximately 50 files, each included a prefilled-out form titled “[X] Prescription Form and a letter of
Medical Necessity.” C.R.E.A.M. SCHEME MEMBERS prepared and sent him medical prescriptions
forms that he could only approve or disapprove. He could not make edits to the doctor notes, which
were written with his name in the heading. He denied all forms that were submitted to him. Ultimately
Drs. Stine, Cruz and Deermer-Kemple did not authorize the use of their names for any prescriptions.

                                           OVERT ACT 34
       Beginning on July 19, 2016, however, Dr. Cruz’s name was listed on FRAUDULENT
PRESCRIPTIONS by C.R.E.A.M. SCHEME MEMBERS seeking reimbursement from different
VICTIM COMPANIES, without his knowledge or authorization. This practice continued under
November 23, 2016.

                                           OVERT ACT 35
       Over one thousand claims for prescription durable medical equipment were prepared and
submitted by C.R.E.A.M. SCHEME MEMBERS in Dr. Deermer-Kemple and Dr. Cruz’s names. In
Dr. Cruz’s name there were $574,372.90 in unauthorized FRAUDULENT PRESCRIPTIONS sent to
VICTIM COMPANIES in 760 claims, including but not limited to Anthem, Optum and Cigna, of
which $74,714.17 was ultimately paid because of the fraud. In Dr. Deermer-Kemple’s name, there
were $835,307.06 in unauthorized FRAUDULENT PRESCRIPTIONS sent to the VICTIM
COMPANIES in 1,073 claims, including but not limited to Optum, Blue Cross Blue Shield, and Cigna,
of which $87,471 was ultimately paid because of the fraud.




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                                         OVERT ACT 36
       On July 27, 2016, EMILY ANDERSON emailed from her Global Marketing email address to
HERSHEL TSIKMAN regarding DME brace sales. Attached to her e-mail were prescriptions that
were unsigned and pre-completed with the patient’s name, prescribing DME braces, and the name of a
doctor (EDWARD OPOKU, Raychelle Deermer-Kemple, and/or Michael Cruz).

                                         OVERT ACT 37
       Later that same day, HERSHEL TSIKMAN emailed EMILY ANDERSON and DANE
CHRISTIANSEN to instruct Global Marketing to switch from using EDWARD OPOKU’S name on
FRAUDULENT PRESCRIPTIONS to Dr. Raychelle Deermer-Kemple and Dr. Michael Cruz.

                                         OVERT ACT 38
       Dr. Michael Stine confronted HERSHEL TSIKMAN about patients receiving DME braces that
they did not want and stated that he felt that the program was about a DME company trying to make a
profit. HERSEL TSIKMAN responded to Dr. Stine’s complaint. As a result, Dr. Stine terminated his
group’s agreement with C.R.E.A.M. SCHEME MEMBERS.

     V.    PHARMACIES WERE PURCHASED BY C.R.E.A.M. SCHEME MEMBERS AND
           MUTATED INTO MILLS FOR FULLFILLING FRADULENT PRESCRIPTIONS
           FOR PAIN CREAMS AND DURABLE MEDICAL EQUIPMENT SOLD TO
           TARGET VICTIMS BY GLOBAL MARKETING.

                                         OVERT ACT 39

       To further their scheme, C.R.E.A.M. SCHEME MEMBERS purchased and began to operate
pharmacies to receive and fulfill FRAUDLENT PRESCRIPTIONS that were prepared by other
C.R.E.A.M. SCHEME MEMBERS. Per Secretary of State Records and financial business records, the
pharmacy ownership information was the following:

            ALEX GOLDMAN/FELIX LANTSMAN: VAN NUYS PHARMACY
            CHRISTIAN HAINKA: VALLEY MARKET PHARMACY
            MARINA ALEKSEYEVA: TRUE CHOICE PHARMACY
            RENEE ROSENBERG-ELPERIN: FIRST CHOICE PHARMACY
            ILYA ZIKNER: FAMILY CARE PHARMACY
(hereinafter “MUTANT PHARMACIES”)




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                                  #:163
                                            OVERT ACT 40
       The C.R.E.A.M. SCHEME MEMBERS operated the respective MUTANT PHARMACIES
during the dates listed below:




                                            OVERT ACT 41

       Once the C.R.E.A.M. SCHEME MEMBERS purchased a pharmacy, the pharmacy would
mutate from legal to illegal operations - failing to serve hardly any legitimate or legal purpose.

                                            OVERT ACT 42

       OLEG PILLER facilitated the purchase and set up the operations of the MUTANT
PHARMACIES.

                                            OVERT ACT 43
       After FRAUDULENT PRESCRIPTIONS were prepared by C.R.E.A.M. SCHEME MEMBERS
and (whether they were approved or not approved), the FRAUDULENT PRESCRIPTIONS were
submitted to the MUTANT PHARMACIES at the direction and by C.R.E.A.M. SCHEME
MEMBERS, including but not limited to EMILY ANDERSON, ALI ENAYATI, MARYAM
RAHIMI, EDWARD OPOKU, LARS LUNDSTROM, JOHN KNIGHT, BRIAN SUTTON, or
HERSHEL TSIKMAN.




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                                           OVERT ACT 44
       MUTANT PHARMACIES under direction of C.R.E.A.M. SCHEME MEMBERS would fulfill
the FRAUDULENT PRESCRIPTIONS. Most TARGET VICTIMS, upon receiving the products in the
mail, neither recognized the doctor’s name nor the originating business or pharmacy named on the
prescription.

                                           OVERT ACT 45

       When RENEE ROZENBERG-ELPERIN became the President of First Choice Pharmacy on
September 28, 2015, she directed that the prescription types change to items listed on C.R.E.A.M. RX
SHEET after October 15, 2015 to certain specific pain medications. This is supported by data provided
by AETNA of FIRST CHOICE PHARMACY.

                                           OVERT ACT 46

       ALEX GOLDMAN took over VAN NUYS PHARMACY in February 2016 and directed the
prescription types to change to items listed on C.R.E.A.M. RX SHEET (per AETNA). Also, RAHIMI
and ENYATI began having FRAUDULENT PRESCRIPTIONS fulfilled at a location they did not use
the previously. Indeed, billing from VAN NUYS PHARMACY to AETNA changed from $15,334.11
(the last quarter of 2015) to $244,603.50 (between 3/1/16 to 3/28/16).

                                           OVERT ACT 47
       C.R.E.A.M. SCHEME MEMBERS and employees at the MUTANT PHARMACIES operated
businesses that had no other legitimate purpose other than to fulfill the FRAUDULENT
PRESCRIPTIONS. Indeed, in many of the pharmacies were not stocked like normal pharmacies. (e.g.
limited supply of common over-the-counter drugs like Tylenol). Indeed, the purchase of over-the-
counter drugs was so rare that at one location that the employees were unable to work the cash register.

                                           OVERT ACT 48
       C.R.E.A.M. SCHEME MEMBERS, including but not limited to JAMIE WOLFE and
SVETLANA SAPRONOVA, through the MUTANT PHARMACIES would then bill the VICTIM
COMPANIES multiple times more the cost of the cream or DME BRACES. Here are examples:




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                                                                                        Approx. Avg.
Invoice Date                Medication                 Pharmacy       Price per unit   Carrier Charged

  12/7/15       Diclofenac Sod. Topical Sol 1.5%      First Choice   $235.00           $1,350.00
  3/25/16                Vanatol LQ 16oz              First Choice   $699.00           $3,484.51
   4/1/16       Diclofenac Sod. Topical Sol 1.5%      First Choice   $100.00           $1,350.00
  11/4/16            Lidocaine Ointment 5%            First Choice   $250.00           $1,828.25
  11/4/16             Diclofenac Sod Gel 3%           First Choice   $222.00           $2,721.73
   1/6/17            Lidocaine Ointment 5%           Valley Market   $290.00           $1,828.25
   1/6/17            Diclofenac Sod. Gel 3%          Valley Market   $222.00           $2,721.73
   2/1/17            Diclofenac Sod. Gel 3%          Valley Market   $200.00           $2,721.73
   2/1/17            Lidocaine Ointment 5%           Valley Market   $350.00           $1,828.25
   2/1/17               Fluocinonide 0.1%            Valley Market   $200.00           $4,704.49
  2/22/17            Lidocaine Ointment 5%           Valley Market   $150.00           $1,828.25
  2/22/17            Diclofenac Sod. Gel 3%          Valley Market   $145.00           $2,721.73



    VI.     DURING THE TIME THAT C.R.E.A.M SCHEME MEMBERS OPERATED THE
            MUTANT PHARMACIES, THEY BILLED THE VICTIM COMPANIES
            MILLIONS IN FRAUDULENT PRESCRIPTIONS.

                                           OVERT ACT 49
       C.R.E.A.M SCHEME MEMBERS directed the MUTANT PHARMACIES AND Cal Gen
DME to bill ANTHEM for all prescriptions for $10,393,157.47 and the amount paid by ANTHEM for
all prescriptions was $4,237,599.49.

       Total billings of substances matching those listed on the C.R.E.A.M. RX SHEET accounted for
$10,287,336.95 with payment of $4,171,828.71.




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                                        OVERT ACT 50

       C.R.E.A.M SCHEME MEMBERS directed the MUTANT PHARMACIES AND Cal Gen
DME to bill AETNA for all prescriptions for $11,072,488.56 and the amount paid by AETNA for all
prescriptions was $9,171,217.37.

       Total billings of substances matching those listed on the C.R.E.A.M. RX SHEET accounted for
$10,247,329.22 with payment of $8,521,757.40

                                        OVERT ACT 51

       C.R.E.A.M SCHEME MEMBERS directed the MUTANT PHARMACIES AND Cal Gen
DME to bill BLUE CROSS BLUE SHIELD for all prescriptions for $21,316,041.32 and the amount
paid by BLUE CROSS BLUE SHIELD for all prescriptions was $10,624,707.37.

       Total billings of substances matching those listed on the C.R.E.A.M. RX SHEET accounted for
$21,286,193.10 with payments of $10,609,841.09.

                                        OVERT ACT 52

       C.R.E.A.M SCHEME MEMBERS directed the MUTANT PHARMACIES AND Cal Gen
DME to bill OPTUM for all prescriptions for $5,950,998.48 and the amount paid by OPTUM for all
prescriptions was $5,296,427.55.

       Total billings of substances matching those listed on the C.R.E.A.M. RX SHEET accounted for
$4,706,979.51 with payment of $4,424,045.38.

                                        OVERT ACT 53

       C.R.E.A.M SCHEME MEMBERS directed the MUTANT PHARMACIES AND Cal Gen
DME to bill EXPRESS SCRIPTS for all prescriptions for $11,838,712.73 and the amount paid by
EXPRESS SCRIPTS for all prescriptions was $6,520,202.88.

       Total billings of substances matching those listed on the C.R.E.A.M. RX SHEET accounted for
$11,758,599.55 with payment of $6,471,327.09.




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                                         OVERT ACT 54

       C.R.E.A.M SCHEME MEMBERS directed the MUTANT PHARMACIES AND Cal Gen
DME to bill CIGNA for all prescriptions for $2,446,263.18 and the amount paid by CIGNA for all
prescriptions was $374,577.41.

       Total billings of substances matching those listed on the C.R.E.A.M. RX SHEET accounted for
$1,443,951.80 with payments of $367,378.28.

                                         OVERT ACT 55

       C.R.E.A.M SCHEME MEMBERS directed the MUTANT PHARMACIES AND Cal Gen
DME to bill CVS CAREMARK for all prescriptions for $18,754,219.75 and the amount paid by CVS
CAREMARK for all prescriptions was $18,857,538.81.

       Total billings of substances matching those listed on the C.R.E.A.M. RX SHEET accounted for
$15,617,552.89 with payments of $15,670,067.36.

    VII. C.R.E.A.M. SCHEME MEMBERS ATTEMPTED TO MASK THEIR OWNERSHIP,
         OPERATION AND FINANCIAL CONNECTIONS TO GLOBAL MARKETING
         AND THE PHARMACIES.

                                         OVERT ACT 56

       C.R.E.A.M. SCHEME MEMBERS incorporated numerous companies to create a layer of
anonymity and to further their criminal conspiracy. C.R.E.A.M. SCHEME MEMBERS formed these
corporate entities to mask the true ownership and movements of money to and from Global Marketing.

       FRANCESCA SUTTON served as Agent of Service for SDL Services Group Corp (May 3,
2016); The Care Group (January 30, 2017, October 17, 2017): Wilshire Marketing Group Inc.
(February 13, 2017); Worldwide Leads, Inc. (May 19, 2016, January 20, 2017); Sigma Universal
Service Corp, BS Solutions LLC (October 4, 2017).

                                         OVERT ACT 57

       C.R.E.A.M. SCHEME MEMBERS opened corresponding bank accounts in their respective
corporate names. The purpose of opening corporate bank accounts was to further mask the movement
of money to and from Global Marketing.




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   VIII. C.R.E.A.M. SCHEME MEMBERS SENT LARGE AMOUNT OF MONEY VIA
         WIRE TRANSFERS IN ORDER TO PROMOTE, MANAGE, ESTABLISH, CARRY
         ON, OR FACILITATE THE PROMOTION, MANAGEMENT, ESTABLISHMENT,
         OR CARRYING ON OF CRIMINAL ACTIVITIES, OR KNEW THAT THE
         MONETARY INSTRUMENT REPRESENTED THE PROCEEDS OF, OR WAS
         DERIVED DIRECTLY OR INDIRECTLY FROM THE PROCEEDS OF,
         CRIMINAL ACTIVITY.

                                    OVERT ACT 60

      ROMAN KARDONSKIY and ALEX GOLDMEN used the Global Marketing bank accounts to
receive illicit funds from the MUTANT PHARMACIES.




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                                            OVERT ACT 61

       ROMAN KARDONSKIY and ALEX GOLDMEN used the money received by the MUTANT
PHARMACIES to pay Global Marketing business expenses, including ADP payroll, lead generating
third parties, kick-backs to medical professionals (including office staff), or make large payouts to
C.R.E.A.M. SCHEME MEMBERS who helped operate the conspiracy.

                                            OVERT ACT 62

       C.R.E.A.M. SCHEME MEMBERS transferred millions of dollars in monetary instruments to
and from Global Marketing to promote or facilitate their criminal activity.

                                            OVERT ACT 63

       C.R.E.A.M. SCHEME MEMBERS transferred millions of dollars in monetary instruments
through their corporate bank accounts knowing that the monetary instruments represented the proceeds
indirectly or directly derived from the proceeds of criminal activity. Often these payments took the
form of electronic wires, which violates California money laundering laws.

                                            OVERT ACT 64

       C.R.E.A.M. SCHEME MEMBERS used this money to make personal purchases worth millions
of dollars, knowing that the money came from illegal proceeds.

              OVERT ACT 65-72 (Global Marketing JPMC Account ending in 5191)

                                            OVERT ACT 65
       Between September 8, 2016 and September 30, 2016, DAVID SUTTON, JAID GORBAN and
HERSHEL TSIKMAN wired $147,716 from DDBS Enterprises Citibank Account ending in 8011 to
ROMAN KARDONSKIY at Global Marketing JPMC Account ending in 5191.


                                            OVERT ACT 66

       Between October 6, 2016 to October 26, 2016, DAVID SUTTON, JAID GORBAN and
HERSHEL TSIKMAN wired $197,434 from DDBS Enterprises Citibank Account ending in 8011 to
ROMAN KARDONSKIY at Global Marketing JPMC Account ending in 5191.




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                                         OVERT ACT 67
      Between November 3, 2016 to November 30, 2016, DAVID SUTTON, JAID GORBAN and
HERSHEL TSIKMAN wired $176,991 from DDBS Enterprises Citibank Account ending in 8011 to
ROMAN KARDONSKIY at Global Marketing JPMC Account ending in 5191.


                                         OVERT ACT 68
      Between December 5, 2016 to December 29, 2016, DAVID SUTTON, JAID GORBAN and
HERSHEL TSIKMAN wired $278,660 from DDBS Enterprises Citibank Account ending in 8011 to
ROMAN KARDONSKIY at Global Marketing JPMC Account ending in 5191.


                                         OVERT ACT 69
      Between January 5, 2017 to January 27, 2017, DAVID SUTTON, JAID GORBAN and
HERSHEL TSIKMAN wired $380,605 from DDBS Enterprises Citibank Account ending in 8011 to
ROMAN KARDONSKIY at Global Marketing JPMC Account ending in 5191.


                                         OVERT ACT 70
      Between February 2, 2017 to February 24, 2017, DAVID SUTTON, JAID GORBAN and
HERSHEL TSIKMAN wired $917,811 from DDBS Enterprises Citibank Account ending in 8011 to
ROMAN KARDONSKIY at Global Marketing JPMC Account ending in 5191.


                                         OVERT ACT 71
      On or about March 2, 2017, DAVID SUTTON, JAID GORBAN and HERSHEL TSIKMAN
wired $75,000 from DDBS Enterprises Citibank Account ending in 8011 to ROMAN KARDONSKIY
at Global Marketing JPMC Account ending in 5191.
            OVERT ACT 72-77 (Global Marketing JPMC Account ending in 5191)

                                         OVERT ACT 72
      Between September 6, 2016 to September 28, 2016, ILYA ZIKNER wired $148,844 from Mac
Rx Inc Dba Family Care JPMC Account ending in 6850 to ROMAN KARDONSKIY at Global
Marketing JPMC Account ending in 5191.




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                                  #:172
                                         OVERT ACT 73
      Between October 4, 2016 to October 26, 2016, ILYA ZIKNER wired $352,197 from Mac Rx
Inc Dba Family Care JPMC Account ending in 6850 to ROMAN KARDONSKIY at Global Marketing
JPMC Account ending in 5191.

                                         OVERT ACT 74
      Between November 2, 2016 to November 29, 2016, ILYA ZIKNER wired $246,456 from Mac
Rx Inc Dba Family Care JPMC Account ending in 6850 to ROMAN KARDONSKIY at Global
Marketing JPMC Account ending in 5191.

                                         OVERT ACT 75
      Between December 6, 2016 to December 27, 2016, ILYA ZIKNER wired $232,779 from Mac
Rx Inc Dba Family Care JPMC Account ending in 6850 to ROMAN KARDONSKIY at Global
Marketing JPMC Account ending in 5191.

                                         OVERT ACT 76
      Between January 3, 2017 to January 31, 2017, ILYA ZIKNER wired $351,820 from Mac Rx
Inc Dba Family Care JPMC Account ending in 6850 to ROMAN KARDONSKIY at Global Marketing
JPMC Account ending in 5191.

                                         OVERT ACT 77
      Between February 2, 2017 to February 28, 2017, ILYA ZIKNER wired $248,380 from Mac Rx
Inc Dba Family Care JPMC Account ending in 6850 to ROMAN KARDONSKIY at Global Marketing
JPMC Account ending in 5191.

            OVERT ACT 78-83 (Global Marketing JPMC Account ending in 5191)

                                         OVERT ACT 78
      Between September 6, 2016 to September 19, 2016, RENEE ROZENBERG-ELPERIN wired
$45,000 from First Choice Pharmacy JPMC Account ending in 8077 to ROMAN KARDONSKIY at
Global Marketing JPMC Account ending in 5191.
                                         OVERT ACT 79
      Between October 4, 2016 to October 26, 2016, RENEE ROZENBERG-ELPERIN wired
$430,683 from First Choice Pharmacy JPMC Account ending in 8077 to ROMAN KARDONSKIY at
Global Marketing JPMC Account ending in 5191.



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                                  #:173
                                      OVERT ACT 80
      Between November 2, 2016 to November 17, 2016, RENEE ROZENBERG-ELPERIN wired
$124,806 from First Choice Pharmacy JPMC Account ending in 8077 to ROMAN KARDONSKIY at
Global Marketing JPMC Account ending in 5191.


                                      OVERT ACT 81
      On or about December 21, 2016, RENEE ROZENBERG-ELPERIN wired $20,000 from First
Choice Pharmacy JPMC Account ending in 8077 to ROMAN KARDONSKIY at Global Marketing
JPMC Account ending in 5191.


                                      OVERT ACT 82
      Between January 5, 2017 to January 26, 2017, RENEE ROZENBERG-ELPERIN wired
$198,148 from First Choice Pharmacy JPMC Account ending in 8077 to ROMAN KARDONSKIY
Global Marketing JPMC Account ending in 5191.


            OVERT ACT 85-87 (Global Marketing JPMC Account ending in 5191)

                                      OVERT ACT 83
      Between December 1, 2016 to December 23, 2016, MARINA ALEKSEYEVA wired $163,483
from True Choice RX, Inc. dba True Choice Pharmacy JPMC Account ending in 3229 to ROMAN
KARDONSKIY at Global Marketing JPMC Account ending in 5191.


                                      OVERT ACT 84
      Between January 11, 2017 to January 26, 2017, MARINA ALEKSEYEVA wired $138,937
from True Choice RX, Inc. dba True Choice Pharmacy JPMC Account ending in 3229 to ROMAN
KARDONSKIY at Global Marketing JPMC Account ending in 5191.


                                      OVERT ACT 85
      Between February 9, 2017 to February 15, 2017, MARINA ALEKSEYEVA wired $62,500
from True Choice RX, Inc. dba True Choice Pharmacy JPMC Account ending in 3229 to ROMAN
KARDONSKIY at Global Marketing JPMC Account ending in 5191.




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                                  #:174
            OVERT ACT 86-90 (Global Marketing JPMC Account ending in 5191)

                                       OVERT ACT 86
      Between September 16, 2016 to September 28, 2016, HERSHEL TSIKMAN wired $87,494
from California General Medical Group Inc Bank of America Account ending in 4226 to ROMAN
KARDONSKIY at Global Marketing JPMC Account ending in 5191.


                                       OVERT ACT 87
      Between October 4, 2016 to October 26, 2016, HERSHEL TSIKMAN wired $87,000 from
California General Medical Group Inc Bank of America Account ending in 4226 to ROMAN
KARDONSKIY at Global Marketing JPMC Account ending in 5191.


                                       OVERT ACT 88
      Between November 1, 2016 to November 30, 2016, HERSHEL TSIKMAN wired $122,770
from California General Medical Group Inc Bank of America Account ending in 4226 to ROMAN
KARDONSKIY at Global Marketing JPMC Account ending in 5191.


                                       OVERT ACT 89
      Between December 8, 2016 to December 12, 2016, HERSHEL TSIKMAN wired $10,000 from
California General Medical Group Inc Bank of America Account ending in 4226 to ROMAN
KARDONSKIY at Global Marketing JPMC Account ending in 5191.


                                       OVERT ACT 90
      Between January 6, 2017 to January 31, 2017, HERSHEL TSIKMAN wired $40,439 from
California General Medical Group Inc Bank of America Account ending in 4226 to ROMAN
KARDONSKIY at Global Marketing JPMC Account ending in 5191.


              OVERT ACT 91 (Global Marketing JPMC Account ending in 5191)

      Between February 2, 2017 to February 23, 2017, CHRISTIAN HAINKA wired $152,019 from
VM Rx Inc. dba Valley Market Pharmacy JPMC Account ending in 3395 to ROMAN KARDONSKIY
at Global Marketing JPMC Account ending in 5191.




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              OVERT ACT 92 (Global Marketing JPMC Account ending in 5191)

       On or about February 24, 2017, HERSHEL TSIKMAN and VLADIMIR TSIKMAN wired
$85,000 from Chabado Genomics Inc Bank of America Account ending in 0741 to ROMAN
KARDONSKIY at Global Marketing JPMC Account ending in 5191.


              OVERT ACT 93 (Global Marketing JPMC Account ending in 5191)

       On or about February 2, 2017, HERSHEL TSIKMAN wired $16,000 from Wilshire Marketing
Group Inc Bank of America Account ending in 4190 to ROMAN KARDONSKIY at Global Marketing
JPMC Account ending in 5191.


                    OVERT ACT 94-96 (GMRG Wells Fargo account 9934)

                                       OVERT ACT 94
       On or about May 26, 2016, FELIX LANTSMAN wired $35,000 from Van Nuys Rx Inc JPMC
Account ending in 0632 to ROMAN KARDONSKIY at Global Marketing Wells Fargo Account
ending in 9934.
                                       OVERT ACT 95
       Between June 1, 2016 to June 29, 2016, FELIX LANTSMAN wired $1,400,191 from Van
Nuys Rx Inc JPMC Account ending in 0632 to ROMAN KARDONSKIY at Global Marketing Wells
Fargo Account ending in 9934.
                                       OVERT ACT 96
       Between July 6, 2016 to July 26, 2016, FELIX LANTSMAN wired $573,493 from Van Nuys
Rx Inc JPMC Account ending in 0632 to ROMAN KARDONSKIY at Global Marketing Wells Fargo
Account ending in 9934.


                   OVERT ACT 97-100 (GMRG Wells Fargo account 9934)

                                       OVERT ACT 97
       Between June 1, 2016 to June 28, 2016, DAVID SUTTON, JAID GORBAN and HERSHEL
TSIKMAN $113,313 from DDBS Citibank Account ending in 8011 to ROMAN KARDONSKIY at
Global Marketing Global Marketing Wells Fargo Account ending in 9934.




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                                  #:176
                                        OVERT ACT 98
       Between July 6, 2016 to July 28, 2016, DAVID SUTTON, JAID GORBAN and HERSHEL
TSIKMAN wired $205,863 from DDBS Citibank Account ending in 8011 to ROMAN
KARDONSKIY at Global Marketing Wells Fargo Account ending in 9934.


                                        OVERT ACT 99
       Between August 2, 2016 to August 31, 2016, DAVID SUTTON, JAID GORBAN and
HERSHEL TSIKMAN wired $522,518 from DDBS Citibank Account ending in 8011 to ROMAN
KARDONSKIY at Global Marketing Wells Fargo Account ending in 9934.


                                       OVERT ACT 100
       On or about September 6, 2016, DAVID SUTTON, JAID GORBAN and HERSHEL
TSIKMAN wired $64,988 from DDBS Citibank Account ending in 8011 to ROMAN KARDONSKIY
at Global Marketing Wells Fargo Account ending in 9934.


                   OVERT ACT 101-105 (GMRG Wells Fargo account 9934)

                                       OVERT ACT 101
       On or about May 26, 2016, RENEE ROZENBERG-ELPERIN wired $35,000 from First Choice
Pharmacy JPMC Account ending in 8077 to ROMAN KARDONSKIY at Global Marketing Wells
Fargo Account ending in 9934.


                                       OVERT ACT 102
       Between June 1, 2016 to June 28, 2016, RENEE ROZENBERG-ELPERIN wired $122,282
from First Choice Pharmacy JPMC Account ending in 8077 to ROMAN KARDONSKIY at Global
Marketing Wells Fargo Account ending in 9934.


                                       OVERT ACT 103
       Between July 6, 2016 to July 27, 2016, RENEE ROZENBERG-ELPERIN wired $235,215 from
First Choice Pharmacy JPMC Account ending in 8077 to ROMAN KARDONSKIY at Global
Marketing Wells Fargo Account ending in 9934.




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                                       OVERT ACT 104
      Between August 3, 2016 to August 17, 2016, RENEE ROZENBERG-ELPERIN wired
$283,450 from First Choice Pharmacy JPMC Account ending in 8077 to ROMAN KARDONSKIY at
Global Marketing Wells Fargo Account ending in 9934.


                                       OVERT ACT 105
      On or about September 1, 2016, RENEE ROZENBERG-ELPERIN wired $50,000 from First
Choice Pharmacy JPMC Account ending in 8077 to ROMAN KARDONSKIY at Global Marketing
Wells Fargo Account ending in 9934.


                      OVERT ACT 106-107 (GMRG Wells Fargo account 9934)

                                       OVERT ACT 106
      Between August 10, 2016 to August 31, 2016, ILYA ZIKNER wired $247,473 from Mac Rx
Inc Dba Family Care JPMC Account ending in 6850 to ROMAN KARDONSKIY at Global Marketing
Wells Fargo Account ending in 9934.
                                       OVERT ACT 107
      Between September 2, 2016 to September 6, 2016, ILYA ZIKNER wired $112,500 from Mac
Rx Inc Dba Family Care JPMC Account ending in 6850 to ROMAN KARDONSKIY at Global
Marketing Wells Fargo Account ending in 9934.


                        OVERT ACT 108 (GMRG Wells Fargo account 9934)
      On or about August 12, 2016, HERSHEL TSIKMAN wired $85,000 from Wilshire Marketing
Group Inc Bank of America Account ending in 4190 to ROMAN KARDONSKIY at Global Marketing
Wells Fargo Account ending in 9934.


                      OVERT ACT 109-110 (GMRG Wells Fargo account 9934)


                                       OVERT ACT 109
      On or about August 19, 2016, HERSHEL TSIKMAN wired $21,250 from California General
Medical Group Inc Bank of America Account ending in 4226 to ROMAN KARDONSKIY at Global
Marketing Wells Fargo Account ending in 9934.


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                                  #:178
                                          OVERT ACT 110
       On or about September 6, 2016, HERSHEL TSIKMAN wired $21,250 from California General
Medical Group Inc Bank of America Account ending in 4226 to ROMAN KARDONSKIY at Global
Marketing Wells Fargo Account ending in 9934.


         OVERT ACT 111 (GMRG Wells Fargo account *5191 payment to WorldWide Leads)
       On or about March 6, 2017, ROMAN KARDONSKIY wired $45,000 from Global Marketing
JPMC Account ending in 5191 to BRIAN SUTTON at WorldWide Leads Bank of America Account
ending in 6991.


         OVERT ACT 112 (GMRG Wells Fargo account *9934 payment to WorldWide Leads)
       On or about June 3, 2016, ROMAN KARDONSKIY wired $316,993 from Global Marketing
Wells Fargo Account ending in 9934 to BRIAN SUTTON and IGOR KRASHENNY at WorldWide
Leads Bank of America Account ending in 6450.


       IX.       C.R.E.A.M. SCHEME MEMBERS HAD DIRECT DAY-TO-DAY AND
                 FINANCIAL CONTROL OVER AND INVESTMENTS IN GLOBAL
                 MARKETING, THE MUTANT PHARMACIES, CAL GEN DME AND THE
                 CARE GROUP.

             A. Global Marketing


                                          OVERT ACT 113

       On May 28, 2015, BRIAN SUTTON signed the physical lease agreement for Global Marketing
at 20350 Ventura Blvd. Ste 120/140, Woodland Hills CA with, which was amended by BRIAN
SUTTON on July 7, 2017.


                                          OVERT ACT 114

       The following C.R.E.A.M. SCHEMEM MEMBERS submitted rental payment checks to RPC
Investment, LLC for Global Market’s physical leased space:

                DAVID SUTTON through his corporate bank account for Saybian Enterprises 5/29/15;
                BRIAN SUTTON through his corporate bank account for Worldwide Leads 6/1/16,
                 1/5/17;

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              ROMAN KARDONSKIY through his corporate bank account for Global Marketing and
               The Care Group 8/4/16, 10/4/16, 1/5/17, 3/3/17, 3/3/17, 1/4/18;
              ALEX GOLDMEN through his corporate bank account for Global Marketing 10/5/15,
               11/4/2015, 1/5/16, 3/3/16, 3/8/16, 4/5/16, 6/1/16;
              JAID GORBAN through his corporate bank account for United Management Group
               7/1/15.
           
                                            OVERT ACT 115

       BRIAN SUTTON was intimately involved with Global Marketing’s day-to-day operations,
including instructing David Bell, a Global Marketing Manager, to hire more people for Global
Marketing and asked why Bell was not conducting more business.



                                            OVERT ACT 116

       BRIAN SUTTON and DAVID BISHOFF interviewed potential Global Marketing employees,
including Kristen Blackman Davis, who was hired as a Physician’s Assistant in late 2016. BRIAN
SUTTON offered her a job reviewing medical records to determine if the prescriptions were warranted.
Davis only worked three and a half days as she was never provided with a contract to work under a
medical doctor, which is required by her license. Davis sent her resignation via her Care Group email
address to RAMON PAOLO DAVID, a Global Marketing Manager. RAMON PAOLO DAVID
forwarded this resignation to BRIAN SUTTON. In the first half of that email she wrote, “I would like
to submit my resignation and request to receive no payment for services rendered thus far. I have
several concerns that have led me to this decision. First, I have asked multiple times for a signed
supervisor agreement and was reassured that it had been completed but I have not received a copy.
Additionally, I am not comfortable with approving prescriptions for patients that are not technically
patients of my supervising physician (the law states that physician assistants are able to prescribe only
to patients of their supervising physician).”




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                                  #:180
                                           OVERT ACT 117
       DAVID SUTTON, BRIAN SUTTON, AND HERSHEL TSIKMAN instructed employees to
forward to them complaints regarding FRAUDULENT PRESCRIPTIONS related to the MUTANT
PHARMACIES. For instance, on October 21, 2016, Maggie Roberts who worked for a doctor sent an
email to BRIAN SUTTON regarding a TARGET VICTIM’S complaint, writing “Diclofenac and
Lidocaine gels arrive with the instructions on the label that they are for use on her dentures (so she got
super confused haha). I just wanted to let you know so you could follow up with the pharmacies to be
sure they are putting the correct instructions on the labels for the patients.” This email was forward by
BRIAN SUTTON to DAVID SUTTON, who in turn forwarded it to HERSHEL TSKIMAN.


                                           OVERT ACT 118

       RAMON PAOLO DAVID acted as a call center employee at Global Marketing calling patients.
He was later promoted to a manager and was paid by Global Marketing, and later The Care Group, to
provided training and act as a manager. RAMON PAOLO DAVID emailed BRIAN SUTTON and
HERSHEL TSIKMAN in regards of placing job adds for their other medical laboratories. RAMON
PAOLO DAVID’s Global Marketing email was paolod@globalmrg.com. He sent and received at least
726 work related emails from this address.

           B. MUTANT PHARMACIES
                   1. FIRST CHOICE PHARMCY


                                           OVERT ACT 119

       C.R.E.A.M. SCHEME MEMBERS, including RENEE ROZENBERG-ELPERIN, operated
First Choice Pharmacy as a MUTANT PHARMACY from October 2015 to April 2017. Starting in
October 2015, it immediately begins billing for FRAULENT PRECRIPTIONS. For instance, from
September 1, 2015 to September 15, 2015, First Choice Pharmacy billed Optum $1,411.75. From
October 1, 2015 to October 7, 2015, that number rose to $96,750.01.




                                             EXHIBIT A
                                                95
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                                  #:181
                                           OVERT ACT 120

       RENEE ROZENBERG-ELPERIN signed checks from First Choice Pharmacies corporate
account to the Russian Synagogue, a Property Tax Bill an application for an accreditation contract and
the purchase of products for the pharmacy. She also signed waiver form regarding workers’
compensation. RENEE ROZENBERG-ELPERIN received $117,500 in 2016 from First Choice
Pharmacy, per her W-2. Found at First Choice Pharmacy on computer (9-C-3) is a page from the
Policies & Procedures stating the Day-to Day Operations for the pharmacy, dated July 12, 2016. This
document states that the “Owner/President” is in charge of day-to-day operations. RENEE
ROZENBERG is listed as President. Also found was a form with Renee Rosenberg’s name listed as
President citing the qualifications and responsibilities of the president of First Choice Pharmacy.

                                           OVERT ACT 121

       RENEE ROZENBERG-ELPERIN opened First Choice’s Corporate Bank Account JP Morgan
Chase account (8077). She wired funds to Global Marketing. She also wired and received illicit funds
to and from the banking accounts held by the following C.R.E.A.M. SCHEME MEMBERS:

      Advanced Marketing Service Group: EUGENY KIRZHNER
      Advantage Concierge Services Inc.: HERSHEL TSIKMAN
      AG Marketing: VADIM BELITSKY
      Global Marketing Research Group: ROMAN KARDONSKIY
      K&K Services Group Inc.: JAID GORBAN
      Wilshire Marketing Group Inc.: HERSHEL TSIKMAN
      Sigma Universal Service: IVAN EFREMOV AND JAID GORBAN
      The Best Marketing Choice: VADIM BELITSKY
      The Care Group: ROMAN KARDONSKIY
      United Management Group: JAID GORBAN


                                           OVERT ACT 122
       RENEE ROZENBERG-ELPERIN instructed employees at First Choice Pharmacy to compile
daily logs detailing the FRADULENT PRESCRIPTIONS filled, prescribing doctor, patient name and
the amount they were to receive from VICTIM COMPANIES per given day.



                                            EXHIBIT A
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                                  #:182
                                         OVERT ACT 123
       EDWARD OPOKU wrote prescriptions to patients who received Lidocaine or Diclofenac
Sodium Gel from First Choice Pharmacy.

                                         OVERT ACT 124
       MARYAM RAHIMI approved FRAUDULENT PRESECRIPTIONS located at First Choice
Pharmacy. The TARGET VICTIMS of these FRAUDULENT PRESECRIPTIONS lived in locations
such as Visalia, Clovis, Anderson, and Livermore in Northern California. Nowhere near the Southern
California pharmacy or MARYAM RAHIMI’S office.

                                         OVERT ACT 125
       JAID GORBAN’S maintained an American Express credit card to pay for First Choice
Pharmacy costs. His statements were located at First Choice Pharmacy, which showed that he used the
card for personal and business expenses, such as First Choice pharmacy supplies, in violation of money
laundering laws.

                                         OVERT ACT 126
       First Choice Pharmacy, under the control C.R.E.A.M. SCHEME MEMBERS billed the
VICTIM COMPANIES for filling FRAUDULENT PRESCRIPTIONS causing damages in the
following amounts:

   Victim Company                                Amount Paid for Fraudulent Prescriptions

   Aetna                                         $48,032.40 (DME)
                                                 $3,487,621.56 (CREAMS)

   Anthem                                        $1,906,178.93

   Blue Shield of CA                             $5,031,304.28 (CREAMS)

   Cigna                                         $109,512.40

   CVS Caremark                                  $5,860,991.31

   Express Scripts                               $1,091,281.16

   Optum                                         $2,487,615.90

   Total                                         $20,022,537.94




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                                  #:183
                                          OVERT ACT 127

       C.R.E.A.M. SCHEME MEMBERS funneled illicit proceeds obtained by First Choice Pharmacy
from VICTIM COMPANIES for FRAULENT PRESCRIPTIONS back to Global Marketing.

                  2. FAMILY CARE PHARMACY (MAX RX)

                                          OVERT ACT 128

       C.R.E.A.M. SCHEME MEMBERS, including ILYA ZIKNER, operated Family Care Pharmacy
as a MUTANT PHARMACY beginning in June 2016. For instance, from June 1, 2016 to June 8, 2016
it billed Optum $2,048.80. One month later, Family Care billed Optum 90,294.64 from July 1, 2016 to
July 8, 2016.

                                          OVERT ACT 129

       ILYA ZIKNER filed documents with the Secretary of State of California on June 15, 2016
listing himself as the new owner. ILYA ZIKNER listed himself on internal corporate documents as the
President and Pharmacy Clerk.

                                          OVERT ACT 130

       ILYA ZIKNER directed employees of Family Care Pharmacy to create Excel spreadsheets
containing patients’ names, prescribing doctors, prescribed drugs, amount billed and notes regarding
receipt of payments. EDWARD OPOKU prescribed most of the Lidocaine, Vanatol and Diclofenac
Sodium at Family Care Pharmacy.

                                          OVERT ACT 131

       C.R.E.A.M. SCHEME MEMBERS, including ILYA ZIKNER, directed the change of Family
Care Pharmacy to a MUTANT PHARMACY, in which eighty percent (80%) of the business became
fulfillment of prescriptions for creams listed on the C.R.E.A.M RX SHEET. 50 to 60 orders of pain
cream prescriptions were processed in an average day. Patients did not recognize the name of the
prescribing doctor nor the pharmacy.

                                          OVERT ACT 132

       C.R.E.A.M. SCHEME MEMBERS, including ILYA ZIKNER, directed employees at Family
Care Pharmacy to fulfill C.R.E.A.M RXs for Lidocaine and Diclofenac similar to those found in other
pharmacies. In one such prescription for a patient named Humberto Nanez in San Jose CA.,
EDWARD OPOKU prescribed Lidocaine and Diclofenac Sodium.
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                                         OVERT ACT 133

       C.R.E.A.M. SCHEME MEMBERS directed Family Care Pharmacy employees to bill VICTIM
COMPANIES, including but not limited to BCBC, for Vanatol and Diclofenac Sodium, which were
prescribed by doctors such as EDWARD OPOKU, ALI ENAYATI, MIRIAM RAHIMI.

                                         OVERT ACT 134

       ILYA ZINKER opened Family Care Pharmacies JP Morgan Chase accounts (7029 and 6850).
He wired funds to Global Marketing. He also wired and received illicit funds to and from banking
accounts held the following C.R.E.A.M. SCHEME MEMBERS:

      Advanced Marketing Service Group: EUGENY KIRZHNER
      Advantage Concierge Services Inc.: HERSHEL TSIKMAN
      Global Marketing Research Group: ROMAN KARDONSKIY
      Wilshire Marketing Group Inc.: HERSHEL TSIKMAN
      Sigma Universal Service: IVAN EFREMOV AND JAID GORBAN
      The Best Marketing Choice: VADIM BELITSKY
      The Care Group: ROMAN KARDONSKIY
                                         OVERT ACT 135

       Family Care Pharmacy, under the control C.R.E.A.M. SCHEME MEMBERS fraudulently
billed the VICTIM COMPANIES for filling FRAUDULENT PRESCRIPTIONS causing damages in
the following amounts:

   Aetna                                            $399,332.95

   Anthem                                           $0.00

   Blue Shield of CA                                $1,420,331.77

   Cigna                                            $0.00

   CVS Caremark                                     $805,123.01

   Express Scripts                                  $2,696,068.73

   Optum                                            $1,152,275.57

   Total                                            $6,473,132.03




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                                  #:185
                                            OVERT ACT 136

       C.R.E.A.M. SCHEME MEMBERS funneled illicit proceeds obtained by Family Care
Pharmacy from VICTIM COMPANIES for FRAULENT PRESCRIPTIONS back to Global Marketing.

                  3. TRUE CHOICE PHARMACY

                                            OVERT ACT 137

       C.R.E.A.M. SCHEME MEMBERS, including MARINA ALEKSEYEVA, operated True
Choice Pharmacy as a MUTANT PHARMACY beginning in October 2016. C.R.E.A.M. SCHEME
MEMBERS, including MARINA ALEKSEYEVA, would bill VICTIM COMPANIES well over ten
times the amount of money billed pre-acquisition of True Choice Pharmacy.

                                            OVERT ACT 138

       On May 11, 2016, MARINA ALEKSEYEVA incorporated True Choice Pharmacy as True
Choice RX, Inc. She listed herself as the CEO, CFO and Secretary. She issued stock certificates for
True Choice RX, Inc. for 10,000 shares in her own name. She prepared a bill of sale on September 28,
2016 and purchased True Choice from a prior ownership group. On October 18, 2016, she listed
herself with the Pharmacy Board as the CEO.

                                            OVERT ACT 139

       C.R.E.A.M. SCHEME MEMBERS, including MARINA ALEKSEYEVA, directed True
Choice Pharmacy employees to do the following:

              Fill fifty to sixty tubes of cream listed on the C.R.E.A.M RXs per day;
              Mail creams to the patients;
              Attach to each prescription a sticker with the patient’s name, date of birth and where the
               patient lived because these were shipped to the patient’s residence;
              Call the patients to verify the prescription;
              Cancel the prescriptions if the patient did not know about the prescription.


                                            OVERT ACT 140

       C.R.E.A.M. SCHEME MEMBERS, including MARINA ALEKSEYEVA, directed employees
to maintain two spreadsheets for Van Nuys Pharmacy detailing the amount billed to insurance carriers
and the amount they were still owed on a True Choice Pharmacy computer.

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                                         OVERT ACT 141

       On April 22, 2009, MARINA ALEKSEYEVA opened a JP Morgan Chase (former Washington
Mutual) account ending in 9431. MARINA ALEKSEYEVA reported her employer as McWhiter
Distributing, the same company where DAVID SUTTON and SVETLANA SAPRONOVA were in
management roles.

                                         OVERT ACT 142

       MARINA ALEKSEYEVA paid SVETLANA SAPRONOVA $11,869.53 per JP Morgan Chase
Bank account documents ending in 9431. SVETLANA SAPRONOVA was not listed as an employee
on the True Choice Pharmacy EDD account.



                                         OVERT ACT 143

       MARINA ALEKSEYEVA operated bank accounts ending in 3229, 9431 and 2118. She wired
and received illicit funds to and from the banking accounts held by the following C.R.E.A.M.
SCHEME MEMBERS:

      Advanced Marketing Service Group: EUGENY KIRZHNER
      Advantage Concierge Services Inc.: HERSHEL TSIKMAN
      Global Marketing Research Group: ROMAN KARDONSKIY
      Wilshire Marketing Group Inc.: HERSHEL TSIKMAN
      Sigma Universal Service: IVAN EFREMOV AND JAID GORBAN
      The Best Marketing Choice: VADIM BELITSKY
      The Care Group: ROMAN KARDONSKIY
   
                                         OVERT ACT 144

       True Choice Pharmacy, under the control of C.R.E.A.M. SCHEME MEMBERS billed the
VICTIM COMPANIES for filling FRAUDULENT PRESCRIPTIONS causing damages in the
following amounts:




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   Aetna                                            $203,326.03

   Anthem                                           $251,925.65

   Blue Shield of CA                                $450,188.35

   Cigna                                            $120,920.56

   CVS Caremark                                     $1,224,394.37

   Express Scripts                                  $991,703.80

   Optum                                            $440,499.31

   Total                                            $3,682,958.07



                                         OVERT ACT 145

       C.R.E.A.M. SCHEME MEMBERS funneled illicit proceeds obtained by True Choice
Pharmacy from VICTIM COMPANIES for FRAULENT PRESCRIPTIONS back to Global Marketing.

                  4. Valley Market Pharmacy (VM RX INC.)

                                         OVERT ACT 146

       C.R.E.A.M. SCHEME MEMBERS, including CHRISTIAN HAINKA, purchased and operated
VM RX INC. (hereinafter Valley Market) as a MUTANT PHARMACY beginning in December of
2016, filling almost exclusively prescriptions for Diclofenac Sodium and Lidocaine. For instance,
between February 4, 2016 and December 14, 2016 (eight months), Valley Market filled approximately
290 prescriptions. During that time, no insurance company paid more than $1000 per billed item. Yet,
from December 15, 2016 to May 25, 2017 (six months), Valley Market filled over 1800 prescriptions,
and insurance companies paid more than $1000 per billed item on approximately 1400 prescriptions.




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                                  #:188
                                          OVERT ACT 147

       FRANCESCA SUTTON, an attorney, wrote a letter stating that she represented CHRISTIAN
HAINKA regarding the purchase of Valley Market. She addressed this letter to Ross K Reghabi at the
Southern California Law Group who represented the seller and former owner Nahal Bahrampour. On
May 26, 2016, CHRISTIAN HAINKA listed himself as the owner Valley Market in Articles of
Incorporation filed with the California Secretary of State. On December 1, 2016CHRISTIAN
HAINKA himself as having 100% of the pharmacy ownership with the Department of Consumer
Affairs, Pharmacy Board.

                                          OVERT ACT 148

       On March 18, 2018, Xpress Scripts provided their billing data along with complaints they
received from their members regarding these pharmacies. On the Provider Certification, CHRISTIAN
HAINKA responded that they “open door retail/community” pharmacy and are not a mail order
pharmacy, which was not true.

                                          OVERT ACT 149

       C.R.E.A.M. SCHEME MEMBERS, including CHRISTIAN HAINKA, used the same or similar
C.R.E.A.M. RX SHEET at Valley Market as those used at First Choice Pharmacy, True Choice
Pharmacy, and Family Care RX.

                                          OVERT ACT 150

       C.R.E.A.M. SCHEME MEMBERS at Valley Market maintained “Daily Reports” listing the
patient, doctor, drug, quantity, amount paid and insurance company of the prescriptions issued by day.
Most of the prescriptions were for Lidocaine and Diclofenac creams and prescribed by EDWARD
OPOKU.




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                                   #:189
                                          OVERT ACT 151

       C.R.E.A.M. SCHEME MEMBERS, including CHRISTIAN HAINKA, directed employees at
Valley Market to mail the creams to patients and include a “Rx Delivery Receipt” to be signed and
returned. Below are three examples of comments on these forms from TARGET VICTIMS:

      “Please do not send me this gel anymore (Diclofenac Sodium 3%).”
      “Did not ask for this medication Do not want it.”
      “Thank you for sending the creams for pain. I only ask that you please not send me anymore
       Lidocaine 5% ointment. I have 13 tubes of this cream and have no use for all of it.”


                                          OVERT ACT 152

       CHRISTIAN HAINKA opened a JP Morgan Chase account ending in 3395 for Valley Market.
He wired and received illicit funds to and from the banking accounts held by to the following
C.R.E.A.M. SCHEME MEMBERS:

              Advanced Marketing Service Group: EUGENY KIRZHNER
              Global Marketing Research Group: ROMAN KARDONSKIY
              Wilshire Marketing Group Inc.: HERSHEL TSIKMAN
              Sigma Universal Service: IVAN EFREMOV AND JAID GORBAN
              The Best Marketing Choice: VADIM BELITSKY
              The Care Group: ROMAN KARDONSKIY


                                          OVERT ACT 153

       Valley Market, under the control C.R.E.A.M. SCHEME MEMBERS billed the VICTIM
COMPANIES for filling FRAUDULENT PRESCRIPTIONS causing damages in the following
amounts:

   Aetna                                             $256,966.45

   Anthem                                            $499,890.12

   Blue Shield of CA                                 $879,971.93

   Cigna                                             $34,609.67


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                                   #:190
   CVS Caremark                                     $960,675.74

   Express Scripts                                  $1,174,486.93

   Optum                                            $17,876.59

   Total                                            $3,824,477.43



                                         OVERT ACT 154

       C.R.E.A.M. SCHEME MEMBERS funneled illicit proceeds obtained by Valley Market from
VICTIM COMPANIES for FRAULENT PRESCRIPTIONS back to Global Marketing.

                  5. Van Nuys RX Pharmacy

                                         OVERT ACT 155

       C.R.E.A.M. SCHEME MEMBERS, including ALEX GOLDMEN and FELIX LANTSMAN
operated Van Nuys RX as a MUTANT PHARMACY from February 22, 2016 to November 14, 2016.
For instance, from December 1, 2015 to January 31, 2016, Van Nuys RX billed Aetna $22,208.47.
Once C.R.E.A.M. SCHEME MEMBERS took over ownership that number changed dramatically.
From March 1, 2016 to March 28, 2016, C.R.E.A.M. SCHEME MEMBERS, including ALEX
GOLDMEN and FELIX LANTSMAN, billed Aetna $244,603.50.

                                         OVERT ACT 156

       On February 22, 2016, ALEX GOLDMEN filed a Statement of Information listing himself as
President, CEO, Secretary and CFO. On May 24, 2016, FELIX LANTSMAN filed a Statement of
Information listing himself as President, CEO, Secretary and CFO of Van Nuys Pharmacy. On
November 14, 2016, FELIX LANTSMAN filed a Certificate of Dissolution.

                                         OVERT ACT 157

       C.R.E.A.M. SCHEME MEMBERS, including ALEX GOLDMEN and FELIX LANTSMAN,
began billing BCBS almost exclusively for items listed on the C.R.E.A.M. RX SHEET. Previously,
from October 2015 to January 2016, Van Nuys Pharmacy filled prescriptions for drugs such as
antifungals, penicillin and other common drugs and billed Blue Cross Blue Shield Patients. These
prescriptions were for BCSC members located in Los Angeles County.


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                                   #:191
                                         OVERT ACT 158

       By May 2016, MARYAM RAHIMI wrote hundreds of prescriptions per month for Lidocaine
and Vanatol HQ that were fulfilled by Van Nuys Pharmacy.

                                         OVERT ACT 159

       ALEX GOLDMEN opened a JPMC account ending in 2550 for Van Nuys on January 15, 2016.
FELIX LANTSMAN added himself to this account on January 25, 2016. On May 26, 2016, FELIX
LANTSMAN listed himself as President for two accounts at JPMC; ending in 2550 and 0632. On this
same date, ALEX GOLDMEN removed himself as signer for both accounts. From these accounts they
wired and received illicit funds to and from the banking accounts held by the following C.R.E.A.M.
SCHEME MEMBER:

      Global Marketing Research Group: ROMAN KARDONSKIY
       In addition to the wire transfers to Global Marketing checks were written to Pharmacy
Solutions.

                                         OVERT ACT 160

       Van Nuys RX, under the control C.R.E.A.M. SCHEME MEMBERS billed the VICTIM
COMPANIES for filling FRAUDULENT PRESCRIPTIONS causing damages in the following
amounts:

   Aetna                                         $3,992,735.59

   Anthem                                        $676,750.06

   Blue Shield of CA                             $2,354,158.93

   Cigna                                         none

   CVS Caremark                                  $6,818,882.93

   Express Scripts                               $517,786.47

   Optum                                         $180,792.21

   Total                                         $14,541,106.19




                                          EXHIBIT A
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                                   #:192
                                          OVERT ACT 161

       C.R.E.A.M. SCHEME MEMBERS funneled illicit proceeds obtained by Van Nuys Pharmacy
from VICTIM COMPANIES for FRAULENT PRESCRIPTIONS back to Global Marketing.

                   6. CAL GEN DME

                                          OVERT ACT 162

       HERSHEL TSIKMAN operated Cal Gen DME for the benefit of C.R.E.A.M. SCHEME
MEMBERS to prepare, fill and bill for FRAUDULENT DME PRESCRIPTIONS.

                                          OVERT ACT 163

       HERSHEL TSIKMAN started, owned and operated Cal Gen DME at 5455 Wilshire Blvd. Ste
914. FRANCECSA SUTTON listed herself as the agent of process pursuant to California Secretary of
State Documents.

                                          OVERT ACT 164

       ALLEN BALYAN worked at Cal Gen DME. He was supervised by HERSHEL TSIKMAN.
ALLEN BALYAN called patients and instructed them to send their insurance checks to Cal Gen DME.
ALLEN BALYAN regularly sent and responded to emails regarding business operations (financial
information, prescriptions received, employment status, resignations letters) from other employees at
Cal Gen DME, including HERSHEL TSIKMAN and BORIS TRIPOLOSKI. ALLEN BALYAN also
received and forwarded an email to HERSHEL TSIKMAN from Olivia Goodwin, a former employee
who resigned after stating concerns with the companies ethical standards, stating she could not longer
work for the company “in good conscience.” He also forwarded patient complaints to HERSHEL
TSIKMAN and BORIS TRIPOLOSKI. ALLEN BALYAN received prescriptions from DAVID
BISHOFF, who worked at call centers in California and Utah. These prescriptions were sent to BRIAN
SUTTON, HERSHEL TSIKMAN, EMILY ANDERSON, Cody Huffman and ALLEN BALYAN.

                                              OVERT ACT 165

       C.R.E.A.M. SCHEME MEMBERS, including HERSHEL TSIKMAN, directed Cal Gen DME
employees to:

      Receive FRAUDULENT DME PRESCRIPTIONS from physicians and fill them;
      Check against the TARGET VICTIM’S insurance benefits;
      Use a formula to determine if they would be profitable;
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       Sort each into categories of O.K. to bill, non-covered, deductible too high and
        Medicare/Medicaid;
       Deem profitability and then submit the bill to the VICTIM COMPANIES;
       Then send script to the doctors.
       Bill VICTIM COMPANIES before the FRAUDULENT DME PRESCRIPTIONS were even
        signed.
                                               OVERT ACT 166

        EDWARD OPOKU, ALI ENYATI, and LARS LUNDSTROM prepared FRAUDLENT
PRESCRIPTIONS. ROBERT BREEDLOVE signed up and paid LARS LUNDSTROM and Dr.
Stine’s group from his company Physicians Somni Group.

                                               OVERT ACT 167

        VIRGINIA LIN facilitated the fraudulent scheme by working as HERSHEL TSIKMAN’S
personal assistant and proxy who was intimately involved with the operation of Cal Gen DME. If
employees could not reach HERSHEL TSIKMAN, they were instructed to call VIRGINIA LIN.

        For instance, on December 22, 2016, VIRGINIA LIN emailed HERSHEL TSIKMAN from her
Genesis Molecular Labs email addressing how ALLEN BALYAN should handle calls from
“investigators” and reduce/resolve patient complaints from FRAUDULENT PRESCRIPTIONS.
Genesis Molecular Labs is another C.R.E.A.M. SCHEME MEMBERSHIP company.

        On January 5, 2017, she emailed HERSHEL TSIKMAN with her concerns that GLOBAL
MARKETING TELEMARKETERS were referring to themselves as “Cal Gen.”

                                               OVERT ACT 168

        On January 19, 2016, JAID GORBAN and HERSHEL TSIKMAN opened a Citibank account
       8037 for Genesis Molecular Diagnostics. Genesis Molecular Diagnostics is another C.R.E.A.M.
SCHEME MEMBERSHIP company. HERSHEL TSIKMAN’S maintained W-2’s for the employees
of Genesis Molecular Diagnostics in his residence. JAID GORBAN and HERSHEL TSIKMAN
transferred approximately $35 million dollars from Account 8037 to DDBS Citibank 8011, which was
operated by DAVID SUTTON, JAID GORABAN and HERSHEL TSIKMAN and was then used to
fund The Care Group ($7.6 million), American Express ($5.2 million), Advanced Marketing ($4.2
million), and Global Marketing ($3.2 million).



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                                           OVERT ACT 169

       HERSHEL TSIKMAN opened multiple Bank of America accounts. He wired and received
illicit funds to and from the banking accounts held by to the following C.R.E.A.M. SCHEME
MEMBERS:

              Advanced Marketing Service: EUGENY KIRZHNER
              Advantage Concierge Services Inc.: HERSHEL TSIKMAN
              BSM National Group: MILA SUTTON
              Wilshire Marketing Group: HERSHEL TSIKMAN
              Global Marketing Research Group: ROMAN KARDONSKIY
              K & K Services Group: JAID GORBAN
              Sigma Universal Service: IVAN EFREMOV AND JAID GORBAN
              SCL Health Services: FELIX LANTSMAN
              United Management Group: JAID GORBAN
              The Best Marketing Choice: VADIM BELITSY
              Nation Wide Marketing Group. Inc.: KAMAL ABRAHIM
              The Care Group: ROMAN KARDONSKIY
                                           OVERT ACT 170
       California Gen, under the control C.R.E.A.M. SCHEME MEMBERS billed the VICTIM
COMPANIES for following FRAUDULENT PRESCRIPTIONS causing damages in the following
amounts:

   Aetna                                       $133,742.42

   Anthem                                      $837,083.95

   Blue Shield of CA                           $473,885.83

   Cigna                                       $102,335.65

   CVS Caremark                                $0.00 (paid)

   Express Scripts                             $0.00 (paid)

   Optum                                       $144,985.80


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                                          OVERT ACT 171

       C.R.E.A.M. SCHEME MEMBERS funneled illicit proceeds obtained by Cal Gen DME from
VICTIM COMPANIES for FRAULENT PRESCRIPTIONS back to Global Marketing.

                                          OVERT ACT 172

       In addition to creating an obscure web of shell corporations, C.R.E.A.M SCHEME MEMBERS
went to great length to mask who controlled which entity and that the entities were related when they
communicated to TARGET VICTIMS and VICTIM COMPANIES. For instance, Lilit Movisisyan,
who worked at First Choice in September of 2016 (Van Nuys Pharmacy, Family Care, and Valley
Market from 2016-2017) received an email from a TARGET VICTIM who complained that she was
billed $2,500 from Cal Gen DME for something that she never received. Lilit Movisisyan emailed
ALLEN BALYAN saying that he told the TARGET VICTIM the pharmacy has “NOTHING TO DO
WITH CA GEN MEDICAL GROUP.” With the potential threat of a TARGET VICTIM contacting
her insurance company again about this issue, ALLEN BALYAN forwarded the email to HERSHEL
TSIKMAN and wrote: “Don’t know how to approach this, if I call her they would know we are
connected.”

                  7. The Care Group
                                          OVERT ACT 173

       In late 2016 and early 2017, C.R.E.A.M. SCHEME MEMBERS instructed Global Marketing
employees that the company was changing its name to The Care Group. ROMAN KARDONSKIY
listed himself as the owner of The Care Group with the California Secretary of State. FRANCESCA
SUTTON listed herself as the agent of service. They listed The Care Group’s address as 20350
Ventura Blvd, #120 Woodland Hills, CA 91364, the same location as Global Marketing. They also
listed a new address of 8383 Wilshire Blvd. Ste.540, Beverly Hills, CA 90211.

       The Care Group was owned and operated by the C.R.E.A.M. SCHEME MEMBERS and
operated in the same illegal manner seeking the fulfillment of FRADULENT PRSCRIPTIONS in order
to bill the VICTIM COMPANIES.




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                                          OVERT ACT 174

       ROMAN KARDONSKIY used The Care Group bank accounts to receive money from the
MUTANT PHARMACIES.

                                          OVERT ACT 175

       ROMAN KARDONSKIY used the money received by the MUTANT PHARMACIES to pay
The Care Group business expenses, including ADP payroll, lead generating third parties, kick-backs to
medical professionals (including office staff), and make large payouts to C.R.E.A.M. SCHEME
MEMBERS who helped operate the conspiracy.

                                          OVERT ACT 176

       C.R.E.A.M. SCHEME MEMBERS transferred millions of dollars in monetary instruments to
and from The Care Group to promote and facilitate their criminal activity.

                                          OVERT ACT 177

       C.R.E.A.M. SCHEME MEMBERS transferred millions of dollars in monetary instruments
through their corporate bank accounts knowing that the monetary instruments represented the proceeds
indirectly or directly derived from the proceeds of criminal activity. Often these payments took the
form of electronic wires, which violates California money laundering laws.

                                          OVERT ACT 178

       C.R.E.A.M. SCHEME MEMBERS used this money to make personal purchases worth millions
of dollars, knowing that the money came from illegal proceeds.

   OVERT ACT 179-183: Wires from VM Rx Inc. dba Valley Market Pharmacy to The Care Group

                                          OVERT ACT 179
       On or about February 15, 2017, CHRISTIAN HAINKA wired $20,000 from VM Rx Inc. dba
Valley Market Pharmacy JPMC Account ending in 3395 to ROMAN KARDONSKIY at The Care
Group JPMC Account ending in 7683.

                                          OVERT ACT 180
       Between March 3, 2017 to March 30, 2017, CHRISTIAN HAINKA wired $328,910 from VM
Rx Inc. dba Valley Market Pharmacy JPMC Account ending in 3395 to ROMAN KARDONSKIY at
The Care Group JPMC Account ending in 7683.

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                                   #:197
                                     OVERT ACT 181
      Between April 6, 2017 to April 27, 2017, CHRISTIAN HAINKA wired $693,106 from VM Rx
Inc. dba Valley Market Pharmacy JPMC Account ending in 3395 to ROMAN KARDONSKIY at The
Care Group JPMC Account ending in 7683.

                                     OVERT ACT 182
      Between May 3, 2017 to May 19, 2017, CHRISTIAN HAINKA wired $960,000 from VM Rx
Inc. dba Valley Market Pharmacy JPMC Account ending in 3395 to ROMAN KARDONSKIY at The
Care Group JPMC Account ending in 7683.
                                     OVERT ACT 183
      On or about September 25, 2017, CHRISTIAN HAINKA wired $38,000 from VM Rx Inc. dba
Valley Market Pharmacy JPMC Account ending in 3395 to ROMAN KARDONSKIY at The Care
Group JPMC Account ending in 7683.
            OVERT ACT 184-187: Wires from True Choice Rx to The Care Group
                                     OVERT ACT 184
      On or about February 15, 2017, MARINA ALEKSEYEVA wired $29,221 from True Choice
RX, Inc. dba True Choice Pharmacy JPMC Account ending in 3229 to ROMAN KARDONSKIY at
The Care Group JPMC Account ending in 7683.


                                     OVERT ACT 185
      Between March 3, 2017 to March 23, 2017, MARINA ALEKSEYEVA wired $216,473 from
True Choice RX, Inc. dba True Choice Pharmacy JPMC Account ending in 3229 to ROMAN
KARDONSKIY at The Care Group JPMC Account ending in 7683.


                                     OVERT ACT 186
      Between April 6, 2017 to April 28, 2017, MARINA ALEKSEYEVA wired $405,338 from True
Choice RX, Inc. dba True Choice Pharmacy JPMC Account ending in 3229 to ROMAN
KARDONSKIY at The Care Group JPMC Account ending in 7683.


                                     OVERT ACT 187
      Between May 3, 3017 to May 19, 2017, MARINA ALEKSEYEVA wired $617,000 from True
Choice RX, Inc. dba True Choice Pharmacy JPMC Account ending in 3229 to ROMAN
KARDONSKIY at The Care Group JPMC Account ending in 7683.
                                      EXHIBIT A
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                                   #:198
 OVERT ACT 188-189: Wires from Mac Care Rx Inc Dba Family Care Pharmacy & Medical
                                 Supplies to The Care Group

                                     OVERT ACT 188
       On or about February 15, 2017, ILYA ZIKNER wired $20,000 from Mac Rx Inc Dba Family
Care JPMC Account ending in 6850 to ROMAN KARDONSKIY at The Care Group JPMC Account
ending in 7683.
                                     OVERT ACT 189
       Between March 2, 2017 to March 8, 2017, ILYA ZIKNER wired $199,796 from Mac Rx Inc
Dba Family Care JPMC Account ending in 6850 to ROMAN KARDONSKIY at The Care Group
JPMC Account ending in 7683.


              OVERT ACT 190: Wires from WorldWide Leads to The Care Group

       On or about May 25, 2017, BRIAN SUTTON and IGOR KRASHENNY wired $203,000 From
WorldWide Leads Bank of America Account ending in 6450 to ROMAN KARDONSKIY at The Care
Group JPMC Account ending in 7683.


      OVERT ACT 191: Wires from Cal General Medical Group Inc. to The Care Group
       On or about March 1, 2017, HERSHEL TSIKMAN wired $54,000 from California General
Medical Group Inc Bank of America Account ending in 4226 to ROMAN KARDONSKIY at The Care
Group JPMC Account ending in 7683.


   OVERT ACT 192-193: Wires from Global Research Marketing Group to The Care Group

                                     OVERT ACT 192
       On or about July 26, 2017, ROMAN KARDONSKIY wired $8,000 from Global Research
Marketing Group Inc JPMC Account ending in 2552 to ROMAN KARDONSKIY at The Care Group
JPMC Account ending in 7683.
                                     OVERT ACT 193
       On or about August 1, 2017, ROMAN KARDONSKIY wired $21,000 from Global Research
Marketing Group Inc JPMC Account ending in 2552 to ROMAN KARDONSKIY at The Care Group
JPMC Account ending in 7683.



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                                   #:199
                                          OVERT ACT 194
       Both DAVID BISHOFF and JOSEPH BLYTHE were two of the three owners of Alphalink.
DAVID BISHOFF and JOSEPH BLYTHE through Alphalink paid for an apartment in Los Angeles for
both DAVID BISHOFF and DANE CHRISTIANSEN to stay while DAVID BISHOFF and DANE
CHRISTIANSEN worked for Global Marketing. From 2016 to 2017, Alphalink received $539,414.52
from Global Marketing, The Care Group, and Worldwide Leads.


                                          OVERT ACT 195
       JOSEPH BYTHE worked as an employee of Global Marketing, and owned Brace Today. From
2016 to 2017, Brace Today received $804,625 from Global Marketing and The Care Group.


                                           COUNT 2
On or about and between October 15, 2015 and May 27, 2020, in the County of Santa Clara, State of
California, the crime of PRESENTING FALSE OR FRAUDULENT INSURANCE CLAIM, in
violation of PENAL CODE SECTION 550(a)(1), a Felony, was committed by DAVID SUTTON,
BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL TSIKMAN, ROMAN KARDONSKIY, JAID
GORBAN, EUGENY KIRZHNER, OLEG PILLER, VADIM BELITSKY, ALEX GOLDMEN, IGOR
KRASHENNY, ALI ENAYATI, MARYAM RAHIMI, EDWARD OPOKU, LARS LUNDSTROM,
EMILY ANDERSON, ROBERT BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN
KNIGHT, VIRGINIA LIN, SVETLANA SAPRONOVA, FELIX LANTSMAN, CHRISTIAN
HAINKA, MARINA ALEKSEYEVA, RENEE ROSENBERGELPERIN, ILYA ZIKNER, MILA
SUTTON, BORIS TRIPOLOSKI, FRANCESCA SUTTON, JAMIE WOLF, DAVID BISHOFF,
DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL BLYTHE AND ALLEN BAYLAN who did
knowingly present and cause to be presented, aid, abet, solicit, and conspire with another person to
knowingly present and cause to be presented, a false and fraudulent claim for the payment of a loss and
injury, including payment of a loss and injury under a contract of insurance.




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                                   #:200
                                           COUNT 3
On or about and between October 15, 2015 and May 27, 2020, in the County of Santa Clara, State of
California, the crime of PRESENTING FALSE OR FRAUDULENT INSURANCE CLAIM, in
violation of PENAL CODE SECTION 550(a)(1), a Felony, was committed by DAVID SUTTON,
BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL TSIKMAN, ROMAN KARDONSKIY, JAID
GORBAN, EUGENY KIRZHNER, OLEG PILLER, VADIM BELITSKY, ALEX GOLDMEN, IGOR
KRASHENNY, ALI ENAYATI, MARYAM RAHIMI, EDWARD OPOKU, LARS LUNDSTROM,
EMILY ANDERSON, ROBERT BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN
KNIGHT, VIRGINIA LIN, SVETLANA SAPRONOVA, FELIX LANTSMAN, CHRISTIAN
HAINKA, MARINA ALEKSEYEVA, RENEE ROSENBERGELPERIN, ILYA ZIKNER, MILA
SUTTON, BORIS TRIPOLOSKI, FRANCESCA SUTTON, JAMIE WOLF, DAVID BISHOFF,
DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL BLYTHE AND ALLEN BAYLAN who did
knowingly present and cause to be presented, aid, abet, solicit, and conspire with another person to
knowingly present and cause to be presented, a false and fraudulent claim for the payment of a loss and
injury, including payment of a loss and injury under a contract of insurance.


                                           COUNT 4
On or about and between October 15, 2015 and May 27, 2020, in the County of Santa Clara, State of
California, the crime of PRESENTING FALSE OR FRAUDULENT INSURANCE CLAIM, in
violation of PENAL CODE SECTION 550(a)(1), a Felony, was committed by DAVID SUTTON,
BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL TSIKMAN, ROMAN KARDONSKIY, JAID
GORBAN, EUGENY KIRZHNER, OLEG PILLER, VADIM BELITSKY, ALEX GOLDMEN, IGOR
KRASHENNY, ALI ENAYATI, MARYAM RAHIMI, EDWARD OPOKU, LARS LUNDSTROM,
EMILY ANDERSON, ROBERT BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN
KNIGHT, VIRGINIA LIN, SVETLANA SAPRONOVA, FELIX LANTSMAN, CHRISTIAN
HAINKA, MARINA ALEKSEYEVA, RENEE ROSENBERGELPERIN, ILYA ZIKNER, MILA
SUTTON, BORIS TRIPOLOSKI, FRANCESCA SUTTON, JAMIE WOLF, DAVID BISHOFF,
DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL BLYTHE AND ALLEN BAYLAN who did
knowingly present and cause to be presented, aid, abet, solicit, and conspire with another person to
knowingly present and cause to be presented, a false and fraudulent claim for the payment of a loss and
injury, including payment of a loss and injury under a contract of insurance.




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                                   #:201
                                           COUNT 5
On or about and between October 15, 2015 and May 27, 2020, in the County of Santa Clara, State of
California, the crime of PRESENTING FALSE OR FRAUDULENT INSURANCE CLAIM, in
violation of PENAL CODE SECTION 550(a)(1), a Felony, was committed by DAVID SUTTON,
BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL TSIKMAN, ROMAN KARDONSKIY, JAID
GORBAN, EUGENY KIRZHNER, OLEG PILLER, VADIM BELITSKY, ALEX GOLDMEN, IGOR
KRASHENNY, ALI ENAYATI, MARYAM RAHIMI, EDWARD OPOKU, LARS LUNDSTROM,
EMILY ANDERSON, ROBERT BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN
KNIGHT, VIRGINIA LIN, SVETLANA SAPRONOVA, FELIX LANTSMAN, CHRISTIAN
HAINKA, MARINA ALEKSEYEVA, RENEE ROSENBERGELPERIN, ILYA ZIKNER, MILA
SUTTON, BORIS TRIPOLOSKI, FRANCESCA SUTTON, JAMIE WOLF, DAVID BISHOFF,
DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL BLYTHE AND ALLEN BAYLAN who did
knowingly present and cause to be presented, aid, abet, solicit, and conspire with another person to
knowingly present and cause to be presented, a false and fraudulent claim for the payment of a loss and
injury, including payment of a loss and injury under a contract of insurance.

                                           COUNT 6
On or about and between October 15, 2015 and May 27, 2020, in the County of Santa Clara, State of
California, the crime of PRESENTING FALSE OR FRAUDULENT INSURANCE CLAIM, in
violation of PENAL CODE SECTION 550(a)(1), a Felony, was committed by DAVID SUTTON,
BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL TSIKMAN, ROMAN KARDONSKIY, JAID
GORBAN, EUGENY KIRZHNER, OLEG PILLER, VADIM BELITSKY, ALEX GOLDMEN, IGOR
KRASHENNY, ALI ENAYATI, MARYAM RAHIMI, EDWARD OPOKU, LARS LUNDSTROM,
EMILY ANDERSON, ROBERT BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN
KNIGHT, VIRGINIA LIN, SVETLANA SAPRONOVA, FELIX LANTSMAN, CHRISTIAN
HAINKA, MARINA ALEKSEYEVA, RENEE ROSENBERGELPERIN, ILYA ZIKNER, MILA
SUTTON, BORIS TRIPOLOSKI, FRANCESCA SUTTON, JAMIE WOLF, DAVID BISHOFF,
DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL BLYTHE AND ALLEN BAYLAN who did
knowingly present and cause to be presented, aid, abet, solicit, and conspire with another person to
knowingly present and cause to be presented, a false and fraudulent claim for the payment of a loss and
injury, including payment of a loss and injury under a contract of insurance.




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                                   #:202
                                           COUNT 7
On or about and between October 15, 2015 and May 27, 2020, in the County of Santa Clara, State of
California, the crime of PRESENTING FALSE OR FRAUDULENT INSURANCE CLAIM, in
violation of PENAL CODE SECTION 550(a)(1), a Felony, was committed by DAVID SUTTON,
BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL TSIKMAN, ROMAN KARDONSKIY, JAID
GORBAN, EUGENY KIRZHNER, OLEG PILLER, VADIM BELITSKY, ALEX GOLDMEN, IGOR
KRASHENNY, ALI ENAYATI, MARYAM RAHIMI, EDWARD OPOKU, LARS LUNDSTROM,
EMILY ANDERSON, ROBERT BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN
KNIGHT, VIRGINIA LIN, SVETLANA SAPRONOVA, FELIX LANTSMAN, CHRISTIAN
HAINKA, MARINA ALEKSEYEVA, RENEE ROSENBERGELPERIN, ILYA ZIKNER, MILA
SUTTON, BORIS TRIPOLOSKI, FRANCESCA SUTTON, JAMIE WOLF, DAVID BISHOFF,
DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL BLYTHE AND ALLEN BAYLAN who did
knowingly present and cause to be presented, aid, abet, solicit, and conspire with another person to
knowingly present and cause to be presented, a false and fraudulent claim for the payment of a loss and
injury, including payment of a loss and injury under a contract of insurance.

                                           COUNT 8
On or about and between October 15, 2015 and May 27, 2020, in the County of Santa Clara, State of
California, the crime of PRESENTING FALSE OR FRAUDULENT INSURANCE CLAIM, in
violation of PENAL CODE SECTION 550(a)(1), a Felony, was committed by DAVID SUTTON,
BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL TSIKMAN, ROMAN KARDONSKIY, JAID
GORBAN, EUGENY KIRZHNER, OLEG PILLER, VADIM BELITSKY, ALEX GOLDMEN, IGOR
KRASHENNY, ALI ENAYATI, MARYAM RAHIMI, EDWARD OPOKU, LARS LUNDSTROM,
EMILY ANDERSON, ROBERT BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN
KNIGHT, VIRGINIA LIN, SVETLANA SAPRONOVA, FELIX LANTSMAN, CHRISTIAN
HAINKA, MARINA ALEKSEYEVA, RENEE ROSENBERGELPERIN, ILYA ZIKNER, MILA
SUTTON, BORIS TRIPOLOSKI, FRANCESCA SUTTON, JAMIE WOLF, DAVID BISHOFF,
DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL BLYTHE AND ALLEN BAYLAN who did
knowingly present and cause to be presented, aid, abet, solicit, and conspire with another person to
knowingly present and cause to be presented, a false and fraudulent claim for the payment of a loss and
injury, including payment of a loss and injury under a contract of insurance.




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                                   #:203
                                           COUNT 9
On or about and between October 15, 2015 and May 27, 2020, in the County of Santa Clara, State of
California, the crime of MAKING A FRAUDULENT CLAIM FOR HEALTH CARE BENEFIT, in
violation of PENAL CODE SECTION 550(a)(6), a Felony, was committed by DAVID SUTTON,
BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL TSIKMAN, ROMAN KARDONSKIY, JAID
GORBAN, EUGENY KIRZHNER, OLEG PILLER, VADIM BELITSKY, ALEX GOLDMEN, IGOR
KRASHENNY, ALI ENAYATI, MARYAM RAHIMI, EDWARD OPOKU, LARS LUNDSTROM,
EMILY ANDERSON, ROBERT BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN
KNIGHT, VIRGINIA LIN, SVETLANA SAPRONOVA, FELIX LANTSMAN, CHRISTIAN
HAINKA, MARINA ALEKSEYEVA, RENEE ROSENBERGELPERIN, ILYA ZIKNER, MILA
SUTTON, BORIS TRIPOLOSKI, FRANCESCA SUTTON, JAMIE WOLF, DAVID BISHOFF,
DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL BLYTHE AND ALLEN BAYLAN who did
knowingly make and cause to be made, aid, abet, solicit, and conspire with another person to
knowingly make and cause to be made, a false and fraudulent claim for the payment of a health care
benefit, in an amount exceeding nine hundred fifty dollars ($950.00).

                                           COUNT 10
On or about and between October 15, 2015 and May 27, 2020, in the County of Santa Clara, State of
California, the crime of MAKING A FRAUDULENT CLAIM FOR HEALTH CARE BENEFIT, in
violation of PENAL CODE SECTION 550(a)(6), a Felony, was committed by DAVID SUTTON,
BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL TSIKMAN, ROMAN KARDONSKIY, JAID
GORBAN, EUGENY KIRZHNER, OLEG PILLER, VADIM BELITSKY, ALEX GOLDMEN, IGOR
KRASHENNY, ALI ENAYATI, MARYAM RAHIMI, EDWARD OPOKU, LARS LUNDSTROM,
EMILY ANDERSON, ROBERT BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN
KNIGHT, VIRGINIA LIN, SVETLANA SAPRONOVA, FELIX LANTSMAN, CHRISTIAN
HAINKA, MARINA ALEKSEYEVA, RENEE ROSENBERGELPERIN, ILYA ZIKNER, MILA
SUTTON, BORIS TRIPOLOSKI, FRANCESCA SUTTON, JAMIE WOLF, DAVID BISHOFF,
DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL BLYTHE AND ALLEN BAYLAN who did
knowingly make and cause to be made, aid, abet, solicit, and conspire with another person to
knowingly make and cause to be made, a false and fraudulent claim for the payment of a health care
benefit, in an amount exceeding nine hundred fifty dollars ($950.00).




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                                   #:204
                                           COUNT 11
On or about and between October 15, 2015 and May 27, 2020, in the County of Santa Clara, State of
California, the crime of MAKING A FRAUDULENT CLAIM FOR HEALTH CARE BENEFIT, in
violation of PENAL CODE SECTION 550(a)(6), a Felony, was committed by DAVID SUTTON,
BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL TSIKMAN, ROMAN KARDONSKIY, JAID
GORBAN, EUGENY KIRZHNER, OLEG PILLER, VADIM BELITSKY, ALEX GOLDMEN, IGOR
KRASHENNY, ALI ENAYATI, MARYAM RAHIMI, EDWARD OPOKU, LARS LUNDSTROM,
EMILY ANDERSON, ROBERT BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN
KNIGHT, VIRGINIA LIN, SVETLANA SAPRONOVA, FELIX LANTSMAN, CHRISTIAN
HAINKA, MARINA ALEKSEYEVA, RENEE ROSENBERGELPERIN, ILYA ZIKNER, MILA
SUTTON, BORIS TRIPOLOSKI, FRANCESCA SUTTON, JAMIE WOLF, DAVID BISHOFF,
DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL BLYTHE AND ALLEN BAYLAN who did
knowingly make and cause to be made, aid, abet, solicit, and conspire with another person to
knowingly make and cause to be made, a false and fraudulent claim for the payment of a health care
benefit, in an amount exceeding nine hundred fifty dollars ($950.00).


                                           COUNT 12
On or about and between October 15, 2015 and May 27, 2020, in the County of Santa Clara, State of
California, the crime of MAKING A FRAUDULENT CLAIM FOR HEALTH CARE BENEFIT, in
violation of PENAL CODE SECTION 550(a)(6), a Felony, was committed by DAVID SUTTON,
BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL TSIKMAN, ROMAN KARDONSKIY, JAID
GORBAN, EUGENY KIRZHNER, OLEG PILLER, VADIM BELITSKY, ALEX GOLDMEN, IGOR
KRASHENNY, ALI ENAYATI, MARYAM RAHIMI, EDWARD OPOKU, LARS LUNDSTROM,
EMILY ANDERSON, ROBERT BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN
KNIGHT, VIRGINIA LIN, SVETLANA SAPRONOVA, FELIX LANTSMAN, CHRISTIAN
HAINKA, MARINA ALEKSEYEVA, RENEE ROSENBERGELPERIN, ILYA ZIKNER, MILA
SUTTON, BORIS TRIPOLOSKI, FRANCESCA SUTTON, JAMIE WOLF, DAVID BISHOFF,
DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL BLYTHE AND ALLEN BAYLAN who did
knowingly make and cause to be made, aid, abet, solicit, and conspire with another person to
knowingly make and cause to be made, a false and fraudulent claim for the payment of a health care
benefit, in an amount exceeding nine hundred fifty dollars ($950.00).




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                                   #:205
                                           COUNT 13
On or about and between October 15, 2015 and May 27, 2020, in the County of Santa Clara, State of
California, the crime of MAKING A FRAUDULENT CLAIM FOR HEALTH CARE BENEFIT, in
violation of PENAL CODE SECTION 550(a)(6), a Felony, was committed by DAVID SUTTON,
BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL TSIKMAN, ROMAN KARDONSKIY, JAID
GORBAN, EUGENY KIRZHNER, OLEG PILLER, VADIM BELITSKY, ALEX GOLDMEN, IGOR
KRASHENNY, ALI ENAYATI, MARYAM RAHIMI, EDWARD OPOKU, LARS LUNDSTROM,
EMILY ANDERSON, ROBERT BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN
KNIGHT, VIRGINIA LIN, SVETLANA SAPRONOVA, FELIX LANTSMAN, CHRISTIAN
HAINKA, MARINA ALEKSEYEVA, RENEE ROSENBERGELPERIN, ILYA ZIKNER, MILA
SUTTON, BORIS TRIPOLOSKI, FRANCESCA SUTTON, JAMIE WOLF, DAVID BISHOFF,
DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL BLYTHE AND ALLEN BAYLAN who did
knowingly make and cause to be made, aid, abet, solicit, and conspire with another person to
knowingly make and cause to be made, a false and fraudulent claim for the payment of a health care
benefit, in an amount exceeding nine hundred fifty dollars ($950.00).

                                           COUNT 14
On or about and between October 15, 2015 and May 27, 2020, in the County of Santa Clara, State of
California, the crime of MAKING A FRAUDULENT CLAIM FOR HEALTH CARE BENEFIT, in
violation of PENAL CODE SECTION 550(a)(6), a Felony, was committed by DAVID SUTTON,
BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL TSIKMAN, ROMAN KARDONSKIY, JAID
GORBAN, EUGENY KIRZHNER, OLEG PILLER, VADIM BELITSKY, ALEX GOLDMEN, IGOR
KRASHENNY, ALI ENAYATI, MARYAM RAHIMI, EDWARD OPOKU, LARS LUNDSTROM,
EMILY ANDERSON, ROBERT BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN
KNIGHT, VIRGINIA LIN, SVETLANA SAPRONOVA, FELIX LANTSMAN, CHRISTIAN
HAINKA, MARINA ALEKSEYEVA, RENEE ROSENBERGELPERIN, ILYA ZIKNER, MILA
SUTTON, BORIS TRIPOLOSKI, FRANCESCA SUTTON, JAMIE WOLF, DAVID BISHOFF,
DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL BLYTHE AND ALLEN BAYLAN who did
knowingly make and cause to be made, aid, abet, solicit, and conspire with another person to
knowingly make and cause to be made, a false and fraudulent claim for the payment of a health care
benefit, in an amount exceeding nine hundred fifty dollars ($950.00).




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                                   #:206
                                           COUNT 15
On or about and between October 15, 2015 and May 27, 2020, in the County of Santa Clara, State of
California, the crime of MAKING A FRAUDULENT CLAIM FOR HEALTH CARE BENEFIT, in
violation of PENAL CODE SECTION 550(a)(6), a Felony, was committed by DAVID SUTTON,
BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL TSIKMAN, ROMAN KARDONSKIY, JAID
GORBAN, EUGENY KIRZHNER, OLEG PILLER, VADIM BELITSKY, ALEX GOLDMEN, IGOR
KRASHENNY, ALI ENAYATI, MARYAM RAHIMI, EDWARD OPOKU, LARS LUNDSTROM,
EMILY ANDERSON, ROBERT BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN
KNIGHT, VIRGINIA LIN, SVETLANA SAPRONOVA, FELIX LANTSMAN, CHRISTIAN
HAINKA, MARINA ALEKSEYEVA, RENEE ROSENBERGELPERIN, ILYA ZIKNER, MILA
SUTTON, BORIS TRIPOLOSKI, FRANCESCA SUTTON, JAMIE WOLF, DAVID BISHOFF,
DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL BLYTHE AND ALLEN BAYLAN who did
knowingly make and cause to be made, aid, abet, solicit, and conspire with another person to
knowingly make and cause to be made, a false and fraudulent claim for the payment of a health care
benefit, in an amount exceeding nine hundred fifty dollars ($950.00).

                                           COUNT 16
On or about and between October 15, 2015 and May 26, 2020, in the County of Santa Clara, State of
California, the crime of GRAND THEFT OF PERSONAL PROPERTY OF A VALUE OVER NINE
HUNDRED AND FIFTY DOLLARS, in violation of PENAL CODE SECTION 487(a), a Felony, was
committed by DAVID SUTTON, BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL TSIKMAN,
ROMAN KARDONSKIY, JAID GORBAN, EUGENY KIRZHNER, OLEG PILLER, VADIM
BELITSKY, ALEX GOLDMEN, IGOR KRASHENNY, ALI ENAYATI, MARYAM RAHIMI,
EDWARD OPOKU, LARS LUNDSTROM, EMILY ANDERSON, ROBERT BREEDLOVE,
RAMON PAOLOSANTOS DAVID, JOHN KNIGHT, VIRGINIA LIN, SVETLANA SAPRONOVA,
FELIX LANTSMAN, CHRISTIAN HAINKA, MARINA ALEKSEYEVA, RENEE
ROSENBERGELPERIN, ILYA ZIKNER, MILA SUTTON, BORIS TRIPOLOSKI, FRANCESCA
SUTTON, JAMIE WOLF, DAVID BISHOFF, DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL
BLYTHE AND ALLEN BAYLAN who did unlawfully take personal property, money, of a value
exceeding nine hundred and fifty dollars ($950.00), the property of Express Scripts.




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                                   #:207
                                           COUNT 17
On or about and between October 15, 2015 and May 26, 2020, in the County of Santa Clara, State of
California, the crime of GRAND THEFT OF PERSONAL PROPERTY OF A VALUE OVER NINE
HUNDRED AND FIFTY DOLLARS, in violation of PENAL CODE SECTION 487(a), a Felony, was
committed by DAVID SUTTON, BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL TSIKMAN,
ROMAN KARDONSKIY, JAID GORBAN, EUGENY KIRZHNER, OLEG PILLER, VADIM
BELITSKY, ALEX GOLDMEN, IGOR KRASHENNY, ALI ENAYATI, MARYAM RAHIMI,
EDWARD OPOKU, LARS LUNDSTROM, EMILY ANDERSON, ROBERT BREEDLOVE,
RAMON PAOLOSANTOS DAVID, JOHN KNIGHT, VIRGINIA LIN, SVETLANA SAPRONOVA,
FELIX LANTSMAN, CHRISTIAN HAINKA, MARINA ALEKSEYEVA, RENEE
ROSENBERGELPERIN, ILYA ZIKNER, MILA SUTTON, BORIS TRIPOLOSKI, FRANCESCA
SUTTON, JAMIE WOLF, DAVID BISHOFF, DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL
BLYTHE AND ALLEN BAYLAN who did unlawfully take personal property, money, of a value
exceeding nine hundred and fifty dollars ($950.00), the property of CVS CAREMARK.


                                           COUNT 18
On or about and between October 15, 2015 and May 26, 2020, in the County of Santa Clara, State of
California, the crime of CONCEALING OR FAILING TO DISCLOSE AN EVENT AFFECTING A
RIGHT TO AN INSURANCE BENEFIT, in violation of PENAL CODE SECTION 550(b)(3), a
Felony, was committed by DAVID SUTTON, BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL
TSIKMAN, ROMAN KARDONSKIY, JAID GORBAN, EUGENY KIRZHNER, OLEG PILLER,
VADIM BELITSKY, ALEX GOLDMEN, IGOR KRASHENNY, ALI ENAYATI, MARYAM
RAHIMI, EDWARD OPOKU, LARS LUNDSTROM, EMILY ANDERSON, ROBERT
BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN KNIGHT, VIRGINIA LIN, SVETLANA
SAPRONOVA, FELIX LANTSMAN, CHRISTIAN HAINKA, MARINA ALEKSEYEVA, RENEE
ROSENBERGELPERIN, ILYA ZIKNER, MILA SUTTON, BORIS TRIPOLOSKI, FRANCESCA
SUTTON, JAMIE WOLF, DAVID BISHOFF, DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL
BLYTHE AND ALLEN BAYLAN who did conceal and knowingly fail to disclose, the occurrence of
an event that affected a person's initial and continued right and entitlement to an insurance benefit and
payment from Anthem, or the amount of a benefit and payment to which the person was entitled.




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                                   #:208
                                           COUNT 19
On or about and between October 15, 2015 and May 27, 2020, in the County of Santa Clara, State of
California, the crime of CONCEALING OR FAILING TO DISCLOSE AN EVENT AFFECTING A
RIGHT TO AN INSURANCE BENEFIT, in violation of PENAL CODE SECTION 550(b)(3), a
Felony, was committed by DAVID SUTTON, BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL
TSIKMAN, ROMAN KARDONSKIY, JAID GORBAN, EUGENY KIRZHNER, OLEG PILLER,
VADIM BELITSKY, ALEX GOLDMEN, IGOR KRASHENNY, ALI ENAYATI, MARYAM
RAHIMI, EDWARD OPOKU, LARS LUNDSTROM, EMILY ANDERSON, ROBERT
BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN KNIGHT, VIRGINIA LIN, SVETLANA
SAPRONOVA, FELIX LANTSMAN, CHRISTIAN HAINKA, MARINA ALEKSEYEVA, RENEE
ROSENBERGELPERIN, ILYA ZIKNER, MILA SUTTON, BORIS TRIPOLOSKI, FRANCESCA
SUTTON, JAMIE WOLF, DAVID BISHOFF, DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL
BLYTHE AND ALLEN BAYLAN who did conceal and knowingly fail to disclose, the occurrence of
an event that affected a person's initial and continued right and entitlement to an insurance benefit and
payment from Aetna, or the amount of a benefit and payment to which the person was entitled.


                                           COUNT 20
On or about and between October 15, 2015 and May 26, 2020, in the County of Santa Clara, State of
California, the crime of CONCEALING OR FAILING TO DISCLOSE AN EVENT AFFECTING A
RIGHT TO AN INSURANCE BENEFIT, in violation of PENAL CODE SECTION 550(b)(3), a
Felony, was committed by DAVID SUTTON, BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL
TSIKMAN, ROMAN KARDONSKIY, JAID GORBAN, EUGENY KIRZHNER, OLEG PILLER,
VADIM BELITSKY, ALEX GOLDMEN, IGOR KRASHENNY, ALI ENAYATI, MARYAM
RAHIMI, EDWARD OPOKU, LARS LUNDSTROM, EMILY ANDERSON, ROBERT
BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN KNIGHT, VIRGINIA LIN, SVETLANA
SAPRONOVA, FELIX LANTSMAN, CHRISTIAN HAINKA, MARINA ALEKSEYEVA, RENEE
ROSENBERGELPERIN, ILYA ZIKNER, MILA SUTTON, BORIS TRIPOLOSKI, FRANCESCA
SUTTON, JAMIE WOLF, DAVID BISHOFF, DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL
BLYTHE AND ALLEN BAYLAN who did conceal and knowingly fail to disclose, the occurrence of
an event that affected a person's initial and continued right and entitlement to an insurance benefit and
payment from Optum, or the amount of a benefit and payment to which the person was entitled.




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                                   #:209
                                           COUNT 21
On or about and between October 15, 2015 and May 26, 2020, in the County of Santa Clara, State of
California, the crime of CONCEALING OR FAILING TO DISCLOSE AN EVENT AFFECTING A
RIGHT TO AN INSURANCE BENEFIT, in violation of PENAL CODE SECTION 550(b)(3), a
Felony, was committed by DAVID SUTTON, BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL
TSIKMAN, ROMAN KARDONSKIY, JAID GORBAN, EUGENY KIRZHNER, OLEG PILLER,
VADIM BELITSKY, ALEX GOLDMEN, IGOR KRASHENNY, ALI ENAYATI, MARYAM
RAHIMI, EDWARD OPOKU, LARS LUNDSTROM, EMILY ANDERSON, ROBERT
BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN KNIGHT, VIRGINIA LIN, SVETLANA
SAPRONOVA, FELIX LANTSMAN, CHRISTIAN HAINKA, MARINA ALEKSEYEVA, RENEE
ROSENBERGELPERIN, ILYA ZIKNER, MILA SUTTON, BORIS TRIPOLOSKI, FRANCESCA
SUTTON, JAMIE WOLF, DAVID BISHOFF, DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL
BLYTHE AND ALLEN BAYLAN who did conceal and knowingly fail to disclose, the occurrence of
an event that affected a person's initial and continued right and entitlement to an insurance benefit and
payment from Blue Cross Blue Shield of California, and the amount of a benefit and payment to which
the person was entitled.

                                           COUNT 22
On or about and between October 15, 2015 and May 26, 2020, in the County of Santa Clara, State of
California, the crime of CONCEALING OR FAILING TO DISCLOSE AN EVENT AFFECTING A
RIGHT TO AN INSURANCE BENEFIT, in violation of PENAL CODE SECTION 550(b)(3), a
Felony, was committed by DAVID SUTTON, BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL
TSIKMAN, ROMAN KARDONSKIY, JAID GORBAN, EUGENY KIRZHNER, OLEG PILLER,
VADIM BELITSKY, ALEX GOLDMEN, IGOR KRASHENNY, ALI ENAYATI, MARYAM
RAHIMI, EDWARD OPOKU, LARS LUNDSTROM, EMILY ANDERSON, ROBERT
BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN KNIGHT, VIRGINIA LIN, SVETLANA
SAPRONOVA, FELIX LANTSMAN, CHRISTIAN HAINKA, MARINA ALEKSEYEVA, RENEE
ROSENBERGELPERIN, ILYA ZIKNER, MILA SUTTON, BORIS TRIPOLOSKI, FRANCESCA
SUTTON, JAMIE WOLF, DAVID BISHOFF, DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL
BLYTHE AND ALLEN BAYLAN who did conceal and knowingly fail to disclose, the occurrence of
an event that affected a person's initial and continued right and entitlement to an insurance benefit and
payment from Cigna, or the amount of a benefit and payment to which the person was entitled.




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                                   #:210
                                           COUNT 23
On or about and between October 15, 2015 and May 26, 2020, in the County of Santa Clara, State of
California, the crime of CONCEALING OR FAILING TO DISCLOSE AN EVENT AFFECTING A
RIGHT TO AN INSURANCE BENEFIT, in violation of PENAL CODE SECTION 550(b)(3), a
Felony, was committed by DAVID SUTTON, BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL
TSIKMAN, ROMAN KARDONSKIY, JAID GORBAN, EUGENY KIRZHNER, OLEG PILLER,
VADIM BELITSKY, ALEX GOLDMEN, IGOR KRASHENNY, ALI ENAYATI, MARYAM
RAHIMI, EDWARD OPOKU, LARS LUNDSTROM, EMILY ANDERSON, ROBERT
BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN KNIGHT, VIRGINIA LIN, SVETLANA
SAPRONOVA, FELIX LANTSMAN, CHRISTIAN HAINKA, MARINA ALEKSEYEVA, RENEE
ROSENBERGELPERIN, ILYA ZIKNER, MILA SUTTON, BORIS TRIPOLOSKI, FRANCESCA
SUTTON, JAMIE WOLF, DAVID BISHOFF, DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL
BLYTHE AND ALLEN BAYLAN who did conceal and knowingly fail to disclose, the occurrence of
an event that affected a person's initial and continued right and entitlement to an insurance benefit and
payment from Xpress Scripts, or the amount of a benefit and payment to which the person was entitled.


                                           COUNT 24
On or about and between October 15, 2015 and May 26, 2020, in the County of Santa Clara, State of
California, the crime of CONCEALING OR FAILING TO DISCLOSE AN EVENT AFFECTING A
RIGHT TO AN INSURANCE BENEFIT, in violation of PENAL CODE SECTION 550(b)(3), a
Felony, was committed by DAVID SUTTON, BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL
TSIKMAN, ROMAN KARDONSKIY, JAID GORBAN, EUGENY KIRZHNER, OLEG PILLER,
VADIM BELITSKY, ALEX GOLDMEN, IGOR KRASHENNY, ALI ENAYATI, MARYAM
RAHIMI, EDWARD OPOKU, LARS LUNDSTROM, EMILY ANDERSON, ROBERT
BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN KNIGHT, VIRGINIA LIN, SVETLANA
SAPRONOVA, FELIX LANTSMAN, CHRISTIAN HAINKA, MARINA ALEKSEYEVA, RENEE
ROSENBERGELPERIN, ILYA ZIKNER, MILA SUTTON, BORIS TRIPOLOSKI, FRANCESCA
SUTTON, JAMIE WOLF, DAVID BISHOFF, DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL
BLYTHE AND ALLEN BAYLAN who did conceal and knowingly fail to disclose, the occurrence of
an event that affected a person's initial and continued right and entitlement to an insurance benefit and
payment from CVS, and the amount of a benefit and payment to which the person was entitled.




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                                   #:211
                                           COUNT 25
On or about and between October 15, 2015 and May 26, 2020, in the County of Santa Clara, State of
California, the crime of UNLAWFUL REBATES FOR PATIENT REFERRALS, in violation of
BUSINESS & PROFESSIONS CODE SECTION 650, a Felony, was committed by DAVID SUTTON,
BRIAN SUTTON, VLADIMIR TSIKMAN, HERSHEL TSIKMAN, ROMAN KARDONSKIY, JAID
GORBAN, EUGENY KIRZHNER, OLEG PILLER, VADIM BELITSKY, ALEX GOLDMEN, IGOR
KRASHENNY, ALI ENAYATI, MARYAM RAHIMI, EDWARD OPOKU, LARS LUNDSTROM,
EMILY ANDERSON, ROBERT BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN
KNIGHT, VIRGINIA LIN, SVETLANA SAPRONOVA, FELIX LANTSMAN, CHRISTIAN
HAINKA, MARINA ALEKSEYEVA, RENEE ROSENBERGELPERIN, ILYA ZIKNER, MILA
SUTTON, BORIS TRIPOLOSKI, FRANCESCA SUTTON, JAMIE WOLF, DAVID BISHOFF,
DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL BLYTHE AND ALLEN BAYLAN who did
unlawfully offer, deliver, receive and accept a rebate, refund, commission, preference, patronage
dividend, discount and other consideration as compensation and inducement for referring patients,
clients and customers to, Global Marketing, The Care Group, Cal Gen DME, Van Nuys Pharmacy,
Valley Market Pharmacy, True Choice Pharmacy, First Choice Pharmacy, Family Care Pharmacy.


                                           COUNT 26
On or about and between October 27, 2016 and January 5, 2017, in the County of Santa Clara, State of
California, the crime of FORGERY OF A PRESCRIPTION, in violation of BUSINESS &
PROFESSIONS CODE SECTION 4324(a), a Felony, was committed by HERSHEL TSIKMAN AND
EMILY ANDERSON who did sign the name of another person, Kristen Davis, or of a fictitious person,
and falsely make, alter, forge, utter, publish, pass and attempt to pass as genuine, a prescription for a
drug, pain cream prescriptions.
                                           COUNT 27
On or about and between July 19, 2016 and November 23, 2016, in the County of Santa Clara, State of
California, the crime of FORGERY OF A PRESCRIPTION, in violation of BUSINESS &
PROFESSIONS CODE SECTION 4324(a), a Felony, was committed by HERSHEL TSIKMAN AND
EMILY ANDERSON who did sign the name of another person, Dr. Michael Cruz, or of a fictitious
person, and falsely make, alter, forge, utter, publish, pass and attempt to pass as genuine, a prescription
for a drug, durable medical equipment.




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                                   #:212
                                           COUNT 28
On or about and between July 19, 2016 and November 23, 2016, in the County of Santa Clara, State of
California, the crime of FORGERY OF A PRESCRIPTION, in violation of BUSINESS &
PROFESSIONS CODE SECTION 4324(a), a Felony, was committed by HERSHEL TSIKMAN AND
EMILY ANDERSON who did sign the name of another person, Dr. Raychelle Deermer-Kemple, or of
a fictitious person, and falsely make, alter, forge, utter, publish, pass and attempt to pass as genuine, a
prescription for a drug, durable medical equipment.


                                           COUNT 29
On or about and between October 27, 2016 and January 5, 2017, in the County of Santa Clara, State of
California, the crime of USING PERSONAL IDENTIFYING INFORMATION WITHOUT
AUTHORIZATION, in violation of PENAL CODE SECTION 530.5(a), a Felony, was committed by
HERSHEL TSIKMAN AND EMILY ANDERSON who did willfully obtain personal identifying
information, the names or professional identification information of Kristen Davis, and used the
information for an unlawful purpose, including to obtain, and attempt to obtain, credit, goods, services,
real property, and medical information, in the name of Kristen Davis without his or her consent.

                                           COUNT 30
On or about and between July 19, 2016 and November 23, 2016, in the County of Santa Clara, State of
California, the crime of USING PERSONAL IDENTIFYING INFORMATION WITHOUT
AUTHORIZATION, in violation of PENAL CODE SECTION 530.5(a), a Felony, was committed by
HERSHEL TSIKMAN AND EMILY ANDERSON who did willfully obtain personal identifying
information, the names or professional identification information of Dr. Michael Cruz, and used the
information for an unlawful purpose, including to obtain, and attempt to obtain, credit, goods, services,
real property, and medical information, in the name of Dr. Michael Cruz without his or her consent.


                                           COUNT 31
On or about and between July 19, 2016 and November 23, 2016, in the County of Santa Clara, State of
California, the crime of USING PERSONAL IDENTIFYING INFORMATION WITHOUT
AUTHORIZATION, in violation of PENAL CODE SECTION 530.5(a), a Felony, was committed by
HERSHEL TSIKMAN AND EMILY ANDERSON who did willfully obtain personal identifying
information, the names or professional identification information of Dr. Raychelle Deermer-Kemple,
and used the information for an unlawful purpose, including to obtain, and attempt to obtain, credit,
goods, services, real property, and medical information, in the name of Dr. Raychelle Deermer-Kemple
without his or her consent.
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                                   #:213
                                     COUNT 32 ($147,716)
On or about and between September 8, 2016 and September 30, 2016, in the County of Santa Clara,
State of California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION
186.10(a), a Felony, was committed by DAVID SUTTON, HERSHEL TSIKMAN, ROMAN
KARDONSKIY AND JAID GORBAN who did conduct and attempt to conduct a transaction and more
than one transaction within a thirty day period involving a monetary instrument and instruments of a
total value exceeding twenty-five thousand dollars, ($25,000) through one and more financial
institutions with the specific intent to promote, manage, establish, carry on, and facilitate the
promotion, management, establishment, and carrying on of a criminal activity, and knowing that the
monetary instrument represented proceeds of, and was derived directly and indirectly from the
proceeds of, criminal activity.

                                     COUNT 33 ($197,434)
On or about and between October 6, 2016 and October 26, 2016, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by DAVID SUTTON, HERSHEL TSIKMAN, ROMAN KARDONSKIY
AND JAID GORBAN who did conduct and attempt to conduct a transaction and more than one
transaction within a thirty day period involving a monetary instrument and instruments of a total value
exceeding twenty-five thousand dollars, ($25,000) through one and more financial institutions with the
specific intent to promote, manage, establish, carry on, and facilitate the promotion, management,
establishment, and carrying on of a criminal activity, and knowing that the monetary instrument
represented proceeds of, and was derived directly and indirectly from the proceeds of, criminal activity.


                                    COUNT 34 ($176,991)
On or about and between November 3, 2016 and November 30, 2016, in the County of Santa Clara,
State of California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION
186.10(a), a Felony, was committed by DAVID SUTTON, HERSHEL TSIKMAN, ROMAN
KARDONSKIY AND JAID GORBAN who did conduct and attempt to conduct a transaction and more
than one transaction within a thirty day period involving a monetary instrument and instruments of a
total value exceeding twenty-five thousand dollars, ($25,000) through one and more financial
institutions with the specific intent to promote, manage, establish, carry on, and facilitate the
promotion, management, establishment, and carrying on of a criminal activity, and knowing that the
monetary instrument represented proceeds of, and was derived directly and indirectly from the
proceeds of, criminal activity.

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                                   #:214
                                     COUNT 35 ($278,660)
On or about and between December 5, 2016 and December 29, 2016, in the County of Santa Clara,
State of California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION
186.10(a), a Felony, was committed by DAVID SUTTON, HERSHEL TSIKMAN, ROMAN
KARDONSKIY AND JAID GORBAN who did conduct and attempt to conduct a transaction and more
than one transaction within a thirty day period involving a monetary instrument and instruments of a
total value exceeding twenty-five thousand dollars, ($25,000) through one and more financial
institutions with the specific intent to promote, manage, establish, carry on, and facilitate the
promotion, management, establishment, and carrying on of a criminal activity, and knowing that the
monetary instrument represented proceeds of, and was derived directly and indirectly from the
proceeds of, criminal activity.


                                      COUNT 36 ($380,605)
On or about and between January 5, 2017 and January 27, 2017, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by DAVID SUTTON, HERSHEL TSIKMAN, ROMAN KARDONSKIY
AND JAID GORBAN who did conduct and attempt to conduct a transaction and more than one
transaction within a thirty day period involving a monetary instrument and instruments of a total value
exceeding twenty-five thousand dollars, ($25,000) through one and more financial institutions with the
specific intent to promote, manage, establish, carry on, and facilitate the promotion, management,
establishment, and carrying on of a criminal activity, and knowing that the monetary instrument
represented proceeds of, and was derived directly and indirectly from the proceeds of, criminal activity.


                                      COUNT 37 ($917,811)
On or about and between February 2, 2017 and February 24, 2017, in the County of Santa Clara, State
of California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION
186.10(a), a Felony, was committed by DAVID SUTTON, HERSHEL TSIKMAN, ROMAN
KARDONSKIY AND JAID GORBAN who did conduct and attempt to conduct a transaction and more
than one transaction within a thirty day period involving a monetary instrument and instruments of a
total value exceeding twenty-five thousand dollars, ($25,000) through one and more financial
institutions with the specific intent to promote, manage, establish, carry on, and facilitate the
promotion, management, establishment, and carrying on of a criminal activity, and knowing that the
monetary instrument represented proceeds of, and was derived directly and indirectly from the
proceeds of, criminal activity.

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                                   #:215
                                       COUNT 38 ($75,000)
On or about March 2, 2017, in the County of Santa Clara, State of California, the crime of MONEY
LAUNDERING, in violation of PENAL CODE SECTION 186.10(a), a Felony, was committed by
DAVID SUTTON, HERSHEL TSIKMAN, ROMAN KARDONSKIY AND JAID GORBAN who did
conduct and attempt to conduct a transaction and more than one transaction within a thirty day period
involving a monetary instrument and instruments of a total value exceeding twenty-five thousand
dollars, ($25,000) through one and more financial institutions with the specific intent to promote,
manage, establish, carry on, and facilitate the promotion, management, establishment, and carrying on
of a criminal activity, and knowing that the monetary instrument represented proceeds of, and was
derived directly and indirectly from the proceeds of, criminal activity.


                                     COUNT 39 ($148,844)
On or about and between September 6, 2016 and September 28, 2016, in the County of Santa Clara,
State of California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION
186.10(a), a Felony, was committed by ROMAN KARDONSKIY AND ILYA ZIKNER who did
conduct and attempt to conduct a transaction and more than one transaction within a thirty day period
involving a monetary instrument and instruments of a total value exceeding twenty-five thousand
dollars, ($25,000) through one and more financial institutions with the specific intent to promote,
manage, establish, carry on, and facilitate the promotion, management, establishment, and carrying on
of a criminal activity, and knowing that the monetary instrument represented proceeds of, and was
derived directly and indirectly from the proceeds of, criminal activity.


                                     COUNT 40 ($352,197)
On or about and between October 4, 2016 and October 26, 2016, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by ROMAN KARDONSKIY AND ILYA ZIKNER who did conduct and
attempt to conduct a transaction and more than one transaction within a thirty day period involving a
monetary instrument and instruments of a total value exceeding twenty-five thousand dollars, ($25,000)
through one and more financial institutions with the specific intent to promote, manage, establish, carry
on, and facilitate the promotion, management, establishment, and carrying on of a criminal activity, and
knowing that the monetary instrument represented proceeds of, and was derived directly and indirectly
from the proceeds of, criminal activity.




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                                   #:216
                                    COUNT 41 ($246,456)
On or about and between November 2, 2016 and November 29, 2016, in the County of Santa Clara,
State of California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION
186.10(a), a Felony, was committed by ROMAN KARDONSKIY AND ILYA ZIKNER who did
conduct and attempt to conduct a transaction and more than one transaction within a thirty day period
involving a monetary instrument and instruments of a total value exceeding twenty-five thousand
dollars, ($25,000) through one and more financial institutions with the specific intent to promote,
manage, establish, carry on, and facilitate the promotion, management, establishment, and carrying on
of a criminal activity, and knowing that the monetary instrument represented proceeds of, and was
derived directly and indirectly from the proceeds of, criminal activity.


                                     COUNT 42 ($232,779)
On or about and between December 6, 2016 and December 27, 2016, in the County of Santa Clara,
State of California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION
186.10(a), a Felony, was committed by ROMAN KARDONSKIY AND ILYA ZIKNER who did
conduct and attempt to conduct a transaction and more than one transaction within a thirty day period
involving a monetary instrument and instruments of a total value exceeding twenty-five thousand
dollars, ($25,000) through one and more financial institutions with the specific intent to promote,
manage, establish, carry on, and facilitate the promotion, management, establishment, and carrying on
of a criminal activity, and knowing that the monetary instrument represented proceeds of, and was
derived directly and indirectly from the proceeds of, criminal activity.


                                      COUNT 43 ($351,820)
On or about and between January 3, 2017 and January 31, 2017, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by ROMAN KARDONSKIY AND ILYA ZIKNER who did conduct and
attempt to conduct a transaction and more than one transaction within a thirty day period involving a
monetary instrument and instruments of a total value exceeding twenty-five thousand dollars, ($25,000)
through one and more financial institutions with the specific intent to promote, manage, establish, carry
on, and facilitate the promotion, management, establishment, and carrying on of a criminal activity, and
knowing that the monetary instrument represented proceeds of, and was derived directly and indirectly
from the proceeds of, criminal activity.




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                                   #:217
                                      COUNT 44 ($248,380)
On or about and between February 2, 2017 and February 28, 2017, in the County of Santa Clara, State
of California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION
186.10(a), a Felony, was committed by ROMAN KARDONSKIY AND ILYA ZIKNER who did
conduct and attempt to conduct a transaction and more than one transaction within a thirty day period
involving a monetary instrument and instruments of a total value exceeding twenty-five thousand
dollars, ($25,000) through one and more financial institutions with the specific intent to promote,
manage, establish, carry on, and facilitate the promotion, management, establishment, and carrying on
of a criminal activity, and knowing that the monetary instrument represented proceeds of, and was
derived directly and indirectly from the proceeds of, criminal activity.


                                      COUNT 45 ($45,000)
On or about and between September 6, 2016 and September 19, 2016, in the County of Santa Clara,
State of California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION
186.10(a), a Felony, was committed by ROMAN KARDONSKIY AND RENEE
ROSENBERGELPERIN who did conduct and attempt to conduct a transaction and more than one
transaction within a thirty day period involving a monetary instrument and instruments of a total value
exceeding twenty-five thousand dollars, ($25,000) through one and more financial institutions with the
specific intent to promote, manage, establish, carry on, and facilitate the promotion, management,
establishment, and carrying on of a criminal activity, and knowing that the monetary instrument
represented proceeds of, and was derived directly and indirectly from the proceeds of, criminal activity.


                                     COUNT 46 ($430,683)
On or about and between October 4, 2016 and October 26, 2016, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by ROMAN KARDONSKIY AND RENEE ROSENBERGELPERIN who
did conduct and attempt to conduct a transaction and more than one transaction within a thirty day
period involving a monetary instrument and instruments of a total value exceeding twenty-five
thousand dollars, ($25,000) through one and more financial institutions with the specific intent to
promote, manage, establish, carry on, and facilitate the promotion, management, establishment, and
carrying on of a criminal activity, and knowing that the monetary instrument represented proceeds of,
and was derived directly and indirectly from the proceeds of, criminal activity.




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                                   #:218
                                    COUNT 47 ($124,806)
On or about and between November 2, 2016 and November 17, 2016, in the County of Santa Clara,
State of California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION
186.10(a), a Felony, was committed by ROMAN KARDONSKIY AND RENEE
ROSENBERGELPERIN who did conduct and attempt to conduct a transaction and more than one
transaction within a thirty day period involving a monetary instrument and instruments of a total value
exceeding twenty-five thousand dollars, ($25,000) through one and more financial institutions with the
specific intent to promote, manage, establish, carry on, and facilitate the promotion, management,
establishment, and carrying on of a criminal activity, and knowing that the monetary instrument
represented proceeds of, and was derived directly and indirectly from the proceeds of, criminal activity.


                                       COUNT 48 ($20,000)
On or about December 21, 2016, in the County of Santa Clara, State of California, the crime of
MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a), a Felony, was
committed by ROMAN KARDONSKIY AND RENEE ROSENBERGELPERIN who did conduct and
attempt to conduct a transaction and more than one transaction within a 7 Days period involving a
monetary instrument and instruments of a total value exceeding $5,000 through one and more financial
institutions with the specific intent to promote, manage, establish, carry on, and facilitate the
promotion, management, establishment, and carrying on of a criminal activity, and knowing that the
monetary instrument represented proceeds of, and was derived directly and indirectly from the
proceeds of, criminal activity.


                                      COUNT 49 ($198,148)
On or about and between January 5, 2017 and January 26, 2017, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by ROMAN KARDONSKIY AND RENEE ROSENBERGELPERIN who
did conduct and attempt to conduct a transaction and more than one transaction within a thirty day
period involving a monetary instrument and instruments of a total value exceeding twenty-five
thousand dollars, ($25,000) through one and more financial institutions with the specific intent to
promote, manage, establish, carry on, and facilitate the promotion, management, establishment, and
carrying on of a criminal activity, and knowing that the monetary instrument represented proceeds of,
and was derived directly and indirectly from the proceeds of, criminal activity.




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                                   #:219
                                     COUNT 50 ($163,483)
On or about and between December 1, 2016 and December 23, 2016, in the County of Santa Clara,
State of California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION
186.10(a), a Felony, was committed by ROMAN KARDONSKIY AND MARINA ALEKSEYEVA
who did conduct and attempt to conduct a transaction and more than one transaction within a thirty day
period involving a monetary instrument and instruments of a total value exceeding twenty-five
thousand dollars, ($25,000) through one and more financial institutions with the specific intent to
promote, manage, establish, carry on, and facilitate the promotion, management, establishment, and
carrying on of a criminal activity, and knowing that the monetary instrument represented proceeds of,
and was derived directly and indirectly from the proceeds of, criminal activity.


                                      COUNT 51 ($138,937)
On or about and between January 11, 2017 and January 26, 2017, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by ROMAN KARDONSKIY AND MARINA ALEKSEYEVA who did
conduct and attempt to conduct a transaction and more than one transaction within a thirty day period
involving a monetary instrument and instruments of a total value exceeding twenty-five thousand
dollars, ($25,000) through one and more financial institutions with the specific intent to promote,
manage, establish, carry on, and facilitate the promotion, management, establishment, and carrying on
of a criminal activity, and knowing that the monetary instrument represented proceeds of, and was
derived directly and indirectly from the proceeds of, criminal activity.


                                      COUNT 52 ($62,500)
On or about and between February 9, 2017 and February 15, 2017, in the County of Santa Clara, State
of California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION
186.10(a), a Felony, was committed by ROMAN KARDONSKIY AND MARINA ALEKSEYEVA
who did conduct and attempt to conduct a transaction and more than one transaction within a seven day
period involving a monetary instrument and instruments of a total value exceeding five-thousand
dollars, ($5,000) through one and more financial institutions with the specific intent to promote,
manage, establish, carry on, and facilitate the promotion, management, establishment, and carrying on
of a criminal activity, and knowing that the monetary instrument represented proceeds of, and was
derived directly and indirectly from the proceeds of, criminal activity.




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                                   #:220
                                      COUNT 53 ($87,494)
On or about and between September 16, 2016 and September 28, 2016, in the County of Santa Clara,
State of California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION
186.10(a), a Felony, was committed by HERSHEL TSIKMAN AND ROMAN KARDONSKIY who
did conduct and attempt to conduct a transaction and more than one transaction within a thirty day
period involving a monetary instrument and instruments of a total value exceeding twenty-five
thousand dollars, ($25,000) through one and more financial institutions with the specific intent to
promote, manage, establish, carry on, and facilitate the promotion, management, establishment, and
carrying on of a criminal activity, and knowing that the monetary instrument represented proceeds of,
and was derived directly and indirectly from the proceeds of, criminal activity.


                                      COUNT 54 ($87,000)
On or about and between October 4, 2016 and October 26, 2016, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by HERSHEL TSIKMAN AND ROMAN KARDONSKIY who did conduct
and attempt to conduct a transaction and more than one transaction within a thirty day period involving
a monetary instrument and instruments of a total value exceeding twenty-five thousand dollars,
($25,000) through one and more financial institutions with the specific intent to promote, manage,
establish, carry on, and facilitate the promotion, management, establishment, and carrying on of a
criminal activity, and knowing that the monetary instrument represented proceeds of, and was derived
directly and indirectly from the proceeds of, criminal activity.


                                    COUNT 55 ($122,770)
On or about and between November 1, 2016 and November 30, 2016, in the County of Santa Clara,
State of California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION
186.10(a), a Felony, was committed by HERSHEL TSIKMAN AND ROMAN KARDONSKIY who
did conduct and attempt to conduct a transaction and more than one transaction within a thirty day
period involving a monetary instrument and instruments of a total value exceeding twenty-five
thousand dollars, ($25,000) through one and more financial institutions with the specific intent to
promote, manage, establish, carry on, and facilitate the promotion, management, establishment, and
carrying on of a criminal activity, and knowing that the monetary instrument represented proceeds of,
and was derived directly and indirectly from the proceeds of, criminal activity.




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                                   #:221
                                     COUNT 56 ($10,000)
On or about and between December 8, 2016 and December 12, 2016, in the County of Santa Clara,
State of California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION
186.10(a), a Felony, was committed by HERSHEL TSIKMAN AND ROMAN KARDONSKIY who
did conduct and attempt to conduct a transaction and more than one transaction within a seven day
period involving a monetary instrument and instruments of a total value exceeding five-thousand
dollars, ($5,000) through one and more financial institutions with the specific intent to promote,
manage, establish, carry on, and facilitate the promotion, management, establishment, and carrying on
of a criminal activity, and knowing that the monetary instrument represented proceeds of, and was
derived directly and indirectly from the proceeds of, criminal activity.


                                      COUNT 57 ($40,439)
On or about and between January 6, 2017 and January 31, 2017, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by HERSHEL TSIKMAN AND ROMAN KARDONSKIY who did conduct
and attempt to conduct a transaction and more than one transaction within a thirty day period involving
a monetary instrument and instruments of a total value exceeding twenty-five thousand dollars,
($25,000) through one and more financial institutions with the specific intent to promote, manage,
establish, carry on, and facilitate the promotion, management, establishment, and carrying on of a
criminal activity, and knowing that the monetary instrument represented proceeds of, and was derived
directly and indirectly from the proceeds of, criminal activity.


                                      COUNT 58 ($152,019)
On or about and between February 2, 2017 and February 23, 2017, in the County of Santa Clara, State
of California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION
186.10(a), a Felony, was committed by ROMAN KARDONSKIY AND CHRISTIAN HAINKA who
did conduct and attempt to conduct a transaction and more than one transaction within a thirty day
period involving a monetary instrument and instruments of a total value exceeding twenty-five
thousand dollars, ($25,000) through one and more financial institutions with the specific intent to
promote, manage, establish, carry on, and facilitate the promotion, management, establishment, and
carrying on of a criminal activity, and knowing that the monetary instrument represented proceeds of,
and was derived directly and indirectly from the proceeds of, criminal activity.




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                                   #:222
                                       COUNT 59 ($85,000)
On or about February 24, 2017, in the County of Santa Clara, State of California, the crime of MONEY
LAUNDERING, in violation of PENAL CODE SECTION 186.10(a), a Felony, was committed by
VLADIMIR TSIKMAN, HERSHEL TSIKMAN AND ROMAN KARDONSKIY who did conduct and
attempt to conduct a transaction and more than one transaction within a seven day period involving a
monetary instrument and instruments of a total value exceeding five-thousand dollars, ($5,000) through
one and more financial institutions with the specific intent to promote, manage, establish, carry on, and
facilitate the promotion, management, establishment, and carrying on of a criminal activity, and
knowing that the monetary instrument represented proceeds of, and was derived directly and indirectly
from the proceeds of, criminal activity.

                                       COUNT 60 ($16,000)
On or about February 2, 2017, in the County of Santa Clara, State of California, the crime of MONEY
LAUNDERING, in violation of PENAL CODE SECTION 186.10(a), a Felony, was committed by
HERSHEL TSIKMAN AND ROMAN KARDONSKIY who did conduct and attempt to conduct a
transaction and more than one transaction within a seven day period involving a monetary instrument
and instruments of a total value exceeding five-thousand dollars, ($5,000) through one and more
financial institutions with the specific intent to promote, manage, establish, carry on, and facilitate the
promotion, management, establishment, and carrying on of a criminal activity, and knowing that the
monetary instrument represented proceeds of, and was derived directly and indirectly from the
proceeds of, criminal activity.


                                      COUNT 61 ($35,000)
On or about May 26, 2016, in the County of Santa Clara, State of California, the crime of MONEY
LAUNDERING, in violation of PENAL CODE SECTION 186.10(a), a Felony, was committed by
ROMAN KARDONSKIY AND FELIX LANTSMAN who did conduct and attempt to conduct a
transaction and more than one transaction within a seven day period involving a monetary instrument
and instruments of a total value exceeding five-thousand dollars, ($5,000) through one and more
financial institutions with the specific intent to promote, manage, establish, carry on, and facilitate the
promotion, management, establishment, and carrying on of a criminal activity, and knowing that the
monetary instrument represented proceeds of, and was derived directly and indirectly from the
proceeds of, criminal activity.




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                                   #:223
                                     COUNT 62 ($1,400,191)
On or about and between June 1, 2016 and June 29, 2016, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by ROMAN KARDONSKIY AND FELIX LANTSMAN who did conduct
and attempt to conduct a transaction and more than one transaction within a thirty day period involving
a monetary instrument and instruments of a total value exceeding twenty-five thousand dollars,
($25,000) through one and more financial institutions with the specific intent to promote, manage,
establish, carry on, and facilitate the promotion, management, establishment, and carrying on of a
criminal activity, and knowing that the monetary instrument represented proceeds of, and was derived
directly and indirectly from the proceeds of, criminal activity.



                                      COUNT 63 ($573,493)
On or about and between July 6, 2016 and July 26, 2016, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by ROMAN KARDONSKIY AND FELIX LANTSMAN who did conduct
and attempt to conduct a transaction and more than one transaction within a thirty day period involving
a monetary instrument and instruments of a total value exceeding twenty-five thousand dollars,
($25,000) through one and more financial institutions with the specific intent to promote, manage,
establish, carry on, and facilitate the promotion, management, establishment, and carrying on of a
criminal activity, and knowing that the monetary instrument represented proceeds of, and was derived
directly and indirectly from the proceeds of, criminal activity.


                                      COUNT 64 ($113,313)
On or about and between June 1, 2016 and June 28, 2016, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by DAVID SUTTON, HERSHEL TSIKMAN, ROMAN KARDONSKIY
AND JAID GORBAN who did conduct and attempt to conduct a transaction and more than one
transaction within a thirty day period involving a monetary instrument and instruments of a total value
exceeding twenty-five thousand dollars, ($25,000) through one and more financial institutions with the
specific intent to promote, manage, establish, carry on, and facilitate the promotion, management,
establishment, and carrying on of a criminal activity, and knowing that the monetary instrument
represented proceeds of, and was derived directly and indirectly from the proceeds of, criminal activity.




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                                   #:224
                                      COUNT 65 ($205,863)
On or about and between July 6, 2016 and July 28, 2016, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by DAVID SUTTON, HERSHEL TSIKMAN, ROMAN KARDONSKIY
AND JAID GORBAN who did conduct and attempt to conduct a transaction and more than one
transaction within a thirty day period involving a monetary instrument and instruments of a total value
exceeding twenty-five thousand dollars, ($25,000) through one and more financial institutions with the
specific intent to promote, manage, establish, carry on, and facilitate the promotion, management,
establishment, and carrying on of a criminal activity, and knowing that the monetary instrument
represented proceeds of, and was derived directly and indirectly from the proceeds of, criminal activity.



                                     COUNT 66 ($522,518)
On or about and between August 2, 2016 and August 31, 2016, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by DAVID SUTTON, HERSHEL TSIKMAN, ROMAN KARDONSKIY
AND JAID GORBAN who did conduct and attempt to conduct a transaction and more than one
transaction within a thirty day period involving a monetary instrument and instruments of a total value
exceeding twenty-five thousand dollars, ($25,000) through one and more financial institutions with the
specific intent to promote, manage, establish, carry on, and facilitate the promotion, management,
establishment, and carrying on of a criminal activity, and knowing that the monetary instrument
represented proceeds of, and was derived directly and indirectly from the proceeds of, criminal activity.


                                       COUNT 67 ($64,988)
On or about September 6, 2016, in the County of Santa Clara, State of California, the crime of
MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a), a Felony, was
committed by DAVID SUTTON, HERSHEL TSIKMAN, ROMAN KARDONSKIY AND JAID
GORBAN who did conduct and attempt to conduct a transaction and more than one transaction within
a seven day period involving a monetary instrument and instruments of a total value exceeding five-
thousand dollars, ($5,000) through one and more financial institutions with the specific intent to
promote, manage, establish, carry on, and facilitate the promotion, management, establishment, and
carrying on of a criminal activity, and knowing that the monetary instrument represented proceeds of,
and was derived directly and indirectly from the proceeds of, criminal activity.




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                                   #:225
                                      COUNT 68 ($35,000)
On or about May 26, 2016, in the County of Santa Clara, State of California, the crime of MONEY
LAUNDERING, in violation of PENAL CODE SECTION 186.10(a), a Felony, was committed by
ROMAN KARDONSKIY AND RENEE ROSENBERGELPERIN who did conduct and attempt to
conduct a transaction and more than one transaction within a seven day period involving a monetary
instrument and instruments of a total value exceeding five-thousand dollars, ($5,000) through one and
more financial institutions with the specific intent to promote, manage, establish, carry on, and
facilitate the promotion, management, establishment, and carrying on of a criminal activity, and
knowing that the monetary instrument represented proceeds of, and was derived directly and indirectly
from the proceeds of, criminal activity.



                                      COUNT 69 ($122,282)
On or about and between June 1, 2016 and June 28, 2016, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by ROMAN KARDONSKIY AND RENEE ROSENBERGELPERIN who
did conduct and attempt to conduct a transaction and more than one transaction within a thirty day
period involving a monetary instrument and instruments of a total value exceeding twenty-five
thousand dollars, ($25,000) through one and more financial institutions with the specific intent to
promote, manage, establish, carry on, and facilitate the promotion, management, establishment, and
carrying on of a criminal activity, and knowing that the monetary instrument represented proceeds of,
and was derived directly and indirectly from the proceeds of, criminal activity.


                                      COUNT 70 ($235,215)
On or about and between July 6, 2016 and July 27, 2016, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by ROMAN KARDONSKIY AND RENEE ROSENBERGELPERIN who
did conduct and attempt to conduct a transaction and more than one transaction within a thirty day
period involving a monetary instrument and instruments of a total value exceeding twenty-five
thousand dollars, ($25,000) through one and more financial institutions with the specific intent to
promote, manage, establish, carry on, and facilitate the promotion, management, establishment, and
carrying on of a criminal activity, and knowing that the monetary instrument represented proceeds of,
and was derived directly and indirectly from the proceeds of, criminal activity.




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                                     COUNT 71 ($283,450)
On or about and between August 3, 2016 and August 17, 2016, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by ROMAN KARDONSKIY AND RENEE ROSENBERGELPERIN who
did conduct and attempt to conduct a transaction and more than one transaction within a thirty day
period involving a monetary instrument and instruments of a total value exceeding twenty-five
thousand dollars, ($25,000) through one and more financial institutions with the specific intent to
promote, manage, establish, carry on, and facilitate the promotion, management, establishment, and
carrying on of a criminal activity, and knowing that the monetary instrument represented proceeds of,
and was derived directly and indirectly from the proceeds of, criminal activity.



                                       COUNT 72 ($50,000)
On or about September 1, 2016, in the County of Santa Clara, State of California, the crime of
MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a), a Felony, was
committed by ROMAN KARDONSKIY AND RENEE ROSENBERGELPERIN who did conduct and
attempt to conduct a transaction and more than one transaction within a seven day period involving a
monetary instrument and instruments of a total value exceeding five-thousand dollars, ($5,000) through
one and more financial institutions with the specific intent to promote, manage, establish, carry on, and
facilitate the promotion, management, establishment, and carrying on of a criminal activity, and
knowing that the monetary instrument represented proceeds of, and was derived directly and indirectly
from the proceeds of, criminal activity.


                                     COUNT 73 ($247,473)
On or about and between August 10, 2016 and August 31, 2016, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by ROMAN KARDONSKIY AND ILYA ZIKNER who did conduct and
attempt to conduct a transaction and more than one transaction within a thirty day period involving a
monetary instrument and instruments of a total value exceeding twenty-five thousand dollars, ($25,000)
through one and more financial institutions with the specific intent to promote, manage, establish, carry
on, and facilitate the promotion, management, establishment, and carrying on of a criminal activity, and
knowing that the monetary instrument represented proceeds of, and was derived directly and indirectly
from the proceeds of, criminal activity.




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                                     COUNT 74 ($112,500)
On or about and between September 2, 2016 and September 6, 2016, in the County of Santa Clara,
State of California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION
186.10(a), a Felony, was committed by ROMAN KARDONSKIY AND ILYA ZIKNER who did
conduct and attempt to conduct a transaction and more than one transaction within a seven day period
involving a monetary instrument and instruments of a total value exceeding five-thousand dollars,
($5,000) through one and more financial institutions with the specific intent to promote, manage,
establish, carry on, and facilitate the promotion, management, establishment, and carrying on of a
criminal activity, and knowing that the monetary instrument represented proceeds of, and was derived
directly and indirectly from the proceeds of, criminal activity.



                                       COUNT 75 ($85,000)
On or about August 12, 2016, in the County of Santa Clara, State of California, the crime of MONEY
LAUNDERING, in violation of PENAL CODE SECTION 186.10(a), a Felony, was committed by
HERSHEL TSIKMAN AND ROMAN KARDONSKIY who did conduct and attempt to conduct a
transaction and more than one transaction within a seven day period involving a monetary instrument
and instruments of a total value exceeding five-thousand dollars, ($5,000) through one and more
financial institutions with the specific intent to promote, manage, establish, carry on, and facilitate the
promotion, management, establishment, and carrying on of a criminal activity, and knowing that the
monetary instrument represented proceeds of, and was derived directly and indirectly from the
proceeds of, criminal activity.


                                       COUNT 76 ($21,250)
On or about August 19, 2016, in the County of Santa Clara, State of California, the crime of MONEY
LAUNDERING, in violation of PENAL CODE SECTION 186.10(a), a Felony, was committed by
HERSHEL TSIKMAN AND ROMAN KARDONSKIY who did conduct and attempt to conduct a
transaction and more than one transaction within a seven day period involving a monetary instrument
and instruments of a total value exceeding five-thousand dollars, ($5,000) through one and more
financial institutions with the specific intent to promote, manage, establish, carry on, and facilitate the
promotion, management, establishment, and carrying on of a criminal activity, and knowing that the
monetary instrument represented proceeds of, and was derived directly and indirectly from the
proceeds of, criminal activity.




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                                       COUNT 77 ($21,250)
On or about September 6, 2016, in the County of Santa Clara, State of California, the crime of
MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a), a Felony, was
committed by HERSHEL TSIKMAN AND ROMAN KARDONSKIY who did conduct and attempt to
conduct a transaction and more than one transaction within a seven day period involving a monetary
instrument and instruments of a total value exceeding five-thousand dollars, ($5,000) through one and
more financial institutions with the specific intent to promote, manage, establish, carry on, and
facilitate the promotion, management, establishment, and carrying on of a criminal activity, and
knowing that the monetary instrument represented proceeds of, and was derived directly and indirectly
from the proceeds of, criminal activity.



                                       COUNT 78 ($45,000)
On or about March 6, 2017, in the County of Santa Clara, State of California, the crime of MONEY
LAUNDERING, in violation of PENAL CODE SECTION 186.10(a), a Felony, was committed by
BRIAN SUTTON AND ROMAN KARDONSKIY who did conduct and attempt to conduct a
transaction and more than one transaction within a seven day period involving a monetary instrument
and instruments of a total value exceeding five-thousand dollars, ($5,000) through one and more
financial institutions with the specific intent to promote, manage, establish, carry on, and facilitate the
promotion, management, establishment, and carrying on of a criminal activity, and knowing that the
monetary instrument represented proceeds of, and was derived directly and indirectly from the
proceeds of, criminal activity.


                                       COUNT 79 ($316,993)
On or about June 3, 2016, in the County of Santa Clara, State of California, the crime of MONEY
LAUNDERING, in violation of PENAL CODE SECTION 186.10(a), a Felony, was committed by
BRIAN SUTTON, ROMAN KARDONSKIY AND IGOR KRASHENNY who did conduct and
attempt to conduct a transaction and more than one transaction within a seven day period involving a
monetary instrument and instruments of a total value exceeding five-thousand dollars, ($5,000) through
one and more financial institutions with the specific intent to promote, manage, establish, carry on, and
facilitate the promotion, management, establishment, and carrying on of a criminal activity, and
knowing that the monetary instrument represented proceeds of, and was derived directly and indirectly
from the proceeds of, criminal activity.




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                                       COUNT 80 ($20,000)
On or about February 15, 2017, in the County of Santa Clara, State of California, the crime of MONEY
LAUNDERING, in violation of PENAL CODE SECTION 186.10(a), a Felony, was committed by
ROMAN KARDONSKIY AND CHRISTIAN HAINKA who did conduct and attempt to conduct a
transaction and more than one transaction within a thirty day period involving a monetary instrument
and instruments of a total value exceeding twenty-five thousand dollars, ($25,000) through one and
more financial institutions with the specific intent to promote, manage, establish, carry on, and
facilitate the promotion, management, establishment, and carrying on of a criminal activity, and
knowing that the monetary instrument represented proceeds of, and was derived directly and indirectly
from the proceeds of, criminal activity.


                                     COUNT 81 ($328,910)
On or about and between March 3, 2017 and March 30, 2017, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by ROMAN KARDONSKIY AND CHRISTIAN HAINKA who did conduct
and attempt to conduct a transaction and more than one transaction within a thirty day period involving
a monetary instrument and instruments of a total value exceeding twenty-five thousand dollars,
($25,000) through one and more financial institutions with the specific intent to promote, manage,
establish, carry on, and facilitate the promotion, management, establishment, and carrying on of a
criminal activity, and knowing that the monetary instrument represented proceeds of, and was derived
directly and indirectly from the proceeds of, criminal activity.


                                      COUNT 82 ($693,106)
On or about and between April 6, 2017 and April 27, 2017, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by ROMAN KARDONSKIY AND CHRISTIAN HAINKA who did conduct
and attempt to conduct a transaction and more than one transaction within a thirty day period involving
a monetary instrument and instruments of a total value exceeding twenty-five thousand dollars,
($25,000) through one and more financial institutions with the specific intent to promote, manage,
establish, carry on, and facilitate the promotion, management, establishment, and carrying on of a
criminal activity, and knowing that the monetary instrument represented proceeds of, and was derived
directly and indirectly from the proceeds of, criminal activity.




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                                     COUNT 83 ($960,000)
On or about and between May 3, 2017 and May 19, 2017, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by ROMAN KARDONSKIY AND CHRISTIAN HAINKA who did conduct
and attempt to conduct a transaction and more than one transaction within a thirty day period involving
a monetary instrument and instruments of a total value exceeding twenty-five thousand dollars,
($25,000) through one and more financial institutions with the specific intent to promote, manage,
establish, carry on, and facilitate the promotion, management, establishment, and carrying on of a
criminal activity, and knowing that the monetary instrument represented proceeds of, and was derived
directly and indirectly from the proceeds of, criminal activity.


                                       COUNT 84 ($38,000)
On or about September 25, 2017, in the County of Santa Clara, State of California, the crime of
MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a), a Felony, was
committed by ROMAN KARDONSKIY AND CHRISTIAN HAINKA who did conduct and attempt to
conduct a transaction and more than one transaction within a seven day period involving a monetary
instrument and instruments of a total value exceeding five-thousand dollars, ($5,000) through one and
more financial institutions with the specific intent to promote, manage, establish, carry on, and
facilitate the promotion, management, establishment, and carrying on of a criminal activity, and
knowing that the monetary instrument represented proceeds of, and was derived directly and indirectly
from the proceeds of, criminal activity.


                                       COUNT 85 ($29,221)
On or about February 15, 2017, in the County of Santa Clara, State of California, the crime of MONEY
LAUNDERING, in violation of PENAL CODE SECTION 186.10(a), a Felony, was committed by
ROMAN KARDONSKIY AND MARINA ALEKSEYEVA who did conduct and attempt to conduct a
transaction and more than one transaction within a seven day period involving a monetary instrument
and instruments of a total value exceeding five-thousand dollars, ($5,000) through one and more
financial institutions with the specific intent to promote, manage, establish, carry on, and facilitate the
promotion, management, establishment, and carrying on of a criminal activity, and knowing that the
monetary instrument represented proceeds of, and was derived directly and indirectly from the
proceeds of, criminal activity.




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                                     COUNT 86 ($216,473)
On or about and between March 3, 2017 and March 23, 2017, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by ROMAN KARDONSKIY AND MARINA ALEKSEYEVA who did
conduct and attempt to conduct a transaction and more than one transaction within a thirty day period
involving a monetary instrument and instruments of a total value exceeding twenty-five thousand
dollars, ($25,000) through one and more financial institutions with the specific intent to promote,
manage, establish, carry on, and facilitate the promotion, management, establishment, and carrying on
of a criminal activity, and knowing that the monetary instrument represented proceeds of, and was
derived directly and indirectly from the proceeds of, criminal activity.



                                      COUNT 87 ($405,338)
On or about and between April 6, 2017 and April 28, 2017, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by ROMAN KARDONSKIY AND MARINA ALEKSEYEVA who did
conduct and attempt to conduct a transaction and more than one transaction within a thirty day period
involving a monetary instrument and instruments of a total value exceeding twenty-five thousand
dollars, ($25,000) through one and more financial institutions with the specific intent to promote,
manage, establish, carry on, and facilitate the promotion, management, establishment, and carrying on
of a criminal activity, and knowing that the monetary instrument represented proceeds of, and was
derived directly and indirectly from the proceeds of, criminal activity.


                                     COUNT 88 ($617,000)
On or about and between May 3, 2017 and May 19, 2017, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by ROMAN KARDONSKIY AND MARINA ALEKSEYEVA who did
conduct and attempt to conduct a transaction and more than one transaction within a thirty day period
involving a monetary instrument and instruments of a total value exceeding twenty-five thousand
dollars, ($25,000) through one and more financial institutions with the specific intent to promote,
manage, establish, carry on, and facilitate the promotion, management, establishment, and carrying on
of a criminal activity, and knowing that the monetary instrument represented proceeds of, and was
derived directly and indirectly from the proceeds of, criminal activity.




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                                       COUNT 89 ($20,000)
On or about February 15, 2017, in the County of Santa Clara, State of California, the crime of MONEY
LAUNDERING, in violation of PENAL CODE SECTION 186.10(a), a Felony, was committed by
ROMAN KARDONSKIY AND ILYA ZIKNER who did conduct and attempt to conduct a transaction
and more than one transaction within a seven day period involving a monetary instrument and
instruments of a total value exceeding five-thousand dollars, ($5,000) through one and more financial
institutions with the specific intent to promote, manage, establish, carry on, and facilitate the
promotion, management, establishment, and carrying on of a criminal activity, and knowing that the
monetary instrument represented proceeds of, and was derived directly and indirectly from the
proceeds of, criminal activity.


                                     COUNT 90 ($199,796)
On or about and between March 2, 2017 and March 8, 2017, in the County of Santa Clara, State of
California, the crime of MONEY LAUNDERING, in violation of PENAL CODE SECTION 186.10(a),
a Felony, was committed by ROMAN KARDONSKIY who did conduct and attempt to conduct a
transaction and more than one transaction within a seven day period involving a monetary instrument
and instruments of a total value exceeding five-thousand dollars, ($5,000) through one and more
financial institutions with the specific intent to promote, manage, establish, carry on, and facilitate the
promotion, management, establishment, and carrying on of a criminal activity, and knowing that the
monetary instrument represented proceeds of, and was derived directly and indirectly from the
proceeds of, criminal activity.


                                      COUNT 91 ($203,000)
On or about May 25, 2017, in the County of Santa Clara, State of California, the crime of MONEY
LAUNDERING, in violation of PENAL CODE SECTION 186.10(a), a Felony, was committed by
BRIAN SUTTON, ROMAN KARDONSKIY AND IGOR KRASHENNY who did conduct and
attempt to conduct a transaction and more than one transaction within a seven day period involving a
monetary instrument and instruments of a total value exceeding five-thousand dollars, ($5,000) through
one and more financial institutions with the specific intent to promote, manage, establish, carry on, and
facilitate the promotion, management, establishment, and carrying on of a criminal activity, and
knowing that the monetary instrument represented proceeds of, and was derived directly and indirectly
from the proceeds of, criminal activity.




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                                       COUNT 92 ($54,000)
On or about March 1, 2017, in the County of Santa Clara, State of California, the crime of MONEY
LAUNDERING, in violation of PENAL CODE SECTION 186.10(a), a Felony, was committed by
HERSHEL TSIKMAN AND ROMAN KARDONSKIY who did conduct and attempt to conduct a
transaction and more than one transaction within a seven day period involving a monetary instrument
and instruments of a total value exceeding five-thousand dollars, ($5,000) through one and more
financial institutions with the specific intent to promote, manage, establish, carry on, and facilitate the
promotion, management, establishment, and carrying on of a criminal activity, and knowing that the
monetary instrument represented proceeds of, and was derived directly and indirectly from the
proceeds of, criminal activity.


                                         COUNT 93 ($8,000)
On or about July 26, 2017, in the County of Santa Clara, State of California, the crime of MONEY
LAUNDERING, in violation of PENAL CODE SECTION 186.10(a), a Felony, was committed by
ROMAN KARDONSKIY who did conduct and attempt to conduct a transaction and more than one
transaction within a seven day period involving a monetary instrument and instruments of a total value
exceeding five-thousand dollars, ($5,000) through one and more financial institutions with the specific
intent to promote, manage, establish, carry on, and facilitate the promotion, management,
establishment, and carrying on of a criminal activity, and knowing that the monetary instrument
represented proceeds of, and was derived directly and indirectly from the proceeds of, criminal activity.


                                       COUNT 94 ($21,000)
On or about August 1, 2017, in the County of Santa Clara, State of California, the crime of MONEY
LAUNDERING, in violation of PENAL CODE SECTION 186.10(a), a Felony, was committed by
ROMAN KARDONSKIY who did conduct and attempt to conduct a transaction and more than one
transaction within a seven day period involving a monetary instrument and instruments of a total value
exceeding five-thousand dollars, ($5,000) through one and more financial institutions with the specific
intent to promote, manage, establish, carry on, and facilitate the promotion, management,
establishment, and carrying on of a criminal activity, and knowing that the monetary instrument
represented proceeds of, and was derived directly and indirectly from the proceeds of, criminal activity.




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(CJIC-OTH) It is further alleged that the individual value of the foregoing transaction(s) in counts 32,
38, 39, 47, 51, 52, 53, 54, 55, 58, 59, 64, 67, 74, 75, and 92 exceeded fifty thousand dollars ($50,000)
but is less than one hundred fifty thousand dollars ($150,000), within the meaning of Penal Code
section 186.10(c)(1)(A).


(CJIC-OTH) It is further alleged that the individual value of the foregoing transaction(s) in counts 33,
34, 35, 36, 37, 40, 41, 42, 43, 44, 46, 49, 50, 63, 65, 66, 69, 70, 71, 73, 79, 81, 82, 83, 86, 87, 88, 90,
and 91 exceeded one hundred fifty thousand dollars ($150,000) but is less than one million dollars
($1,000,000) within the meaning of Penal Code section 186.10(c)(1)(B).


(CJIC-OTH) It is further alleged that the individual value of the foregoing transaction in count 62
exceeded one million dollars ($1,000,000) but is less than two million five hundred thousand dollars
($2,500,000) within the meaning of Penal Code section 186.10(c)(1)(C).


(CJIC-OTH) It is further alleged that the aggregate value of the foregoing transaction(s) in counts 32-
94 exceeded two million five hundred thousand dollars ($2,500,000), within the meaning of Penal
Code section 186.10(c)(1)(D).

                    AGGRAVATED WHITE COLLAR CRIME ENHANCEMENT
It is further alleged that the felony crimes charged in Counts 1 through 94 are related, that a material
element of the crimes is fraud and embezzlement, that the crimes involve a pattern of related felony
conduct, and that the pattern of related felony conduct by DAVID SUTTON, BRIAN SUTTON,
VLADIMIR TSIKMAN, HERSHEL TSIKMAN, ROMAN KARDONSKIY, JAID GORBAN,
EUGENY KIRZHNER, OLEG PILLER, VADIM BELITSKY, ALEX GOLDMEN, IGOR
KRASHENNY, ALI ENAYATI, MARYAM RAHIMI, EDWARD OPOKU, LARS LUNDSTROM,
EMILY ANDERSON, ROBERT BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN
KNIGHT, VIRGINIA LIN, SVETLANA SAPRONOVA, FELIX LANTSMAN, CHRISTIAN
HAINKA, MARINA ALEKSEYEVA, RENEE ROSENBERGELPERIN, ILYA ZIKNER, MILA
SUTTON, BORIS TRIPOLOSKI, FRANCESCA SUTTON, JAMIE WOLF, DAVID BISHOFF,
DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL BLYTHE AND ALLEN BAYLAN involves
the taking of more than five hundred thousand dollars ($500,000), within the meaning of Penal Code
sections 186.11(a)(2).




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It is alleged individually and in the aggregate that in the commission and attempted commission of the
offense(s) charged in counts 1 through 94 the defendant, DAVID SUTTON, BRIAN SUTTON,
VLADIMIR TSIKMAN, HERSHEL TSIKMAN, ROMAN KARDONSKIY, JAID GORBAN,
EUGENY KIRZHNER, OLEG PILLER, VADIM BELITSKY, ALEX GOLDMEN, IGOR
KRASHENNY, ALI ENAYATI, MARYAM RAHIMI, EDWARD OPOKU, LARS LUNDSTROM,
EMILY ANDERSON, ROBERT BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN
KNIGHT, VIRGINIA LIN, SVETLANA SAPRONOVA, FELIX LANTSMAN, CHRISTIAN
HAINKA, MARINA ALEKSEYEVA, RENEE ROSENBERGELPERIN, ILYA ZIKNER, MILA
SUTTON, BORIS TRIPOLOSKI, FRANCESCA SUTTON, JAMIE WOLF, DAVID BISHOFF,
DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL BLYTHE AND ALLEN BAYLAN, with the
intent to do so, took, damaged and destroyed property of a value exceeding two hundred thousand
dollars ($200,000), within the meaning of Penal Code section 12022.6(a)(2).


It alleged individually and in the aggregate that in the commission and attempted commission of the
offense(s) charged in counts 1 through 94, the defendant, DAVID SUTTON, BRIAN SUTTON,
VLADIMIR TSIKMAN, HERSHEL TSIKMAN, ROMAN KARDONSKIY, JAID GORBAN,
EUGENY KIRZHNER, OLEG PILLER, VADIM BELITSKY, ALEX GOLDMEN, IGOR
KRASHENNY, ALI ENAYATI, MARYAM RAHIMI, EDWARD OPOKU, LARS LUNDSTROM,
EMILY ANDERSON, ROBERT BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN
KNIGHT, VIRGINIA LIN, SVETLANA SAPRONOVA, FELIX LANTSMAN, CHRISTIAN
HAINKA, MARINA ALEKSEYEVA, RENEE ROSENBERGELPERIN, ILYA ZIKNER, MILA
SUTTON, BORIS TRIPOLOSKI, FRANCESCA SUTTON, JAMIE WOLF, DAVID BISHOFF,
DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL BLYTHE AND ALLEN BAYLAN, with the
intent to do so, took, damaged and destroyed property of a value exceeding one million three hundred
thousand dollars ($1,300,000), within the meaning of Penal Code section 12022.6(a)(3).


It is alleged individually and in the aggregate that in the commission and attempted commission of the
offense(s) charged in counts 1 through 94, the defendant, DAVID SUTTON, BRIAN SUTTON,
VLADIMIR TSIKMAN, HERSHEL TSIKMAN, ROMAN KARDONSKIY, JAID GORBAN,
EUGENY KIRZHNER, OLEG PILLER, VADIM BELITSKY, ALEX GOLDMEN, IGOR
KRASHENNY, ALI ENAYATI, MARYAM RAHIMI, EDWARD OPOKU, LARS LUNDSTROM,
EMILY ANDERSON, ROBERT BREEDLOVE, RAMON PAOLOSANTOS DAVID, JOHN
KNIGHT, VIRGINIA LIN, SVETLANA SAPRONOVA, FELIX LANTSMAN, CHRISTIAN

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HAINKA, MARINA ALEKSEYEVA, RENEE ROSENBERGELPERIN, ILYA ZIKNER, MILA
SUTTON, BORIS TRIPOLOSKI, FRANCESCA SUTTON, JAMIE WOLF, DAVID BISHOFF,
DANE ROBERT CHRISTIANSEN, JOSEPH DANIEL BLYTHE AND ALLEN BAYLAN, with the
intent to do so, took, damaged and destroyed property of a value exceeding three million two hundred
thousand dollars ($3,200,000), within the meaning of Penal Code section 12022.6(a)(4).

It is further alleged that where the amount of the theft or taking exceeds one hundred thousand dollars
($100,000), probation shall not be granted except in an unusual case where the interests of justice
would best be served, within the meaning of Penal Code section 1203.045.


(OTH) It is further alleged that the offense(s) alleged in Count(s) 1 through 94, above, was/were
committed in part in one county and in part in another, and the acts and effects of the acts constituting
and requisite to the consummation of the offense(s) happened in two or more counties, namely, Orange,
Alameda, San Luis Obispo, Riverside, Ventura, Kern, Sonoma, Stanislaus, Contra Costa, San Joaquin,
Fresno, Butte, San Bernardino, Santa Cruz, Shasta, Yolo, San Diego, Tulare, Solano, Imperial, Sutter,
Glenn, Marin, Madera, Inyo, Sacramento, Kings, Tuolumne, Merced, Santa Barbara, Colusa,
Mendocino, San Benito, Nevada, Calaveras, Placer, Humboldt, Sierra, Plumas, Tehama, Lake, Yuba,
Maricopa and the County of Santa Clara and the County of Santa Clara, within the meaning of Penal
Code section 781.


(OTH) The jurisdiction of a criminal action against a principal in the commission of a public offense,
when such principal is not present at the commission of the offense is in the same court it would be
under this code if he were so present and aiding and abetting therein.


Any defendant, including a juvenile, who is convicted of and pleads guilty and no contest to any felony
offense, including any attempt to commit the offense, charged in this complaint or information is
required to provide buccal swab samples, right thumbprints and a full palm print impression of each
hand, and any blood specimens or other biological samples required pursuant to the DNA and Forensic
Identification Database and Data Bank Act of 1998 and Penal Code section 296, et seq.




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Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant DAVID SUTTON, for the above-listed crimes. Wherefore, A WARRANT OF ARREST IS
REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant BRIAN SUTTON, for the above-listed crimes. Wherefore, A WARRANT OF ARREST IS
REQUESTED.




Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant VLADIMIR TSIKMAN, for the above-listed crimes. Wherefore, A WARRANT OF
ARREST IS REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant HERSHEL TSIKMAN, for the above-listed crimes. Wherefore, A WARRANT OF
ARREST IS REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant ROMAN KARDONSKIY, for the above-listed crimes. Wherefore, A WARRANT OF
ARREST IS REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant JAID GORBAN, for the above-listed crimes. Wherefore, A WARRANT OF ARREST IS
REQUESTED.




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Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant EUGENY KIRZHNER, for the above-listed crimes. Wherefore, A WARRANT OF
ARREST IS REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant OLEG PILLER, for the above-listed crimes. Wherefore, A WARRANT OF ARREST IS
REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant VADIM BELITSKY, for the above-listed crimes. Wherefore, A WARRANT OF ARREST
IS REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant ALEX GOLDMEN, for the above-listed crimes. Wherefore, A WARRANT OF ARREST IS
REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant IGOR KRASHENNY, for the above-listed crimes. Wherefore, A WARRANT OF ARREST
IS REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant ALI ENAYATI, for the above-listed crimes. Wherefore, A WARRANT OF ARREST IS
REQUESTED.




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Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant MARYAM RAHIMI, for the above-listed crimes. Wherefore, A WARRANT OF ARREST
IS REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant EDWARD OPOKU, for the above-listed crimes. Wherefore, A WARRANT OF ARREST IS
REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant LARS LUNDSTROM, for the above-listed crimes. Wherefore, A WARRANT OF ARREST
IS REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant EMILY ANDERSON, for the above-listed crimes. Wherefore, A WARRANT OF ARREST
IS REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant ROBERT BREEDLOVE, for the above-listed crimes. Wherefore, A WARRANT OF
ARREST IS REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant RAMON PAOLOSANTOS DAVID, for the above-listed crimes. Wherefore, A WARRANT
OF ARREST IS REQUESTED.




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Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant JOHN KNIGHT, for the above-listed crimes. Wherefore, A WARRANT OF ARREST IS
REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant VIRGINIA LIN, for the above-listed crimes. Wherefore, A WARRANT OF ARREST IS
REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant SVETLANA SAPRONOVA, for the above-listed crimes. Wherefore, A WARRANT OF
ARREST IS REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant FELIX LANTSMAN, for the above-listed crimes. Wherefore, A WARRANT OF ARREST
IS REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant CHRISTIAN HAINKA, for the above-listed crimes. Wherefore, A WARRANT OF
ARREST IS REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant MARINA ALEKSEYEVA, for the above-listed crimes. Wherefore, A WARRANT OF
ARREST IS REQUESTED.




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Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant RENEE ROSENBERGELPERIN, for the above-listed crimes. Wherefore, A WARRANT
OF ARREST IS REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant ILYA ZIKNER, for the above-listed crimes. Wherefore, A WARRANT OF ARREST IS
REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant MILA SUTTON, for the above-listed crimes. Wherefore, A WARRANT OF ARREST IS
REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant BORIS TRIPOLOSKI, for the above-listed crimes. Wherefore, A WARRANT OF ARREST
IS REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant FRANCESCA SUTTON, for the above-listed crimes. Wherefore, A WARRANT OF
ARREST IS REQUESTED.


Further, attached and incorporated by reference are official reports and documents of a law
enforcement agency which the complainant believes establish probable cause for the arrest of
defendant JAMIE WOLF, for the above-listed crimes. Wherefore, A WARRANT OF ARREST IS
REQUESTED.




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